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                        EXHIBIT 1
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                                            EXHIBIT 1

                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


  CAO LIGHTING, INC.,

                Plaintiff,

  v.
                                                           C.A. No. 20-681-GBW
  GENERAL ELECTRIC COMPANY,
  CONSUMER LIGHTING (U.S.), LLC
  d/b/a GE LIGHTING, and CURRENT
  LIGHTING SOLUTIONS, LLC,

                Defendants.


  CAO LIGHTING, INC.,

                Plaintiff,
                                                           C.A. No. 20-690-GBW
  v.

  OSRAM SYLVANIA, INC. and
  LEDVANCE LLC,

                Defendants.


                       JOINT STATEMENT OF UNCONTESTED FACTS

        1.       Plaintiff, CAO Lighting, Inc. (“CAO Lighting”) is a wholly-owned subsidiary of

 CAO Group, Inc. (“CAO Group”) and has its principal place of business in West Jordan, Utah.

        2.       OSRAM Sylvania, Inc. (“OSRAM”) is a corporation with its principal place of

 business in Danvers, Massachusetts. It divested its LED lighting business in July 2016, and it now

 operates as a separate business, LEDVANCE LLC (“LEDVANCE”).

        3.       LEDVANCE is a limited liability company with a principal place of business in

 Wilmington, Massachusetts.

        4.       Both OSRAM and LEDVANCE have sold, offered for sale, or imported into the

                                                 1
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                                              EXHIBIT 1

 United States lighting products having at least one LED chip.

        5.       On October 15, 2002, the United States Patent and Trademark Office (“USPTO”)

 issued U.S. Patent No. 6,465,961 (the “’961 patent”).

        6.       The ’961 patent, entitled “Semiconductor Light Source Using a Heat Sink with a

 Plurality of Panels,” has an effective filing date of August 24, 2001.

        7.       The sole named inventor of the ’961 patent is Dr. Densen Cao.




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                        EXHIBIT 2
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                                              EXHIBIT 2

                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


      CAO LIGHTING, INC.,

                  Plaintiff,

      v.
                                                                C.A. No. 20-681-GBW
      GENERAL ELECTRIC COMPANY,
      CONSUMER LIGHTING (U.S.), LLC
      d/b/a GE LIGHTING, and CURRENT
      LIGHTING SOLUTIONS, LLC,

                  Defendants.


      CAO LIGHTING, INC.,

                  Plaintiff,
                                                                C.A. No. 20-690-GBW
      v.

      OSRAM SYLVANIA, INC. and
      LEDVANCE LLC,

                  Defendants.


              CAO LIGHTING, INC.’S STATEMENT OF CONTESTED FACTS1

           CAO Lighting asserts that General Electric Company (“General Electric”), Consumer

  Lighting (U.S.), LLC d/b/a GE Lighting (“GE Lighting”), Current Lighting Solutions, LLC

  (“Current”),    OSRAM Sylvania, Inc. (“OSRAM”) and LEDVANCE, LLC (“LEDVANCE”)

  (collectively, “Defendants”) infringe U.S. Patent No. 6,465,961 (the “’961 patent”). At the February



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   To the extent any of the issues of law set forth in Exhibit 5 may be considered issues of fact, CAO
  Lighting incorporates them herein by reference. To the extent any issues of fact here may be
  considered issues of law, CAO Lighting incorporates them into Exhibit 5.
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  2023 jury trial in the GE/Current Case, No. 20-681, the jury agreed and awarded CAO Lighting

  damages. At the upcoming jury trial in the OSRAM/LEDVANCE Case, No. 20-690, CAO

  Lighting will also seek damages to compensate for OSRAM’s and LEDVANCE’s infringement.

  CAO Lighting further seeks pre-judgment and post-judgment interest and costs pursuant to 35

  U.S.C. § 284 and attorneys’ fees pursuant to 35 U.S.C. § 285.

           CAO Lighting bases this Statement of Contested Facts on the arguments it expects to make in

  defense of Defendants’ pleaded counterclaims and affirmative defenses of inequitable conduct and

  equitable estoppel, which are scheduled for a one day bench trial on June 14, 2023. CAO Lighting

  understands that Defendants may seek to add new, unpled inequitable conduct claims to the case,

  but any such claims are not part of the case and therefore are not addressed in CAO Lightings’

  Statement of Contested Facts. To the extent Defendants intend or attempt to introduce different or

  additional facts, including based on currently unpled alleged inequitable conduct claims, CAO Lighting

  reserves its right to supplement this Statement and contest those facts and to present any and all rebuttal

  evidence in response to those arguments. By providing this Statement, CAO Lighting does not concede

  that all of the recited facts and issues are appropriate for trial and does not waive any objections,

  including any objection that any fact has already been decided by a prior jury.

  I.       EQUITABLE ISSUES TO BE DECIDED BY THE COURT

           1.     General Electric was not misled by any act or omission of CAO Lighting or CAO

  Group.

           2.     General Electric did not rely on any act or omission of CAO Lighting or CAO Group.

           3.     General Electric suffered no prejudice as a result of any act or omission of CAO

  Lighting or CAO Group.

           4.     GE Lighting was not misled by any act or omission of CAO Lighting or CAO Group.

           5.     GE Lighting did not rely on any act or omission of CAO Lighting or CAO Group.
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            6.    GE Lighting suffered no prejudice as a result of any act or omission of CAO Lighting

  or CAO Group.

            7.    Current was not misled by any act or omission of CAO Lighting or CAO Group.

            8.    Current did not rely on any act or omission of CAO Lighting—or its predecessor-in-

  interest, CAO Group.

            9.    Current suffered no prejudice as a result of any act or omission of CAO Lighting or

  CAO Group.

            10.   OSRAM was not misled by any act or omission of CAO Lighting or CAO Group.

            11.   OSRAM did not rely on any act or omission of CAO Lighting or CAO Group.

            12.   OSRAM suffered no prejudice as a result of any act or omission of CAO Lighting

  or CAO Group.

            13.   LEDVANCE was not misled by any act or omission of CAO Lighting or CAO

  Group.

            14.   LEDVANCE did not rely on any act or omission of CAO Lighting or CAO

  Group.

            15.   LEDVANCE suffered no prejudice as a result of any act or omission of CAO

  Lighting or CAO Group.

            16.   Dr. Densen Cao did not act with an attempt to deceive the United States Patent &

  Trademark Office (“USPTO”) by failing to disclose the Begemann or Schweber references during

  the original prosecution of the ’961 patent.

            17.   Mr. Daniel McCarthy did not act with an attempt to deceive the USPTO by failing to

  disclose the Begemann or Schweber references during the original prosecution of the ’961 patent.

            18.   Neither the Begemann nor Scheweber reference are “but for” material to the asserted

  claims.
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         19.     Dr. Densen Cao did not act with an intent to deceive the USPTO by failing to

  disclose the Wierer reference during reexamination of the ’961 patent.

         20.     Mr. John Gadd did not act with an intent to deceive the USPTO by failing to disclose

  the Wierer reference during reexamination of the ’961 patent.

         21.     The Wierer reference is not “but for” material to the asserted claims.

         22.     Mr. John Gadd did not make any false statements during reexamination of the ’961

  patent with an intent to deceive the USPTO during reexamination of the ’961 patent.

  II.    MISCELLANEOUS

         23.     This case is exceptional and CAO Lighting is entitled to an award of attorneys’

  fees and costs under 35 U.S.C. § 285.
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                        EXHIBIT 3
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

     CAO LIGHTING, INC.,

                    Plaintiff,

     v.

     GENERAL ELECTRIC COMPANY,                           C.A. No. 20-681-GBW
     CONSUMER LIGHTING (U.S.), LLC d/b/a
     GE LIGHTING, and CURRENT LIGHTING
     SOLUTIONS, LLC,

                    Defendants.



    DEFENDANTS GE, GE LIGHTING AND CURRENT LIGHTING’S STATEMENT OF
              ISSUES OF FACT THAT REMAIN TO BE LITIGATED

          1.      Pursuant to Local Rule 16.3(c)(4), Defendants General Electric Company and

   Consumer Lighting (U.S.), LLC D/B/A GE Lighting (the “GE Defendants”) and Current Lighting

   Solutions, LLC (“Current”) (collectively, “Defendants”) hereby provide their Statement of Issues

   of Fact that Remain to be Litigated.

          2.      The following Statement of Issues of Fact That Remain to Be Litigated is based on

   the parties’ pleadings, documentary and testimony evidence (including testimony at the February

   2023 jury trial), and on Defendants’ understanding of CAO Lighting, Inc.’s (“CAO” or “Plaintiff”)

   claims, and arguments, which are based in part on CAO’s interrogatory responses and expert

   reports. Should the Court determine that any issue identified in this statement is more properly

   considered an issue of law, it shall be so considered, and Defendants incorporate it by reference

   into their Statement of Issues of Law (Exhibit 6).

          3.      By including a fact herein, Defendants do not assume the burden of proof or

   production about that fact. Defendants’ position is that any arguments CAO did not properly raise



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   in its expert reports or in its responses to Defendants’ interrogatories have been waived.

   Defendants do not address any such arguments but reserve the right to address these to the extent

   CAO raises any such issues at trial, and they are allowed by the Court. Defendants further reserve

   the right to address additional issues not set forth herein to the extent they are raised by CAO at

   trial and allowed by the Court. Defendants reserve the right to supplement or modify this

   Statement of Issues of Fact That Remain to Be Litigated, including in light of any pretrial or trial

   rulings from the Court and to address any additional facts CAO identifies.

   I.     UNENFORCEABILITY OF THE ’961 PATENT DUE TO INEQUITABLE
          CONDUCT

          4.         Whether Defendants have proven that Densen Cao and/or Daniel McCarthy acted

   with the intent to deceive the United States Patent and Trademark Office (“USPTO”) by failing to

   disclose the Begemann or Schweber references during the prosecution of the ’961 patent.

          5.         Whether Defendants have proven that the Begemann or Schweber references meet

   a threshold level of materiality.

          6.         Whether Defendants have proven that Densen Cao acted with intent to deceive the

   USPTO by failing to disclose the Lumileds LEDs during the prosecution of the ’961 patent.

          7.         Whether Defendants have proven that the Lumileds LEDs meets a threshold level

   of materiality.

   II.    UNENFORCEABILITY OF THE ’961 PATENT DUE TO EQUITABLE
          ESTOPPEL

          8.         Whether CAO’s claims are barred by the doctrine of equitable estoppel.

   Specifically, whether Defendants have proven that:

                     (a) CAO engaged in misleading conduct, including silence, that communicated to

                        Defendants that CAO did not intend to allege that the ’961 patent covered

                        Defendants’ products,


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                   (b) Defendants relied on CAO’s conduct, including silence, and

                   (c) as a consequence, Defendants will be materially prejudiced if CAO is allowed

                      to recover damages for alleged infringement.

   III.   REMEDIES FOR CAO’S CLAIMS (IF THE ’961 PATENT IS INFRINGED AND
          NOT INVALID)

          9.       Whether CAO is entitled to pre-judgment and post-judgment interest and costs

   pursuant to 35 U.S.C. § 284 and attorneys’ fees pursuant to 35 U.S.C. § 285.

   IV.    REMEDIES FOR DEFENDANTS’ DEFENSES AND COUNTERCLAIMS (IF
          THE ’961 PATENT IS NOT INFRINGED AND/OR INVALID)

          10.      Whether Defendants are entitled to their costs and attorneys’ fees pursuant to 35

   U.S.C. § 285.




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                        EXHIBIT 4
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                                    EXHIBIT 3


                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


    CAO LIGHTING, INC.,

                Plaintiff,
                                             C.A. No. 20-690-GBW
               v.

    OSRAM SYLVANIA, INC. and
    LEDVANCE LLC,

               Defendants.



              DEFENDANTS OSRAM AND LEDVANCE’S STATEMENT OF
                ISSUES OF FACT THAT REMAIN TO BE LITIGATED
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           1.      Pursuant to Local Rule 16.3(c)(4), Defendants OSRAM SYLVANIA, INC.

   (“OSRAM”) and LEDVANCE, LLC (“LEDVANCE”) (collectively, “Defendants”) hereby

   provide their Statement of Issues of Fact that Remain to be Litigated.

           2.      The following Statement of Issues of Fact That Remain to Be Litigated is based on

   the parties’ pleadings and documentary and testimony evidence (including testimony at the

   February 2023 jury trial in the GE/Current case), as well as Defendants’ understanding of CAO

   Lighting, Inc.’s ( “Plaintiff”) claims and arguments, which in turn rests in part on Plaintiff’s

   interrogatory responses and expert reports. If the Court determines that Defendants’ Statement of

   Issues of Law as set forth in Exhibit 5 contain issues of fact, those issues of fact are hereby

   incorporated by reference. Should the Court determine that any issue identified in this statement

   is more properly considered an issue of law, it shall be so considered and Defendants incorporate

   it by reference into their Statement of Issues of Law (Exhibit 5).

           3.      By including a fact herein, Defendants do not assume the burden of proof or

   production with regard to that fact. Defendants’ position is that any arguments Plaintiff did not

   properly raise in its expert reports or in its responses to Defendants’ interrogatories have been

   waived. Defendants do not address any such arguments, but reserve the right to address these to

   the extent Plaintiff raises any such issues at trial, and they are allowed by the Court. Defendants

   further reserve the right to address additional issues not set forth herein to the extent they are raised

   by Plaintiff at trial and allowed by the Court. Defendants reserve the right to supplement or modify

   this Statement of Issues of Fact That Remain to Be Litigated, including in light of any pretrial or

   trial rulings from the Court and to address any additional facts Plaintiff identifies.




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   I.      UNENFORCEABILITY OF THE ’961 PATENT DUE TO INEQUITABLE
           CONDUCT

           4.         Whether Defendants have proven that Densen Cao and/or Daniel McCarthy acted

   with the intent to deceive the United States Patent and Trademark Office (“USPTO”) by failing to

   disclose the Begemann or Schweber references during the prosecution of the ’961 patent.

           5.        Whether Defendants have proven that the Begemann or Schweber references meet

   a threshold level of materiality.

           6.        Whether Defendants have proven that Densen Cao and/or John Gadd acted with the

   intent to deceive the USPTO by failing to disclose the Wierer reference during reexamination of

   the ’961 patent.

           7.        Whether Defendants have proven that the Wierer reference meets a threshold level

   of materiality.

           8.        Whether Defendants have proven that Densen Cao acted with intent to deceive the

   USPTO by failing to disclose the Lumileds reference during the prosecution of the ’961 patent.

           9.        Whether Defendants have proven that the Lumileds reference meets a threshold

   level of materiality.

           10.       Whether Defendants have proven that John Gadd acted with the intent to deceive

   the USPTO by stating that “a light output of ‘40 milliwatts’ is roughly equal to a light output of

   about 15 lumens” during reexamination of the ’961 patent. D.I. 268, Ex. 87 (Mar. 24, 2014

   Amendment) at 33.

           11.       Whether Defendants have proven that the statement that “a light output of ‘40

   milliwatts’ is roughly equal to a light output of about 15 lumens” meets a threshold level of

   materiality.




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   II.    UNENFORCEABILITY OF THE ’961 PATENT DUE TO EQUITABLE
          ESTOPPEL

          12.      Whether Plaintiff’s claims are barred by the doctrine of equitable estoppel.

   Specifically, whether Defendants have proven that:

          (a) CAO and/or its predecessor-in-interest CAO Group (collectively, “CAO”) engaged in

                misleading conduct, including silence, that communicated to Defendants that CAO did

                not intend to allege that the ’961 patent covered Defendants’ products,

          (b) Defendants relied on CAO’s misleading conduct, including silence, and

          (c) as a consequence, Defendants will be materially prejudiced if CAO is allowed to

                recover damages for alleged infringement.

   III.   REMEDIES FOR PLAINTIFF’S CLAIMS (IF THE ’961 PATENT IS INFRINGED
          AND NOT INVALID)

          13.      Whether Plaintiff is entitled to pre-judgment and post-judgment interest and costs

   pursuant to 35 U.S.C. § 284 and attorneys’ fees pursuant to 35 U.S.C. § 285.

   IV.    REMEDIES FOR DEFENDANTS’ DEFENSES AND COUNTERCLAIMS (IF
          THE ’961 PATENT IS NOT INFRINGED AND/OR INVALID)

          14.      Whether Defendants are entitled to their costs and attorneys’ fees pursuant to 35

   U.S.C. § 285.




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                        EXHIBIT 5
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                                               EXHIBIT 5

                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


       CAO LIGHTING, INC.,

                   Plaintiff,

       v.
                                                                 C.A. No. 20-681-GBW
       GENERAL ELECTRIC COMPANY,
       CONSUMER LIGHTING (U.S.), LLC
       d/b/a GE LIGHTING, and CURRENT
       LIGHTING SOLUTIONS, LLC,

                   Defendants.


       CAO LIGHTING, INC.,

                   Plaintiff,
                                                                 C.A. No. 20-690-GBW
       v.

       OSRAM SYLVANIA, INC. and
       LEDVANCE LLC,

                   Defendants.


                  CAO LIGHTING, INC.’S STATEMENT OF ISSUES OF LAW1

            CAO Lighting asserts that General Electric Company (“General Electric”), Consumer

   Lighting (U.S.), LLC d/b/a GE Lighting (“GE Lighting”), Current Lighting Solutions, LLC

   (“Current”),    OSRAM Sylvania, Inc. (“OSRAM”) and LEDVANCE, LLC (“LEDVANCE”)

   (collectively, “Defendants”) infringe U.S. Patent No. 6,465,961 (the “’961 patent”). At the February



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    To the extent any of the issues of fact set forth in Exhibit 2 may be considered issues of law, CAO
   Lighting incorporates them herein by reference. To the extent any issues of law here may be
   considered issues of fact, CAO Lighting incorporates them into Exhibit 2.
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   2023 jury trial in the GE/Current Case, No. 20-681, the jury agreed and awarded CAO Lighting

   damages. At the upcoming jury trial in the OSRAM/LEDVANCE Case, No. 20-690, CAO

   Lighting will also seek damages to compensate for OSRAM’s and LEDVANCE’s infringement.

   CAO Lighting further seeks pre-judgment and post-judgment interest and costs pursuant to 35

   U.S.C. § 284 and attorneys’ fees pursuant to 35 U.S.C. § 285.

           CAO Lighting bases this Statement of Issues of Law on the arguments it expects to make in

   defense of Defendants’ pleaded counterclaims and affirmative defenses of inequitable conduct and

   equitable estoppel, which are scheduled for a one day bench trial on June 14, 2023. CAO Lighting

   understands that Defendants may seek to add new, unpled inequitable conduct claims to the case,

   but any such claims are not part of the case and therefore are not addressed in CAO Lightings’

   Statement of Issues of Law. To the extent Defendants intend or attempt to introduce different or

   additional facts, including based on currently unpled alleged inequitable conduct claims, CAO Lighting

   reserves its right to supplement this Statement and contest those facts and to present any and all rebuttal

   evidence in response to those arguments. By providing this Statement, CAO Lighting does not concede

   that all of the recited facts and issues are appropriate for trial and does not waive any objections,

   including any objection that any fact has already been decided by a prior jury.

   I.      INEQUITABLE CONDUCT

           Issues To Be Litigated

           1.      There are no issues of law with respect to whether Dr. Cao, Mr. McCarthy, or Mr.

   Gadd withheld material prior art with an intent to deceive the United States Patent & Trademark

   Office, or otherwise committed any inequitable conduct before the United States Patent &

   Trademark Office, during the original prosecution or subsequent reexaminations of the ’961

   patent. Any disputes regarding application of the law to inequitable conduct in this case will be

   resolved by the Court in connection with post-trial briefing.
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          2.      Whether the patent-in-suit should be rendered unenforceable?

          Legal Authority

          3.      “To prevail on a claim of inequitable conduct, the accused infringer must prove that

   the patentee acted with specific intent to deceive the PTO.” Therasense, Inc. v. Becton, Dickinson

   and Co., 649 F.3d 1276, 1290 (Fed. Cir. 2011).

          4.      “In a case involving nondisclosure of information, clear and convincing evidence

   must show that the applicant made a deliberate decision to withhold a known material reference.”

   Therasense, 649 F.3d at 1290.

          5.      Evidence of specific intent must “be clear and convincing, and inferences drawn

   from lesser evidence cannot satisfy the deceptive intent requirement.” Star Scientific, Inc. v. R.J.

   Reynolds Tobacco Co., 537 F.3d 1357, 1366 (Fed. Cir. 2008).

          6.       “[P]roving that an applicant knew of a reference, should have known of its

   materiality, and decided not to submit it to the PTO does not prove specific intent.” Therasense,

   649 F.3d at 1290; see also Cancer Research Tech. Ltd. v. Barr Labs., Inc., 625 F.3d 724, 732 (Fed.

   Cir. 2010) (holding that intent to deceive cannot be inferred simply from the failure to disclose

   material information); Star Scientific, 537 at 1366 (“[M]ateriality does not presume intent, which

   is a separate and essential component of inequitable conduct.”) (internal quotations omitted).

          7.      A finding that “the misrepresentation or omission amounts to gross negligence or

   negligence under a ‘should have known’ standard does not satisfy th[e intent to deceive]

   requirement.” Therasense, 649 F.3d at 1290 (quoting Kingsdown Med. Consultants, Ltd. v.

   Hollister, 863 F.2d 867, 875 (Fed. Cir. 1988)).

          8.      If the accused infringer meets its burden to show both intent and materiality by clear

   and convincing evidence, the district court must still “weigh the equities to determine whether the
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   applicant’s conduct before the PTO warrants rendering the entire patent unenforceable.”

   Therasense, 649 F.3d at 1287.

   II.      EQUITABLE ESTOPPEL

            Issues To Be Litigated

            9.     There are no issues of law with respect to whether General Electric, GE Lighting,

   Current, OSRAM, or LEDVANCE were misled by any act or omission of CAO Lighting or CAO

   Group.

            10.    There are no issues of law with respect to whether General Electric, GE Lighting,

   Current, OSRAM, or LEDVANCE relied on any act or omission of CAO Lighting or CAO Group.

            11.    There are no issues of law with respect to whether General Electric, GE Lighting,

   Current, OSRAM, or LEDVANCE suffered prejudice as a result of any act or omission of CAO

   Lighting or CAO Group.

            12.    Any disputes regarding application of the law to equitable estoppel in this case will

   be resolved by the Court in connection with post-trial briefing.

            Legal Authority

            13.    A party raising equitable estoppel as a defense must prove, by a preponderance of

   the evidence, three elements: ‘(1) the [patentee], who usually must have knowledge of the true

   facts, communicates something in a misleading way, either by words, conduct or silence. (2) The

   [accused infringer] relies upon that communication. (3) And the [accused infringer] would be

   harmed materially if the [patentee] is later permitted to assert any claim inconsistent with his earlier

   conduct.’” Vanderlande Indus. Nederland BV v. I.T.C., 366 F.3d 1311, 1324 (Fed. Cir. 2004)

   (quoting A.C. Aukerman Co. v. R.L. Chaides Const. Co., 960 F.2d 1020, 1041 (Fed. Cir. 1991)).
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           14.     The alleged infringer’s inference or belief based on any act or omission of the

   patentee must be reasonable. Aspex Eyewear Inc. v. Clariti Eyewear, Inc., 605 F.3d 1305, 1310

   (Fed. Cir. 2010) (holding that defendant must show that “the patentee, through misleading conduct,

   led the infringer to reasonably believe that the patentee did not intent to enforce its patent against the

   infringer”); Tang v. Northpole, Ltd., No. 11-5112, 2012 WL 12847002, at *3 (W.D. Ark. May 11,

   2012) (“Silence resulting from a patentee’s negligence can amount to misleading conduct if it

   reasonably gives rise to an inference of abandonment of the infringement claim.”).

           15.     The alleged infringer “must show that, in fact, it substantially relied on the misleading

   conduct of the patentee in connection with taking some action. Reliance is not the same as prejudice

   or harm, although frequently confused.” Aukerman, 960 F.2d 1042–43.

           16.     To establish reliance there must be an “evidentiary link between, on the one hand,

   defendant’s own activities which purportedly establish reliance and, on the other hand, plaintiffs’

   asserted statement and inaction on which defendant claims it relied.” Am. Tech. Ceramics Corp.

   v. Presidio Components, Inc., 14-cv-65444 (KAM)(GRB), 2018 WL 1525686, at * 26 (E.D.N.Y.

   Mar. 27, 2018); see also Hemstreet v. Computer Entry Sys. Corp., 972 F.2d 1290, 1290–94 (Fed.

   Cir. 1992) (referring to “a total absence in the record of any showing by CES that its activities

   were in reliance upon supposed actions of Hemstreet, rather than a business judgment of its own—

   a judgment which subsequent events may well prove to be faulty”).

           17.     “It is not enough that the alleged infringer changed his position—i.e., invested in

   production of the allegedly infringing device. The change must because of and as a result of the

   delay, not simply a decision to capitalize on market opportunity.” Hemstreet, 972 F.2d at 1294

   (citing Aukerman, 960 F.2d at 1033).

           18.     In addition, a finding of prejudice must be connected to the alleged misleading act

   or silence. See, e.g., Tenneco Auto. Operating Co. v. Visteon Corp., 375 F. Supp. 2d 375, 383 (D.
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   Del. 2005); see also Eidos Display LLC v. Chi Mei Innolux Corp., No. 6:11-CV-201-JRG-JDL,

   2017 WL 6268800, *6 (E.D. Tex. Dec. 8, 2017) (holding prejudice must be connected to the

   alleged misleading conduct or silence).

   III.   COSTS

          Issues To Be Litigated

          19.     Whether CAO Lighting is entitled to costs in these cases.

          Legal Authority

          20.     On a finding of patent infringement, courts should award the patentee costs and

   pretrial interest. Federal Rule of Civil Procedure 54 states that: “[u]nless a federal statute, these

   rules, or a court order provides otherwise, costs—other than attorney’s fees—should be allowed

   to the prevailing party.”

   IV.    ATTORNEYS’ FEES

          Issues To Be Litigated

          21.     Whether any party should be awarded attorneys’ fees in these cases.

          Legal Authority

          22.     The patent statute authorizes the Court in “exceptional cases” to award reasonable

   attorneys’ fees to the prevailing party. 35 U.S.C. § 285. The text is patently clear. It imposes one

   and only one constraint on the district court’s discretion to award attorney’s fees in patent

   litigation: The power is reserved for ‘exceptional’ cases.” Octane Fitness, LLC v. ICON Health &

   Fitness, Inc., 134 S. Ct. 1749, 1755–56 (2014). The Supreme Court held that “[a]n ‘exceptional’

   case . . . is simply one that stands out from others with respect to the substantive strength of a

   party’s litigating position (considering both the governing law and the facts of the case) or the

   unreasonable manner in which the case was litigated.” Id. at 1756. A “district court may award

   fees in the rare case in which a party’s unreasonable conduct—while not necessarily independently
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   sanctionable—is nonetheless so ‘exceptional’ as to justify an award of fees.” Id. at 1757. The

   statute’s requirement for an “exceptional” finding is not the same as 25 U.S.C § 284’s standard for

   enhancement of damages. See Jurgens v. CBK, Ltd., 80 F.3d 1566, 1573 n.4 (Fed. Cir. 1996)

   (“conduct which a court may deem ‘exceptional’ and a basis for awarding attorneys fees may not

   qualify for an award of increased damages.”)

          23.     Entitlement to fees under Section 285 is established by the preponderance of

   evidence. Octane Fitness, LLC, 134 S. Ct. at 1758; see also Chalumeau Power Sys. LLC v. Alcatel-

   Lucent, No. 11-1175-RGA, 2014 WL 4675002, at *2 (D. Del. Sept. 12, 2014).
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                        EXHIBIT 6
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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

     CAO LIGHTING, INC.,

                Plaintiff,

     v.

     GENERAL ELECTRIC COMPANY,                C.A. No. 20-681-GBW
     CONSUMER LIGHTING (U.S.), LLC d/b/a GE
     LIGHTING, and CURRENT LIGHTING
     SOLUTIONS, LLC,

                Defendants.




              DEFENDANTS GE, GE LIGHTING, AND CURRENT
                     LIGHTING’S ISSUES OF LAW
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          Pursuant to Local Rule 16.3(c)(5) and this Court’ Scheduling Order (D.I. 64), Defendants

   General Electric Company (“GE”), Consumer Lighting (U.S.), LLC D/B/A GE Lighting (“GE

   Lighting”) (collectively the “GE Defendants”) and Current Lighting Solutions, LLC (“Current”)

   (collectively “Defendants”) submit this statement of issues of law that remain to be litigated. The

   identification of these issues is based in part on Defendants’ current understanding of CAO’s

   arguments regarding infringement, validity, enforceability, equitable estoppel and damages, which

   are based on the pleadings, discovery, and testimony to date (including testimony during the

   February 2023 jury trial). Defendants reserve the right to supplement, amend, or modify this list,

   for example, to respond to any issues, arguments, or evidence raised by CAO, or in the event of

   any Court ruling that might raise new or additional issues, including the pending motions for

   summary judgment and pending Daubert motions.

          If the Court determines that Defendants’ statement of the issues of fact that remain to be

   litigated as set forth in Exhibit 3 contains issues of law, those issues of law are incorporated herein

   by reference. Should the Court determine that any issue identified in this statement as a legal issue

   is more appropriately considered a factual issue, Defendants incorporate such issues by reference

   into Exhibit 3. The authority cited herein is not exhaustive, and Defendants may rely on authority

   not cited in this statement.

                                     I.     Patent Unenforceability

          1.      Whether Defendants have proven by clear and convincing evidence that the ’961

   patent is unenforceable due to inequitable conduct during prosecution of the patent before the

   United States Patent and Trademark Office (“PTO”).

          2.      Whether Defendants have proven by clear and convincing evidence that the ’961

   patent is unenforceable due to inequitable conduct during reexamination of the patent before the

   Patent Trials and Appeals Board (“PTAB”).


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          3.      Whether Defendants have proven by a preponderance of the evidence that CAO’s

   patent infringement claims are barred by the doctrine of equitable estoppel.

   A.     Inequitable Conduct

          4.      Although inequitable conduct involves questions of fact, “[i]nequitable conduct is

   equitable in nature and the trial court has the obligation to resolve the underlying facts of

   materiality and intent.” Duro-Last, Inc. v. Custom Seal, Inc., 321 F.3d 1098, 1110 (Fed. Cir. 2003).

          5.      Inequitable conduct is an equitable defense to patent infringement. Therasense Inc.

   v. Becton Dickinson & Co., 649 F.3d 1276, 1285 (Fed. Cir. 2011). A finding of “fraud,”

   “inequitable conduct,” or violation of duty of disclosure with respect to any claim in an application

   or patent, renders all the claims thereof unpatentable or invalid. See id. at 1288. “[Unequitable

   conduct infects the invention itself, and all claims which form a part of that invention.” Robocast,

   Inc. v. Microsoft Corp., 21 F. Supp. 3d 320, 338 (D. Del. 2014). As such, “the taint of a finding of

   inequitable conduct can spread from a single patent to render unenforceable other related patents

   and applications in the same technology family.” Therasense, 649 F.3d at 1288 (citing Consol.

   Aluminum Corp. v. Foseco Int’l Ltd., 910 F.2d 804, 808-12 (Fed. Cir. 1990)); see also eSpeed Inc.

   v. Brokertec USA LLC, 417 F. Supp. 2d 580, 595 (D. Del. 2006) (inequitable conduct during the

   prosecution of a patent application “can therefore render unenforceable . . . claims that issue from

   related applications as well”), aff’d, 480 F.3d 1129 (Fed. Cir. 2007).

          6.      Evidence “that the patent applicant (1) misrepresented or omitted information

   material to patentability, and (2) did so with specific intent to mislead or deceive” the PTO requires

   a finding that the patent is unenforceable due to inequitable conduct. Intellect Wireless, Inc. v.

   HTC Corp., 732 F.3d 1339, 1341–42 (Fed. Cir. 2013); accord, Ohio Willow Wood Co. v. Alps

   South, LLC, 735 F.3d 1333, 1344 (Fed. Cir. 2013). The determination of inequitable conduct is a

   flexible doctrine based on the Court’s equitable powers, which is “not bound by formula or


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   restrained by any limitation that tends to trammel the free and just exercise of discretion.” Keystone

   Driller Co. v. Gen. Excavator Co., 290 U.S. 240, 245–46 (1933).

           1.     Duty of Candor

           7.     The duty owed to the PTO includes those whose “involvement relates to the content

   of the application or decisions related thereto, and . . . is not wholly administrative or secretarial

   in nature.” Avid Identification Sys., Inc. v. Crystal Imp. Corp., 603 F.3d 967, 974 (Fed. Cir. 2010).

   The person who misrepresents or omits material information can be an inventor, prosecuting

   attorney, or a person otherwise “substantively involved in the preparation or prosecution of the

   [patent] application.” Id. at 973. The proper resolution of inequitable conduct requires evaluating

   the actions of all involved. See, e.g., Trans Web, LLC v. 3M Innovative Props. Co., 16 F. Supp. 3d

   385, 406-07 (D.N.J. 2014) (“[T]he actions of other 3M employees—Rousseau, Legare, Nagel,

   Lyons, and others—provide strong corroborating evidence of the inequitable conduct of Jones and

   Hanson.”), aff’d, 812 F.3d 1295 (Fed. Cir. 2016). The Court’s determination of inequitable

   conduct should not be “bound by formula” and need not be adjudicated with respect to each

   individual in isolation. Keystone Driller, 290 U.S. at 245-46.

           8.     All individuals covered by 37 C.F.R. § 1.56 have a duty to disclose to the PTO all

   material information they are aware of, regardless of the source or how they become aware of the

   information. See Brasseler, U.S.A. I, L.P. v. Stryker Sales Corp., 267 F.3d 1370, 1383 (Fed. Cir.

   2001) (“Once an attorney, or an applicant, has notice that information exists that appears material

   and questionable, that person cannot ignore that notice in an effort to avoid his or her duty to

   disclose.”).

           9.     This duty of candor extends to proceedings in which a patent is reexamined. 37

   C.F.R. § 1.555 (“Each individual associated with the patent owner in a reexamination proceeding

   has a duty of candor and good faith in dealing with the Office.”)


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            2.    Materiality

            10.   Materiality is established if the PTO would not have issued the claim if it had been

   aware of the omitted or misrepresented information. Aventis Pharma S.A. v. Hospira, Inc., 675

   F.3d 1324, 1334 (Fed. Cir. 2012) (quoting Therasense, 649 F.3d at 1291). Prior art that would

   have anticipated a claim or rendered it obvious is material information. See Therasense, 649 F.3d

   at 1291–92 (“When an applicant fails to disclose prior art to the PTO, that prior art is but for

   material if the PTO would not have allowed a claim had it been aware of the undisclosed prior

   art.”)

            11.   The materiality required to establish inequitable conduct is “but-for” materiality.

   Aventis Pharma, 675 F.3d at 1334 (citing Therasense, 649 F.3d at 1291). However, but-for

   materiality need not be shown for “affirmative acts of egregious misconduct.” Id. at 1292-93

   (contrasting affirmative misconduct against “mere nondisclosure of prior art). Indeed, but-for

   materiality is presumed where “the patentee has engaged in affirmative acts of egregious

   misconduct, such as the filing of an unmistakably false affidavit.” Id. at 1292-93 (citing Rohm &

   Haas Co. v. Crystal Chem. Co., 722 F.2d 1556, 1571 (Fed. Cir. 1983) (“there is no room to argue

   that submission of false affidavits is not material”)); see also Ohio Willow Wood, 735 F.3d at 1345.

   “After all, a patentee is unlikely to go to great lengths to deceive the PTO with a falsehood unless

   it believes that the falsehood will affect issuance of the patent.” Therasense, 649 F.3d at 1292.

            12.   Because the PTO applies a preponderance of the evidence standard and gives

   claims their broadest reasonable interpretation, a defendant can show materiality under a

   preponderance of the evidence standard even if the issued claims are not invalidated by clear and

   convincing evidence at trial. Aventis Pharma, 675 F.3d at 1334 (citing Therasense, 649 F.3d at

   1291-92).




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          13.     The selective disclosure of material information to other recipients, but not to the

   PTO, supports the inference that an inventor understood the importance of the material and

   withheld it from the PTO with deceptive intent. See Bruno Indep. Living Aids, Inc. v. Acorn

   Mobility Servs. Ltd., 394 F.3d 1348, 1354 (Fed. Cir. 2005); A.B. Dick Co. v. Burroughs Corp., 798

   F.2d 1392, 1399 (Fed. Cir. 1986).

          14.     A finding of patent validity does not bind the Court’s decision on materiality. As

   the Federal Circuit in American Calcar v. American Honda Motor Co. stated:

          This court held in Therasense that the standard for ‘the materiality required to
          establish inequitable conduct is but-for materiality.’ In particular, undisclosed prior
          art is ‘but-for material if the PTO would not have allowed a claim had it been aware
          of it. This means that to assess materiality, the court must look to the standard used
          by the PTO to allow claims during examination. To wit: ‘The court should apply
          the preponderance of the evidence standard and give claims their broadest
          reasonable construction.’ District courts and the PTO employ different evidentiary
          standards and rules for claim construction. Therefore, ‘even if a district court does
          not invalidate a claim based on a deliberately withheld reference, the reference may
          be material if it would have blocked patent issuance under the PTO’s different
          evidentiary standards.’ The jury’s verdict finding the patents at issue non-obvious
          thus does not weigh on the determination of materiality for inequitable conduct,
          and indeed, Calcar does not make any arguments on appeal that rely on the jury’s
          determination.

   768 F.3d 1185, 1189 (Fed. Cir. 2014) (internal citations omitted).

          15.     Even though the attorney, agent, or applicant does not consider a reference or

   information necessarily material, “where the materiality of the information is uncertain, disclosure

   is required.” Brasseler, 267 F.3d at 1386; see also, e.g., LaBounty Mfg., Inc. v. U.S. Int’l Trade

   Comm’n, 958 F.2d 1066, 1076 (Fed. Cir. 1992).

          3.      Intent to Deceive

          16.     Intent is established by a showing of clear and convincing evidence that the

   patentee: “[1] knew of the reference, [2] knew that it was material, and [3] made a deliberate

   decision to withhold it.” Therasense, 649 F.3d at 1290. “[T]he specific intent to deceive must be



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   ‘the single most reasonable inference able to be drawn from the evidence.’” Id. (quoting Star Sci.

   v. R.J. Tobacco, 537 F.3d 1357, 1366 (Fed. Cir. 2008)); see GS Cleantech Corp. v. Adkins Energy

   LLC, 951 F.3d 1310, 1329–32 (Fed. Cir. 2020) (affirming finding of inequitable conduct where

   material prior art reference was intentionally withheld from the patent office); Monsanto Co., 514

   F.3d at 1240–42 (holding that an inference of intent to deceive can be drawn where patent applicant

   lacks a credible reason for nondisclosure).

          17.     “Direct evidence of intent or proof of deliberate scheming is rarely available in

   instances of inequitable conduct, but intent may be inferred from the surrounding circumstances.”

   Critikon, Inc. v. Becton Dickinson Vascular Access, Inc., 120 F.3d 1253, 1256 (Fed. Cir. 1997);

   see also Paragon Podiatry Lab., Inc. v. KLM Labs., Inc., 984 F.2d 1182, 1189-91 (Fed. Cir. 1993)

   (“‘[S]moking gun’ evidence is not required in order to establish an intent to deceive. Rather, this

   element of inequitable conduct . . . must generally be inferred from the facts and circumstances

   surrounding the applicant’s overall conduct.”). “[A] district court may infer intent from indirect

   and circumstantial evidence.” Therasense, 649 F.3d at 1290. “[I]n the absence of a credible

   explanation, intent to deceive is generally inferred from the facts and circumstances surrounding

   a knowing failure to disclose material information.” Bruno, 394 F.3d at 1354. Where the single

   most reasonable inference from the circumstantial evidence is intent to deceive, specific intent is

   satisfied. See Therasense, 649 F.3d at 1290; see also Aventis Pharma, 675 F.3d at 1335.

          18.     The Court may take into account circumstances where a witness’s “memory of facts

   was suspiciously selective, and he refused to acknowledge certain incontrovertible events.” Avid,

   603 F.3d at 975.

          19.      “[A] patentee facing a high level of materiality and clear proof that it knew or

   should have known of that materiality, can expect to find it difficult to establish ‘subjective good




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   faith’ sufficient to prevent the drawing of an inference of intent to mislead.” Critikon, 120 F.3d at

   12567-57; see also Merck & Co. v. Danbury Pharmacal, Inc., 873 F.2d 1418, 1422 (Fed. Cir.

   1989) (stating intent is often proven by “a showing of acts the natural consequences of which are

   presumably intended by the actor” (citation omitted)).

            20.   “Partial disclosure of material information about the prior art to the PTO cannot

   absolve a patentee of intent if the disclosure is intentionally selective.” See Am. Calcar, 768 F.3d

   at 1190-91 (finding intent where Calcar’s founder, Mr. Obradovich, “was not candid about the

   inventors’ possession of photographs” of the prior art, and “knew the information was material

   because he himself acknowledged the importance of the information he possessed”).

            21.   Where a prosecuting attorney’s “statements were not mere advocacy for a preferred

   interpretation . . . [but] factual in nature and contrary to the true information he had in his

   possession,” those statements cross “the line from legitimate advocacy to genuine

   misrepresentation of material facts,” supporting a finding of inequitable conduct. See Apotex Inc.

   v. UCB, Inc., 763 F.3d 1354, 1362 (Fed. Cir. 2014); see also Regeneron Pharm., Inc. v. Merus

   B.V., 144 F. Supp. 3d 530, 583 (S.D.N.Y. 2015) (finding that “incomplete and/or inaccurate”

   statements about scientific data support inequitable conduct), aff’d, 864 F.3d 1343 (Fed. Cir.

   2017).

            22.   “[I]t can be expected that an innocent party will be motivated to try to present

   convincing reasons for its actions or inaction.” Bruno, 394 F.3d at 1354. “[A]n inference of

   deceptive intent may fairly be drawn in the absence of’ any “credible explanation” for

   nondisclosure or material misrepresentation. Id. And “[i]n the absence of a credible explanation,

   intent to deceive is generally inferred from the facts and circumstances surrounding a knowing

   failure to disclose material information.” Id.




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          23.     If the accused infringer meets its burden to prove inequitable conduct, “then the

   district court must weigh the equities to determine whether the applicant’s conduct before the PTO

   warrants rendering the entire patent unenforceable.” Therasense, 649 F.3d at 1287. Inequitable

   conduct related to even a “single claim renders the entire patent unenforceable.” Id. at 1288;

   Kingsdown Med. Consultants, Ltd. v. Hollister, Inc., 863 F.2d 867, 874 (Fed. Cir. 1988).

   B.     Equitable Estoppel

          24.     Whether CAO’s claims are barred by the doctrine of equitable estoppel.

          25.     The issue of equitable estoppel is an equitable matter for the Court. “Where

   equitable estoppel is established, all relief on a claim may be barred.” A.C. Aukerman Co. v. R.L.

   Chaides Const. Co., 960 F.2d 1020, 1041 (Fed. Cir. 1992) (en banc). The effect of equitable

   estoppel is “a license to use the invention that extends throughout the life of the patent.” SCA

   Hygiene Prods. Aktiebolag v. First Quality Baby Prods., LLC, 807 F.3d 1311, 1332 (Fed. Cir.

   2015) (en banc), vacated in part on other grounds, 137 S. Ct. 954 (2017).

          26.     It is well-established that “intentionally misleading silence” can serve as the basis

   for estoppel, even absent an affirmative communication. See, e.g., Aukerman, 960 F.2d at 1043.

   As one court noted, “[a] patentee who, with knowledge of the alleged infringing activity, does

   nothing over a period of years other than mislead a purported infringer . . . to believe that there

   was and is no problem, lying in wait ... has engaged in affirmatively misleading silence of the

   worst order.” Stryker Corp. v. Zimmer, Inc., 741 F. Supp. 509, 514-15 (D.N.J. 1990).“In the most

   common situation,” “the patentee specifically objects to the activities currently asserted as

   infringement in the suit and then does not follow up for years.” Aukerman, 960 F.2d at 1042.

   “[C]ourts have found intentionally misleading silence where ‘a patentee threatened immediate or

   vigorous enforcement of its patent right but then did nothing for an unreasonably long time.’”




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   Symbol Techs., Inc. v. Aruba Networks, Inc., 609 F. Supp. 2d 353, 356 (D. Del. 2009) (quoting

   Hottel Corp. v. Seaman Corp., 833 F.2d 1570, 1574 (Fed. Cir. 1987)).

          27.     “A party raising equitable estoppel as a defense must prove, by a preponderance of

   the evidence, three elements: ‘(1) The [patentee], who usually must have knowledge of the true

   facts, communicates something in a misleading way, either by words, conduct or silence. (2) The

   [accused infringer] relies upon that communication. (3) And the [accused infringer] would be

   harmed materially if the [patentee] is later permitted to assert any claim inconsistent with his earlier

   conduct.’” Vanderlande Indus. Nederland BV v. I.T.C., 366 F.3d 1311, 1324 (Fed. Cir. 2004)

   (quoting Aukerman, 960 F.2d at 1041).

          28.     Defendants can establish reliance by showing that they “failed to take affirmative

   actions to protect [themselves] from a lawsuit seeking many millions of dollars in damages.”

   Wafer Shave, 857 F. Supp. at 124; see also Kewazinga Corp. v. Microsoft Corp., 558 F. Supp. 3d

   90, 110 (S.D.N.Y. 2021) (applying equitable estoppel where the patentee’s inaction deprived the

   alleged infringer of any grounds to “maintain [its] armor against” a lawsuit). Affirmative steps

   might include seeking an early settlement to end litigation; altering business plans; exploring

   options to design-around the allegedly infringing aspects of a problem, or pursuing counter-claims

   or specific defenses. See, e.g., Radio Sys. Corp., 2012 WL 254026, at *9; Wafer Shave, 857 F.

   Supp. at 124; Kane v. DeLong, 2013 WL 1149801, at *5 (N.D. Cal. Mar. 19, 2013). In particular,

   a major corporate transaction during a period of misleading silence “unquestionably” establishes

   reliance. Radio Sys. Corp., 2012 254026, at *9.

          29.     In proving reliance, Defendants need not show that patentee’s conduct was the only

   reason they took (or did not take) certain actions. Rather, it is enough that patentee’s conduct “[a]t

   the very least … reinforced” Defendants’ decision-making. Radio Sys. Corp. v. Lalor, 2012 WL




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   254026, at *9 (W.D. Wash. Jan. 26, 2012), aff’d in part, rev’d in part on other grounds and

   remanded, 709 F.3d 1124 (Fed. Cir. 2013) (rejecting patentee’s argument that equitable estoppel

   could not lie because it was “conceivable that [the alleged infringers] relied not on [the patentee’s]

   inaction, but on their own belief that [the patent] was invalid”); see also Wafer Shave, Inc. v.

   Gillette Co., 857 F. Supp. 112, 123 (D. Mass. 1993). In other words, Defendants “need not prove

   precisely what alternative paths [they] would have taken,” or show that “every … decision was

   based on reliance on [the patentee’s] silence.” Aspex Eyewear Inc. v. Clariti Eyewear, Inc., 605

   F.3d 1305, 1312 (Fed. Cir. 2010) (affirming the district court’s grant of summary judgment on

   equitable estoppel).

          30.     A patentee’s course of dealings with other companies, such as filing other lawsuits,

   may reinforce a defendant’s inference that the patentee had “waived its patent rights” with respect

   to ddefendant. Scholle Corp. v. Blackhawk Molding Co., Inc., 133 F.3d 1469, 1472 (Fed. Cir.

   1998). Trading Techs. Int’l, Inc. v. IBG LLC, 2020 WL 7398790, at *2 (N.D. Ill. Dec. 17, 2020)

   (reasonable to infer that patent owner “did not intend to bring legal action against” potential

   infringer based on “a threat of litigation against many, action against some of the threatened

   parties, and then five years of silence”).

          31.     Prejudice for equitable estoppel may be either economic, evidentiary or both.

   Kewazinga Corp. v. Microsoft Corp., 558 F. Supp. 3d 90, 110 (S.D.N.Y. 2021) (prejudice for

   equitable estoppel “may be economic or evidentiary”); see also Wafer Shave, 857 F. Supp. at 125-

   26 (recognizing both “economic, or business, prejudice” and “litigation prejudice”).

          32.     “Evidentiary, or ‘defense’ prejudice, may arise by reason of a defendant’s inability

   to present a full and fair defense on the merits due to the loss of records, the death of a witness, or

   the unreliability of memories of long past events, thereby undermining the court’s ability to judge




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   the facts.” Aukerman, 960 F.2d at 1033; see also Wafer Shave, 857 F. Supp. at 126 (recognizing

   that defendants may suffer “litigation prejudice in the form of lost evidence”).

          33.     “Economic prejudice may arise where a defendant and possibly others will suffer

   the loss of monetary investments or incur damages which likely would have been prevented by

   earlier suit.” Id.; see also Andover Healthcare, Inc. v. 3M Co., 2016 WL 6246360, at *2 (D. Del.

   Oct. 18, 2016) (same); Wafer Shave, 857 F. Supp. at 125 (defendant prejudiced where it “lost the

   opportunity to limit its present exposure to substantial litigation costs and damages”).

          34.     Economic prejudice also may be shown “by a change of economic position flowing

   from actions taken or not taken by the patentee.” Aspex Eyewear, 605 F.3d at 1312; see also

   Aukerman, 960 F.2d at 1033. For example, a defendant may show economic prejudice based on a

   “substantial new investment in allegedly infringing products during the delay.” Wafer Shave, 857

   F. Supp. at 125. The “development” of business built around accused products “represents a

   significant change in economic position and constitutes material prejudice sufficient to show

   equitable estoppel.” Aspex Eyewear, 605 F.3d at 1312; see also Wafer shave, 857 F. Supp. at 125

   (recognizing prejudice where the defendant “made substantial investment” in products that

   incorporated the allegedly infringing technology). Likewise, where a defendant “during the period

   of silence,” obtains an interest in another company, “a reasonable fact finder could find only that

   Plaintiffs suffered prejudice.” Radio Sys., 2012 WL 254026, at *9 (emphasis added).

          35.     It is sufficient to show economic prejudice that the defendant was “robbed … of

   the opportunity to structure their business plans as they might have had they known of the threat

   of litigation”—a “recognized example of prejudice.” Radio Sys. Corp., 2012 wl 254026, at *9. In

   other words, a defendant “need not show a total loss of value in order to show material prejudice.”

   Aspex Eyewear, 605 F.3d at 1312. “Whether or not [Defendants] would have actually altered




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   [their] business plans, [they were] clearly denied the opportunity to alter [their] business and

   investment strategies.” Wafer Shave, 857 F. Supp. at 125.

                                            II.     Damages

   A.      Costs, Prejudgment Interest, and Postjudgment Interest

           36.    “Unless a federal statute, these rules, or a court order provides otherwise, costs—

   other than attorney’s fees—should be allowed to the prevailing party.” Fed. R. Civ. P. 54(d)(l).

   Under 28 U.S.C. § 1920, the prevailing party may recover the following costs: (1) Fees of the clerk

   and marshal; (2) Fees for printed or electronically recorded transcripts necessarily obtained for use

   in the case; (3) Fees and disbursements for printing and witnesses; (4) Fees for exemplification

   and the costs of making copies of any materials where the copies are necessarily obtained for use

   in the case; (5) Docket fees under section 1923 of this title; (6) Compensation of court appointed

   experts, compensation of interpreters, and salaries, fees, expenses, and costs of special

   interpretation services under section 1828 of this title. 28 U.S.C. § 1920; see also D. Del. L.R.

   54.1.

           37.    Under 28 U.S.C. § 1961(a), “[i]nterest shall be allowed on any money judgment in

   a civil case recovered in a district court.” 28 U.S.C. § 1961(a). “[T]he Supreme Court has held that

   ‘prejudgment interest shall ordinarily be awarded absent some justification for withholding such

   an award.’” Nickson Indus., Inc. v. Rol Mfg. Co., 847 F.2d 795, 800 (Fed. Cir. 1988) (quoting

   General Motors Corp. v. Devex Corp., 461 U.S. 648, 657 (1983)). Prejudgment interest is not a

   penalty but “serves to make the patent owner whole, for damages properly include the foregone

   use of money of which the patentee was wrongly deprived.” Sensonics, 81 F.3d at 1574. Thus, the

   Supreme Court established “that prejudgment interest is the rule, not the exception.” Id. (citing

   General Motors Corp., 461 U.S. at 656–57). “Generally, prejudgment interest should be awarded



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   from the date of infringement to the date of judgment.” Nickson Indus., 847 F.2d at 800.

   “Postjudgment interest is awarded on monetary judgments recovered in all civil cases.”

   Transmatic, Inc. v. Gulton Indus., Inc., 180 F.3d 1343, 1347 (Fed. Cir. 1999). Postjudgment

   interest is governed by regional circuit law (id. at 1348), and begins to accrue on the date of the

   entry of judgment (Loughman v. Consol-Pennsylvania Coal Co., 6 F.3d 88, 97 (3d Cir. 1993)).

   B.     Exceptional Cases Including Attorneys’ Fees

          38.      Whether CAO is entitled to attorneys’ fees pursuant to 35 U.S.C. § 285.

          39.      Whether Defendants are entitled to their costs and attorneys’ fees pursuant to 35

   U.S.C. § 285.

          40.      Section 285 provides “[t]he court in exceptional cases may award reasonable

 attorney fees to the prevailing party.” 35 U.S.C. § 285. “[F]or a party to be a prevailing party, that

 party must win a dispute within the case in favor of it that materially alters the legal relationship

 between the parties at the time of the judgment.” Parallel Iron LLC v. NetApp Inc., 70 F. Supp. 3d

 585, 589 (D. Del. 2014) (Andrews, J.). “[A]n ‘exceptional’ case is simply one that stands out from

 others with respect to the substantive strength of a party’s litigating position (considering both the

 governing law and the facts of the case) or the unreasonable manner in which the case was litigated.”

 Octane Fitness, LLC v. ICON Health & Fitness, Inc., 572 U.S. 545, 554 (2014). Further, “[d]istrict

 courts may determine whether a case is ‘exceptional’ in the case-by-case exercise of their discretion,

 considering the totality of the circumstances.” Id. In addition, the prevailing party must prove

 entitlement to attorney fees under § 285 by a preponderance of the evidence. Id. at 1758; see also

 Chalumeau Power Sys. LLC v. Alcatel-Lucent, No. CV 11-1175-RGA, 2014 WL 4675002, at *1 (D.

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                                      EXHIBIT 5


                             UNITED STATES DISTRICT COURT

                                DISTRICT OF DELAWARE



     CAO LIGHTING, INC.,
                                                  C.A. No. 20-690-GBW
                Plaintiff,

     v.

     OSRAM SYLVANIA, INC. and
     LEDVANCE LLC,




                       DEFENDANTS OSRAM AND LEDVANCE’S
                          STATEMENT OF ISSUES OF LAW
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                                               EXHIBIT 5


          Pursuant to Local Rule 16.3(c)(5) and this Court’s Scheduling Order (D.I. 64), Defendants

   OSRAM SYLVANIA, INC. and LEDVANCE, LLC submit this statement of issues of law. The

   identification of these issues rests in part on Defendants’ current understanding of CAO’s

   arguments regarding inequitable conduct and equitable estoppel, which are based in turn on the

   pleadings, discovery, and testimony to date (including testimony during the February 2023 jury

   trial in the GE/Current case, No. 20-681). Defendants reserve the right to supplement, amend, or

   modify this list, for example, to respond to any issues, arguments, or evidence raised by CAO, or

   to address any forthcoming Court rulings.

          If the Court determines that Defendants’ statement of the issues of fact that remain to be

   litigated as set forth in Exhibit 3 contains issues of law, those issues of law are incorporated herein

   by reference. Should the Court determine that any issue identified in this statement as a legal issue

   is more appropriately considered a factual issue, Defendants incorporate such issues by reference

   into Exhibit 3. The authority cited herein is not exhaustive, and Defendants may rely on authority

   not cited in this statement.

                             I.      Patent Unenforceability

          1.      The parties dispute (1) whether Defendants have proven by clear and convincing

   evidence that the ’961 patent is unenforceable due to inequitable conduct during prosecution of

   the patent before the United States Patent and Trademark Office (“PTO”); (2) whether Defendants

   have proven by clear and convincing evidence that the ’961 patent is unenforceable due to

   inequitable conduct during reexamination of the patent before the Patent Trial and Appeal Board

   (“PTAB”); and (3) whether Defendants have proven by a preponderance of the evidence that

   CAO’s patent infringement claims are barred by the doctrine of equitable estoppel.




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   A.     Inequitable Conduct

          2.      Inequitable conduct is an equitable defense to patent infringement. Therasense Inc.

   v. Becton Dickinson & Co., 649 F.3d 1276, 1285 (Fed. Cir. 2011).

          3.      “PTO Rule 56, codified at 37 C.F.R. § 1.56, imposes on all individuals associated

   with the filing and prosecution of a patent application a duty of candor and good faith in dealing

   with the PTO during the period of examination of a patent application.” Avid Identification Sys.,

   Inc. v. Crystal Imp. Corp., 603 F.3d 967, 973 (Fed. Cir. 2010). This duty of candor extends to

   reexamination proceedings. 37 C.F.R. § 1.555(a) (“Each individual associated with the patent

   owner in a reexamination proceeding has a duty of candor and good faith in dealing with the

   Office.”).

          4.      The duty of candor owed to the PTO extends to those whose “involvement relates

   to the content of the application or decisions related thereto, and . . . is not wholly administrative

   or secretarial in nature.” Avid, 603 F.3d at 974. “If an individual who is substantively involved in

   the preparation or prosecution of an application fails to comply with his duty of candor, then that

   individual’s misconduct is chargeable to the applicant for the patent, and the applicant’s patent is

   held unenforceable” under the doctrine of inequitable conduct. Id. at 973.

          5.      Specifically, a finding of “fraud,” “inequitable conduct,” or violation of the duty of

   disclosure with respect to any claim in an application or patent renders all the claims thereof

   unpatentable or invalid. Id. at 1288. “Inequitable conduct infects the invention itself, and all claims

   which form a part of that invention.” Robocast, Inc. v. Microsoft Corp., 21 F. Supp. 3d 320, 338

   (D. Del. 2014). Moreover, “the taint of a finding of inequitable conduct can spread from a single

   patent to render unenforceable other related patents and applications in the same technology

   family.” Therasense, 649 F.3d at 1288 (citing Consol. Aluminum Corp. v. Foseco Int’l Ltd., 910

   F.2d 804, 808-12 (Fed. Cir. 1990)); see also eSpeed Inc. v. Brokertec USA LLC, 417 F. Supp. 2d


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   580, 595 (D. Del. 2006) (inequitable conduct during the prosecution of a patent application can

   “render unenforceable . . . claims that issue from related applications as well”), aff’d, 480 F.3d

   1129 (Fed. Cir. 2007).

          6.      The proper resolution of inequitable conduct requires evaluating the actions of all

   involved. See, e.g., Trans Web, LLC v. 3M Innovative Props. Co., 16 F. Supp. 3d 385, 406-07

   (D.N.J. 2014) (looking to the actions of other employees to provide “corroborating evidence” of

   their colleagues’ inequitable conduct), aff’d, 812 F.3d 1295 (Fed. Cir. 2016).

          7.      A patentee must disclose to the PTO all material information they are aware of,

   regardless of the source of that information or how they became aware of it. See Brasseler, U.S.A.

   I, L.P. v. Stryker Sales Corp., 267 F.3d 1370, 1383 (Fed. Cir. 2001) (“Once an attorney, or an

   applicant, has notice that information exists that appears material and questionable, that person

   cannot ignore that notice in an effort to avoid his or her duty to disclose.”).

          8.      Although inequitable conduct involves questions of fact, “[i]nequitable conduct is

   equitable in nature and the trial court has the obligation to resolve the underlying facts of

   materiality and intent.” Duro-Last, Inc. v. Custom Seal, Inc., 321 F.3d 1098, 1110 (Fed. Cir. 2003).

          9.      Inequitable conduct is a flexible doctrine, “not bound by formula or restrained by

   any limitation that tends to trammel the free and just exercise of discretion.” Keystone Driller Co.

   v. Gen. Excavator Co., 290 U.S. 240, 245–46 (1933).

          10.     To establish inequitable conduct, the alleged infringer must show that “the patent

   applicant (1) misrepresented or omitted information material to patentability, and (2) did so with

   specific intent to mislead or deceive” the PTO. Intellect Wireless, Inc. v. HTC Corp., 732 F.3d

   1339, 1341–42 (Fed. Cir. 2013); accord Ohio Willow Wood Co. v. Alps South, LLC, 735 F.3d

   1333, 1344 (Fed. Cir. 2013). If the accused infringer satisfies its burden, then the “district court




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   must weigh the equities to determine whether” to invoke the defense of inequitable conduct.

   Therasense, 649 F.3d at 1287.

           1.      Materiality

           11.     Materiality is established if the PTO would not have issued a claim if it had been

   aware of the omitted or misrepresented information. Aventis Pharma S.A. v. Hospira, Inc., 675

   F.3d 1324, 1334 (Fed. Cir. 2012). Thus, prior art that would have anticipated a claim or rendered

   it obvious is material information. See Therasense, 649 F.3d at 1291–92.

           12.     The materiality required to establish inequitable conduct is “but-for” materiality.

   Id. (“When an applicant fails to disclose prior art to the PTO, that prior art is but for material if the

   PTO would not have allowed a claim had it been aware of the undisclosed prior art.”); see also

   Aventis Pharma, 675 F.3d at 1334. There is an exception, however, for “affirmative acts of

   egregious misconduct.” Therasense, 649 F.3d at 1292-93 (contrasting affirmative misconduct

   with the “mere nondisclosure of prior art). When “the patentee has engaged in affirmative acts of

   egregious misconduct, such as the filing of an unmistakably false affidavit,” materiality is

   presumed. Id.; see also Rohm & Haas Co. v. Crystal Chem. Co., 722 F.2d 1556, 1571 (Fed. Cir.

   1983) (“[T]here is no room to argue that submission of false affidavits is not material.”); Ohio

   Willow Wood, 735 F.3d at 1345 (similar). “After all, a patentee is unlikely to go to great lengths

   to deceive the PTO with a falsehood unless it believes that the falsehood will affect issuance of

   the patent.” Therasense, 649 F.3d at 1292.

           13.     Selective disclosure of material information to other recipients, but not to the PTO,

   supports the inference that an inventor understood the importance of the material and withheld it

   from the PTO with deceptive intent. See Bruno Indep. Living Aids, Inc. v. Acorn Mobility Servs.

   Ltd., 394 F.3d 1348, 1354 (Fed. Cir. 2005); A.B. Dick Co. v. Burroughs Corp., 798 F.2d 1392,

   1399 (Fed. Cir. 1986).


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          14.      A finding of patent validity does not bind the Court’s decision on materiality. See

   American Calcar v. American Honda Motor Co., 768 F.3d 1185, 1189 (Fed. Cir. 2014); Aventis

   Pharma, 675 F.3d at 1334. “District courts and the PTO employ different evidentiary standards

   and rules for claim construction.” Am. Calcar, 768 F.3d at 1189 (explaining that the PTO applies

   the preponderance of the evidence standard and gives “claims their broadest reasonable

   construction”). As a result, “even if a district court does not invalidate a claim based on a

   deliberately withheld reference, the reference may be material if it would have blocked patent

   issuance under the PTO’s different evidentiary standards. The jury’s verdict finding the patents at

   issue non-obvious thus does not weigh on the determination of materiality for inequitable

   conduct.” Id.

          15.      “[W]here the materiality of the information is uncertain, disclosure is required.”

   Brasseler, 267 F.3d at 1386; see also, e.g., LaBounty Mfg., Inc. v. U.S. Int’l Trade Comm’n, 958

   F.2d 1066, 1076 (Fed. Cir. 1992).

          2.       Intent to Deceive

          16.      Intent to deceive is established by a showing of clear and convincing evidence that

   the patentee: “[1] knew of the reference, [2] knew that it was material, and [3] made a deliberate

   decision to withhold it.” Therasense, 649 F.3d at 1290. “[T]he specific intent to deceive must be

   ‘the single most reasonable inference able to be drawn from the evidence.’” Id. (quoting Star Sci.

   v. R.J. Tobacco, 537 F.3d 1357, 1366 (Fed. Cir. 2008)).

          17.      “Direct evidence of intent or proof of deliberate scheming is rarely available in

   instances of inequitable conduct, but intent may be inferred from the surrounding circumstances.”

   Critikon, Inc. v. Becton Dickinson Vascular Access, Inc., 120 F.3d 1253, 1256 (Fed. Cir. 1997);

   see also Paragon Podiatry Lab., Inc. v. KLM Labs., Inc., 984 F.2d 1182, 1189-91 (Fed. Cir. 1993)

   (“‘[S]moking gun’ evidence is not required in order to establish an intent to deceive. Rather, this


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   element of inequitable conduct . . . must generally be inferred from the facts and circumstances

   surrounding the applicant’s overall conduct.”). Thus, “a district court may infer intent from

   indirect and circumstantial evidence.” Therasense, 649 F.3d at 1290.

          18.      In particular, “in the absence of a credible explanation, intent to deceive is

   generally inferred from the facts and circumstances surrounding a knowing failure to disclose

   material information.” Bruno, 394 F.3d at 1354; see also Monsanto Co. v. Bayer Bioscience N.V.,

   514 F.3d 1229, 1240–42 (Fed. Cir. 2008) (inference of intent to deceive can be drawn where patent

   applicant lacks a credible reason for nondisclosure). Likewise, a court may take into account when

   a witness’s “memory of facts was suspiciously selective, and he refused to acknowledge certain

   incontrovertible events.” Avid, 603 F.3d at 975.

          19.     “[A] patentee facing a high level of materiality and clear proof that it knew or

   should have known of that materiality[] can expect to find it difficult to establish ‘subjective good

   faith’ sufficient to prevent the drawing of an inference of intent to mislead.” Critikon, 120 F.3d at

   1256-57; see also Merck & Co. v. Danbury Pharmacal, Inc., 873 F.2d 1418, 1422 (Fed. Cir. 1989)

   (intent is often proven by “a showing of acts the natural consequences of which are presumably

   intended by the actor” (citation omitted)).

          20.     “Partial disclosure of material information about the prior art to the PTO cannot

   absolve a patentee of intent if the disclosure is intentionally selective.” Am. Calcar, 768 F.3d at

   1190-91 (finding intent where patentee’s founder “was not candid about the inventors’ possession

   of photographs” of the prior art, and “knew the information was material because he himself

   acknowledged the importance of the information he possessed”).

          21.     Where a prosecuting attorney’s “statements were not mere advocacy for a preferred

   interpretation . . . [but] factual in nature and contrary to the true information he had in his




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   possession,” those statements cross “the line from legitimate advocacy to genuine

   misrepresentation of material facts”—and thus support a finding of inequitable conduct. Apotex

   Inc. v. UCB, Inc., 763 F.3d 1354, 1362 (Fed. Cir. 2014); see also Regeneron Pharm., Inc. v. Merus

   B.V., 144 F. Supp. 3d 530, 583 (S.D.N.Y. 2015) (“incomplete and/or inaccurate” statements about

   scientific data support inequitable conduct), aff’d, 864 F.3d 1343 (Fed. Cir. 2017).

   B.     Equitable Estoppel

          22.     “Three elements must be established to bar a patentee’s suit by reason of equitable

   estoppel: (a) The patentee, through misleading conduct, leads the alleged infringer to reasonably

   infer that the patentee does not intend to enforce its patent against the alleged infringer,” “(b) The

   alleged infringer relies on that conduct,” and “(c) Due to its reliance, the alleged infringer will be

   materially prejudiced if the patentee is allowed to proceed with its claim.” A.C. Aukerman Co. v.

   R.L. Chaides Const. Co., 960 F.2d 1020, 1028 (Fed. Cir. 1992) (en banc).

          23.     “Where equitable estoppel is established, all relief on a claim may be barred.” Id.

   at 1041. In other words, the effect of equitable estoppel is “a license to use the invention that

   extends throughout the life of the patent.” SCA Hygiene Prods. Aktiebolag v. First Quality Baby

   Prods., LLC, 807 F.3d 1311, 1332 (Fed. Cir. 2015) (en banc), vacated in part on other grounds,

   137 S. Ct. 954 (2017).

          24.     The alleged infringer has the burden to prove equitable estoppel by a preponderance

   of the evidence. Vanderlande Indus. Nederland BV v. I.T.C., 366 F.3d 1311, 1324 (Fed. Cir. 2004).

          1.      Misleading Conduct

          25.     Misleading conduct “may include specific statements, action, inaction, or silence

   where there was an obligation to speak.” Aukerman, 960 F.2d at 1028.

          26.     It is thus well-established that “intentionally misleading silence” can serve as the

   basis for equitable estoppel, even absent an affirmative communication. See id. As one court


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   explained, “[a] patentee who, with knowledge of the alleged infringing activity, does nothing over

   a period of years other than mislead a purported infringer . . . to believe that there was and is no

   problem, lying in wait . . . has engaged in affirmatively misleading silence of the worst order.”

   Stryker Corp. v. Zimmer, Inc., 741 F. Supp. 509, 514-15 (D.N.J. 1990).

          27.     Most commonly, “the patentee specifically objects to the activities currently

   asserted as infringement in the suit and then does not follow up for years.” Aukerman, 960 F.2d

   at 1042. “[C]ourts have found intentionally misleading silence where ‘a patentee threatened

   immediate or vigorous enforcement of its patent right but then did nothing for an unreasonably

   long time.’” Symbol Techs., Inc. v. Aruba Networks, Inc., 609 F. Supp. 2d 353, 356 (D. Del. 2009)

   (quoting Hottel Corp. v. Seaman Corp., 833 F.2d 1570, 1574 (Fed. Cir. 1987)).

          2.      Reliance

          28.     A defendant can establish reliance by showing that it “failed to take affirmative

   actions to protect itself from a lawsuit seeking many millions of dollars in damages.” Wafer Shave,

   Inc. v. Gillette Co., 857 F. Supp. 112, 124 (D. Mass. 1993); see also Kewazinga Corp. v. Microsoft

   Corp., 558 F. Supp. 3d 90, 110 (S.D.N.Y. 2021) (applying equitable estoppel where the patentee’s

   inaction deprived the alleged infringer of any grounds to “maintain [its] armor against” a lawsuit).

   Affirmative steps might include seeking an early settlement to end litigation; altering business

   plans; exploring options to design-around the allegedly infringing aspects of a problem; or

   pursuing counter-claims or specific defenses. See, e.g., Radio Sys. Corp. v. Lalor, 2012 WL

   254026, at *9 (W.D. Wash. Jan. 26, 2012), aff’d in part, rev’d in part on other grounds and

   remanded, 709 F.3d 1124 (Fed. Cir. 2013); Wafer Shave, 857 F. Supp. at 124; Kane v. DeLong,

   2013 WL 1149801, at *5 (N.D. Cal. Mar. 19, 2013). In particular, a major corporate transaction

   during a period of misleading silence “unquestionably” establishes reliance. Radio Sys. Corp.,

   2012 254026, at *9.


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          29.     In proving reliance, Defendants need not show that patentee’s conduct was the only

   reason they took (or did not take) certain actions. Rather, it is enough that patentee’s conduct “[a]t

   the very least . . . reinforced” Defendants’ decision-making. Radio Sys. Corp., 2012 WL 254026,

   at *9 (rejecting patentee’s argument that equitable estoppel could not lie because it was

   “conceivable that [the alleged infringers] relied not on [the patentee’s] inaction, but on their own

   belief that [the patent] was invalid”); see also Wafer Shave, 857 F. Supp. at 123. In other words,

   Defendants “need not prove precisely what alternative paths [they] would have taken,” or show

   that “every . . . decision was based on reliance on [the patentee’s] silence.” Aspex Eyewear Inc. v.

   Clariti Eyewear, Inc., 605 F.3d 1305, 1312 (Fed. Cir. 2010) (affirming the district court’s grant of

   summary judgment on equitable estoppel).

          30.     A patentee’s course of dealings with other companies, such as filing other lawsuits,

   may reinforce a defendant’s inference that the patentee had “waived its patent rights” with respect

   to a defendant. Scholle Corp. v. Blackhawk Molding Co., Inc., 133 F.3d 1469, 1472 (Fed. Cir.

   1998); see also Trading Techs. Int’l, Inc. v. IBG LLC, 2020 WL 7398790, at *2 (N.D. Ill. Dec. 17,

   2020) (reasonable to infer that patent owner “did not intend to bring legal action against” potential

   infringer based on “a threat of litigation against many, action against some of the threatened

   parties, and then five years of silence”).

          3.      Prejudice

          31.     Prejudice for equitable estoppel may be economic, evidentiary, or both.

   Kewazinga, 558 F. Supp. 3d at 110; see also Wafer Shave, 857 F. Supp. at 125-26 (recognizing

   both “economic, or business, prejudice” and “litigation prejudice”).

          32.     “Economic prejudice may arise where a defendant and possibly others will suffer

   the loss of monetary investments or incur damages which likely would have been prevented by

   earlier suit.” Aukerman, 960 F.2d at 1033; see also Andover Healthcare, Inc. v. 3M Co., 2016 WL


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   6246360, at *2 (D. Del. Oct. 18, 2016) (same); Wafer Shave, 857 F. Supp. at 125 (defendant

   prejudiced where it “lost the opportunity to limit its present exposure to substantial litigation costs

   and damages”).

          33.     Economic prejudice also may be shown “by a change of economic position flowing

   from actions taken or not taken by the patentee.” Aspex Eyewear, 605 F.3d at 1312; see also

   Aukerman, 960 F.2d at 1033. For example, a defendant may show economic prejudice based on a

   “substantial new investment in allegedly infringing products during the delay.” Wafer Shave, 857

   F. Supp. at 125. The “development” of business built around accused products “represents a

   significant change in economic position and constitutes material prejudice sufficient to show

   equitable estoppel.” Aspex Eyewear, 605 F.3d at 1312; see also Wafer Shave, 857 F. Supp. at 125

   (recognizing prejudice where the defendant “made substantial investment” in products that

   incorporated the allegedly infringing technology). Likewise, where a defendant “during the period

   of silence” obtains an interest in another company, “a reasonable fact finder could find only that

   Plaintiffs suffered prejudice.” Radio Sys., 2012 WL 254026, at *9 (emphasis added).

          34.     Economic prejudice is shown where the defendant was “robbed . . . of the

   opportunity to structure [its] business plans as [it] might have had [it] known of the threat of

   litigation.” Radio Sys. Corp., 2012 WL 254026, at *9 (identifying this scenario as a “recognized

   example of prejudice”). In other words, a defendant “need not show a total loss of value in order

   to show material prejudice.” Aspex Eyewear, 605 F.3d at 1312. It is sufficient that, “[w]hether or

   not [Defendants] would have actually altered [their] business plans, [they were] clearly denied the

   opportunity to alter [their] business and investment strategies.” Wafer Shave, 857 F. Supp. at 125.

          35.     “Evidentiary, or ‘defense’ prejudice, may arise by reason of a defendant’s inability

   to present a full and fair defense on the merits due to the loss of records, the death of a witness, or




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   the unreliability of memories of long past events, thereby undermining the court’s ability to judge

   the facts.” Aukerman, 960 F.2d at 1033; see also Wafer Shave, 857 F. Supp. at 126 (recognizing

   that defendants may suffer “litigation prejudice in the form of lost evidence”).

                                            II.   DAMAGES

   A.      Costs, Prejudgment Interest, and Postjudgment Interest

           36.     “Unless a federal statute, these rules, or a court order provides otherwise, costs—

   other than attorney’s fees—should be allowed to the prevailing party.” Fed. R. Civ. P. 54(d)(1).

           37.     The prevailing party may recover the following costs: “(1) Fees of the clerk and

   marshal; (2) Fees for printed or electronically recorded transcripts necessarily obtained for use in

   the case; (3) Fees and disbursements for printing and witnesses; (4) fees for exemplification and

   the costs of making copies of any materials where the copies are necessarily obtained for use in

   the case; (5) dockets under section 1923 of this title; (6) compensation of court appointed experts,

   compensation of interpreters, and salaries, fees, expenses, and costs of special interpretation

   services under section 1828.” 28 U.S.C. § 1920; see also D. Del. L.R. 54.1 (providing further

   detail on items that may be cost and the procedure for submitting such costs).

           38.     Under 28 U.S.C. § 1961(a), “[i]nterest shall be allowed on any money judgment in

   a civil case recovered in a district court.”

           39.     “[T]he Supreme Court has held that ‘prejudgment interest shall ordinarily be

   awarded absent some justification for withholding such an award.’” Nickson Indus., Inc. v. Rol

   Mfg. Co., 847 F.3d 795, 800 (Fed. Cir. 1988) (quoting Gen. Motors Corp. v Devex Corp., 461 U.S.

   648, 657 (1983)). Prejudgment interest is not a penalty, but “serves to make the patent owner

   whole, for damages properly include the foregone use of money of which the patentee was wrongly

   deprived.” Sensonics, Inc. v. Aerosonic Corp., 81 F.3d 1566, 1574 (Fed. Cir. 1996). Thus, the



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   Supreme Court established ‘that prejudgment interest is the rule, not the exception.” Id. (quoting

   Gen. Motors Corp., 461 U.S. at 656-57). “Generally, prejudgment interest should be awarded

   from the date of infringement to the date of judgment.” Nickson Indus., 847 F.2d at 800.

             40.   “Postjudgment interest is awarded on monetary judgments recorded in all civil

   cases.”     Transmatic, inc. v. Gulton Indus., Inc., 180 F.3d 1343, 1347 (Fed. Cir. 1999).

   Postjudgment interest is governed by regional circuit law. Id. at 1348. In the Third Circuit,

   postjudgment interest begins to accrue on the date of the entry of judgment. Loughman v. Consol-

   Pa. Coal Co., 6 F.3d 88, 97 (3d Cir. 1993).

   B.        Exceptional Cases Including Attorneys’ Fees

             41.   “The court in exceptional cases may award reasonable attorney fees to the

   prevailing party.” 35 U.S.C. § 285. “[F]or a party to be a prevailing party, that party must win a

   dispute within the case in favor of it that materially alters the legal relationship between the parties

   at the time of the judgment.” Parallel Iron LLC v. NetApp Inc., 70 F. Supp. 3d 585, 589 (D. Del.

   2014) (Andrews, J.). “[A]n ‘exceptional’ case is simply one that stands out from others with

   respect to the substantive strength of a party’s litigating position (considering both the governing

   law and the facts of the case) or the unreasonable manner in which the case was litigated.” Octane

   Fitness, LLC v. ICON Health & Fitness, Inc., 572 U.S. 545, 554 (2014).

             42.   “District courts may determine whether a case is ‘exceptional’ in the case-by-case

   exercise of their discretion, considering the totality of the circumstances.” Id.

             43.   The prevailing party must prove entitlement to attorney fees under § 285 by a

   preponderance of the evidence. Id. at 1758; see also Chalumeau Power Sys. LLC v. Alcatel-Lucent,

   2014 WL 4675002, at *1 (D. Del. Sept. 12, 2014).




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                        EXHIBIT 8
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       EXHIBIT 8 - CAO LIGHTING BENCH TRIAL DEPOSITION DESIGNATIONS

   CAO Lighting reserves the right to eliminate any of the designated testimony based on the Court’s
   forthcoming rulings. In addition, CAO Lighting has designated testimony related to issues on
   which it does not bear the burden of proof. To the extent that Defendants designate the same or
   similar testimony as provided herein on those issues, CAO Lighting reserves the right to eliminate
   any of its designated testimony and provide counter-designations.


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       EXHIBIT 8 - CAO LIGHTING BENCH TRIAL DEPOSITION DESIGNATIONS


                           Deposition of Andrea Assarat –December 7, 2021

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                                                Designations     Designations     Designations
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          EXHIBIT 8 - CAO LIGHTING BENCH TRIAL DEPOSITION DESIGNATIONS


                             Deposition of Eric Baroyan –December 17, 2021

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   86:7 – 86:8          FRE 32                 86:23-24, 87:1-
                                               2
   87:12 – 87:13        FRE 32                 86:23-24, 87:1-
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   87:16 – 87:18        FRE 32                 86:23-24, 87:1-
                                               2
   87:20 – 87:22        FRE 32                 86:23-24, 87:1-
                                               2
   87:25 – 82:2         FRE 32                 86:23-24, 87:1-
                                               2
   88:4 – 88:5          FRE 32                 86:23-24, 87:1-
                                               2
   89:5 – 89:7          FRE 32
   89:9 – 89:10         FRE 32
   89:13 – 90:17        FRE 32
   90:20 – 90:21        FRE 32


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       EXHIBIT 8 - CAO LIGHTING BENCH TRIAL DEPOSITION DESIGNATIONS


                          Deposition of Gerald Duffy –November 17, 2021

   CAO’s Designations       Defendants’         Defendants’ CAO’s Objections to     CAO’s
                            Objections           Counter-    Defendants’ Counter-  Counter-
                                                Designations     Designations     Designations
   7:5 – 7:12
   7:14 – 7:17
   8:5 (“And at some                           8:9, 8:13-17   32(a)(6)
   point . . .”) – 8:8
   8:18 – 8:22
   9:4 – 9:23
   199:6 – 199:25
   201:12 – 201:17
   202:9 – 202:13
   206:8 – 206:12                              206:13-15,    IR, PREJ, 32(a)(6)
                                               206:17-207:10
   223:10 (“When GE . .
   .”) – 223:21
   224:3 – 224:5        401/402, 403, Vague
   224:7 – 225:10       401/402, 403
   225:15 – 225:18      401/402, 403
   225:20 – 226:4       401/402, 403
   229:6 – 230:17
   230:22 – 232:7
   232:22 – 233:9
   233:11
   233:17 – 233:21
   234:11 – 234:19
   243:15 – 244:1
   244:3 – 244:16
   244:18 – 244:21
   244:23 – 245:1
                                               10:19-22       IR, PREJ, 32(a)(6)
                                               58:22-59:13    IR, PREJ, 32(a)(6)

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   CAO Lighting’s Designations – Bench Trial                                         Duffy
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       EXHIBIT 8 - CAO LIGHTING BENCH TRIAL DEPOSITION DESIGNATIONS


                                  Deposition of John Gadd – May 30, 2019
                                        CAO Lighting v. Tadd, LLC

   CAO’s Designations           Defendants’     Defendants’     CAO’s Objections to    CAO’s
                                Objections       Counter-       Defendants’ Counter-  Counter-
                                                Designations        Designations     Designations
   4:17 (“Can you . . .”)
   – 4:19
   10:14 – 10:16
   10:18 – 10:20
   10:22 – 11:18
   11:20 – 11:23
   11:24 (“And in . . .”)
   – 12:3
   12:5
   38:8 – 38:11
   41:20 (“Do you . . .”)
   – 42:1
   52:24 – 53:13                               49:13-49:17,    IR, PREJ, 32(a)(6)
                                               50:7-50:11,
                                               50:18-50:25,
                                               85:20-86:5
   53:16 (“Statement of 106 (53:14-16)         53:14-16
   . . .”) – 53:24
   54:6 (“Does it appear
   . . .”) – 54:7
   54:10 – 54:24
   55:19 – 55:22          106 (54:25-55:14)    54:25-55:14     IR, PREJ, 32(a)(6)
   55:24 – 56:22          106 (54:25-55:14)    54:25-55:14     IR, PREJ, 32(a)(6)
   61:3 – 61:11
   62:15 – 62:21
   64:17 – 64:20
   66:13 (“What’s the . .                      66:17-19
   .”) – 66:16
   67:3 (“If you flip . . Vague, Counsel       67:19-68:5,     IR, PREJ, LF, LPK,    70:7-8
   .”) – 67:10                                 69:2-69:9,      32(a)(6)              70:11-13
                                               69:11-69:19,
                                               69:21-69:23,
                                               69:25-70:6
   68:11 – 68:14            Vague, 104/602     67:19-68:5,     IR, PREJ, LF, LPK,    70:7-8
                                               69:2-69:9,      32(a)(6)              70:11-13
                                               69:11-69:19,
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   CAO Lighting’s Designations – Bench Trial                                            Gadd
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   68:17 – 68:21            No objection to      67:19-68:5,    IR, PREJ, LF, LPK,   70:7-8
                            68:17-18             69:2-69:9,     32(a)(6)             70:11-13
                                                 69:11-69:19,
                            Objections to 68:19- 69:21-69:23,
                            68:21: 104/602,      69:25-70:6
                            Asked
   68:23 – 69:1             104/602, Asked, 403 67:19-68:5,     IR, PREJ, LF, LPK,   70:7-8
                                                 69:2-69:9,     32(a)(6)             70:11-13
                                                 69:11-69:19,
                                                 69:21-69:23,
                                                 69:25-70:6
   70:15 (“The author . .
   .”) – 71:12
   78:10 – 78:12
   78:15 – 78:19                                 79:5-79:12     IR, PREJ, 32(a)(6)   78:24-79:5
                                                 (“You said you
                                                 . . .”)
   78:22 – 78:23                                 79:5-79:12
                                                 (“You said you
                                                 . . .”)
   80:9 – 81:19                                  81:20-82:1
   82:2 – 83:6              Counsel, Mis, Vague, 83:7-83:24
                            401/402
   83:25 – 85:2                                  85:7-85:14
   85:20 – 86:5


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   CAO Lighting’s Designations – Bench Trial                                            Gadd
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       EXHIBIT 8 - CAO LIGHTING BENCH TRIAL DEPOSITION DESIGNATIONS


                             Deposition of Ming Li – December 21, 2021

   CAO’s Designations       Defendants’         Defendants’ CAO’s Objections to      CAO’s
                            Objections            Counter-    Defendants’ Counter-  Counter-
                                                Designations       Designations    Designations
   11:1 – 11:13                                13:12-14:7    IR, PREJ, 32(a)(6)
   12:6 – 12:9                                 13:12-14:7    IR, PREJ, 32(a)(6)
   138:17 – 138:19      30(b)(6), 104/602,
                        Vague
   138: 22              30(b)(6), 104/602,
                        Vague




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   CAO Lighting’s Designations – Bench Trial                                             Li
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       EXHIBIT 8 - CAO LIGHTING BENCH TRIAL DEPOSITION DESIGNATIONS



                            Deposition of Gino Marella – January 6, 2022

   CAO’s Designations       Defendants’        Defendants’    CAO’s Objections to    CAO’s
                            Objections          Counter-      Defendants’ Counter-  Counter-
                                               Designations       Designations     Designations
   7:20 – 7:21
   8:13 – 8:15
   8:24 – 9:7
   15:1 –16:11
   22:4 – 22:21         22:215-17- 30(b)(6)
                        22:19, 23-24, Vague,
                        Comp, 30(b)(6)
   22:23 – 23:10        401/402/403
                        30(b)(6)
   27:1 – 27:15         27:13-15, 17, Comp,
                        Vague
   27:17
   188:11 – 188:17
   295:23 – 296:15      296:3-19
                        401/402/403
   296:18 – 296:19      296:3-19
                        401/402/403
   297:19 – 297:23      30(b)(6)
                        401/402/403
                        104/602
   298:2 – 298:5        30(b)(6)
                        401/402/403
                        104/602
   298:8 – 298:11       30(b)(6)
                        401/402/403
                        104/602
   298:14 – 298:18      30(b)(6)
                        401/402/403
                        104/602
   298:21 – 299:1       30(b)(6)
                        401/402/403
                        104/602
   299:9 – 299:14       30(b)(6)
                        401/402/403
                        104/602
   299:17 – 299:18      30(b)(6)
                        401/402/403
                        104/602


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   CAO Lighting’s Designations – Bench Trial                                        Marella
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   CAO Lighting’s Designations – Bench Trial                             Marella
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          EXHIBIT 8 - CAO LIGHTING BENCH TRIAL DEPOSITION DESIGNATIONS


                         Deposition of Daniel McCarthy – February 3, 2022

   CAO’s Designations       Defendants’         Defendants’ CAO’s Objections to           CAO’s
                            Objections           Counter-    Defendants’ Counter-        Counter-
                                                Designations     Designations           Designations
   9:7 – 9:10
   28:5 – 28:13
   30:12 – 30:17
   47:5 – 47:8                                 46:2-46:7,     IR, PREJ, LF, LPK,       61:8-10
                                               46:9-46:25,    Non-responsive,          61:12-62:3
                                               47:2-47:3,     Hypothetical, 32(a)(6)   62:5-13
                                               47:9-47:14,
                                               47:16-47:25,
                                               48:4-48:16,
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                                               50:12-50:20
   48:17 – 48:25                               46:2-46:7,     IR, PREJ, LF, LPK,       61:8-10
                                               46:9-46:25,    Non-responsive,          61:12-62:3
                                               47:2-47:3,     Hypothetical, 32(a)(6)   62:5-13
                                               47:9-47:14,
                                               47:16-47:25,
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                                               49:4-24,
                                               50:12-50:20,
                                               58:14-58:17,
                                               58:19-58:25,
                                               59:2,
                                               59:13-59:20
   49:2                                        46:2-46:7,     IR, PREJ, LF, LPK,       61:8-10
                                               46:9-46:25,    Non-responsive,          61:12-62:3
                                               47:2-47:3,     Hypothetical, 32(a)(6)   62:5-13
                                               47:9-47:14,
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   49:25                                       46:2-46:7,     IR, PREJ, LF, LPK,       61:8-10
                                               46:9-46:25,    Non-responsive,          61:12-62:3
                                               47:2-47:3,     Hypothetical, 32(a)(6)   62:5-13
                                               47:9-47:14,
                                               47:16-47:25,
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                                               58:14-58:17,
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                                               59:2,
                                               59:13-59:20
   50:2 – 50:20        106                     46:2-46:7,     IR, PREJ, LF, LPK,       61:8-10
                                               46:9-46:25,    Non-responsive,          61:12-62:3
                                               47:2-47:3,     Hypothetical, 32(a)(6)   62:5-13
                                               47:9-47:14,
                                               47:16-47:25,
                                               48:4-48:16,
                                               49:4-24,
                                               50:12-50:20,
                                               58:14-58:17,
                                               58:19-58:25,
                                               59:2,
                                               59:13-59:20
   154:15 – 154:25                             154:2-11,      IR, PREJ, 32(a)(6)
                                               155:4-12,
                                               169:11-169:25,
                                               170:2-170:25,
                                               171:3-171:25,
                                               172:2-172:11
   155:2 – 155:3                               154:2-11,      IR, PREJ, LF, LEAD,
                                               155:4-12,      32(a)(6)
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   170:20 – 170:25                             169:11-169:25, IR, PREJ, LF, LEAD,
                                               170:2-170:25, 32(a)(6)
                                               171:3-171:25,
                                               172:2-172:11
   171:3 – 171:7                               169:11-169:25, IR, PREJ, LF, LEAD,
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                                               171:3-171:25,
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   176:9 – 176:16                              173:17-173:25, IR, PREJ, 32(a)(6)
                                               174:2-25,
                                               175:2-175:13,
                                               175:21-175:25,
                                               176:2-176:8,
                                               177:2-177:14,
                                               178:11-178:25,
                                               179:2-179:13
   176:19 – 176:25                             173:17-173:25, IR, PREJ, 32(a)(6)
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                                               175:2-175:13,
                                               175:21-175:25,
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                                               177:2-177:14,
                                               178:11-178:25,
                                               179:2-179:13
   177:15 – 177:25                             166:8-166:14, IR, PREJ, 32(a)(6)
                                               166:18-166:25,
                                               167:2-167:9,
                                               173:17-173:25,
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   178:2                                       166:8-166:14, IR, PREJ, 32(a)(6)
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                                               176:2-176:8,
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                                               178:11-178:25,
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   CAO Lighting’s Designations – Bench Trial                                       McCarthy
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   178:4 – 178:10                              166:8-166:14, IR, PREJ, 32(a)(6)
                                               166:18-166:25,
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                                               173:17-173:25,
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                                               175:2-175:13,
                                               175:21-175:25,
                                               176:2-176:8,
                                               177:2-177:14,
                                               178:11-178:25,
                                               179:2-179:13
   179:20 – 179:25                             166:8-166:14, IR, PREJ, LF, LPK,
                                               166:18-166:25, Non-responsive, 32(a)(6)
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                                               175:21-175:25,
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                                               177:2-177:14,
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                                               179:2-179:13,
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   182:13 – 182:22                             166:8-166:14, IR, PREJ, 32(a)(6)
                                               166:18-166:25,
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   183:3 – 183:11                              166:8-166:14, IR, PREJ, 32(a)(6)
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   190:11 – 190:25
   191:2 – 191:7                               180:2-180:25, IR, PREJ, LF, LPK,
                                               181:2-181:12 Non-responsive, 32(a)(6)
   191:9 – 191:25                              180:2-180:25, IR, PREJ, LF, LPK,
                                               181:2-181:12 Non-responsive, 32(a)(6)
   192:4 – 192:23                              192:24-192:25, IR, PREJ, WF, IOP,
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   197:5 – 197:7                               180:2-180:25, IR, PREJ, LF, LPK,
                                               181:2-181:12, Non-responsive, 32(a)(6)
                                               197:7-197:9,
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   197:16 – 197:17                             180:2-180:25, IR, PREJ, LF, LPK,
                                               181:2-181:12, Non-responsive, 32(a)(6)
                                               197:7-197:9,
                                               197:11-197:15,
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                                               197:25,
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   211:13 – 211:22                             210:5-210:25, IC, IR, PREJ             209:25-210:4
                                               211:9-211:22,
                                               211:25,
                                               212:2-212:11
   211:25                                      210:5-210:25, IC, IR, PREJ             209:25-210:4
                                               211:9-211:22,
                                               211:25,
                                               212:2-212:11
   212:2                                       210:5-210:25, IC, IR, PREJ             209:25-210:4
                                               211:9-211:22,
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   212:12 – 212:24                             218:13-218:25, IR, PREJ, WF, 32(a)(6)
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   213:2 – 213:3                               218:13-218:25, IR, PREJ, WF, 32(a)(6)
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   215:21 – 215:25                             218:13-218:25, IR, PREJ, WF, 32(a)(6)
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   216:2 – 216:3                               218:13-218:25, IR, PREJ, WF, 32(a)(6)
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   216:10 – 216:22                             218:13-218:25, IR, PREJ, WF, 32(a)(6)
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   249:2 – 249:25                              218:13-218:25, IR, PREJ, WF, 32(a)(6)
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   251:15 – 251:20                             218:13-218:25, IR, PREJ, WF, 32(a)(6)
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   251:22 – 251:25                             218:13-218:25, IR, PREJ, WF, 32(a)(6)
                                               219:2-219:25,
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                                               250:18-250:25,
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   252:2 – 252:15                              218:13-218:25, IR, PREJ, WF, 32(a)(6)
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   215:19 – 252:24                             218:13-218:25, IR, PREJ, WF, 32(a)(6)
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                                               250:6-250:11,
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                                               250:18-250:25,
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   253:2 – 253:13                              218:13-218:25, IR, PREJ, WF, 32(a)(6)
                                               219:2-219:25,
                                               220:2-220:3,
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   253:15 – 253:25                             218:13-218:25, IR, PREJ, WF, 32(a)(6)
                                               219:2-219:25,
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   254:2 – 254:3                               218:13-218:25, IR, PREJ, WF, 32(a)(6)
                                               219:2-219:25,
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                                               250:6-250:11,
                                               250:13-250:16,
                                               250:18-250:25,
                                               251:2-251:12
   254:6 – 254:15                              218:13-218:25, IR, PREJ, WF, 32(a)(6)
                                               219:2-219:25,
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   254:18 – 254:25                             218:13-218:25, IR, PREJ, WF, 32(a)(6)
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                             Deposition of Clay McKissack –November 19, 2021

   CAO’s Designations          Defendants’      Defendants’     CAO’s Objections to    CAO’s
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                          Deposition of Shaun Montana – January 12, 2022

   CAO’s Designations       Defendants’        Defendants’    CAO’s Objections to    CAO’s
                            Objections          Counter-      Defendants’ Counter-  Counter-
                                               Designations       Designations     Designations
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                            Deposition of Robert Phenix – January 11, 2022

   CAO’s Designations        Defendants’        Defendants’     CAO’s Objections to    CAO’s
                             Objections           Counter-      Defendants’ Counter-  Counter-
                                                Designations        Designations     Designations
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                          Counsel (32:9-11);
                          Vague (32:13-15)

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                            Deposition of Jose Silva – December 22, 2021

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   22:10 – 22:12        30(b)(6), Vague     19:23-20:2
   22:15                Counsel (22:16-17),
                        30(b)(6), 104/602
   25:1 – 25:11         Counsel, 30(b)(6)
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   43:8 – 44:10        Counsel, Asked,         43:4-7         IR, PREJ, 32(a)(6)
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   44:14 – 45:12       Counsel (45:11-12)      199:7-200:4,   IR, PREJ, 32(a)(6)
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   Defendants OSRAM and LEDVANCE designate the following testimony. As indicated in ¶ 41
   of the Joint Proposed Pretrial Order, Defendants propose that the parties submit testimony by
   deposition designation to the Court directly with the post-trial briefing and that such testimony
   will not be read or played in Court during the trial. To the extent that the Court decides to hear
   any such testimony during the bench trial, Defendants OSRAM and LEDVANCE designate the
   following testimony without waiver of their right to object pursuant to Fed. R. Evid. 401, 402,
   and 403 to the playing of any testimony during the bench trial. Defendants OSRAM and
   LEDVANCE further reserve the right to eliminate any of the designated testimony based on any
   future decisions by the Court, agreement of the parties, or procedures pursuant to the parties’
   Joint Pretrial Order or local or federal rules.


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                               Deposition of John Gadd - May 30, 2019

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     LEDVANCE’s                               Designations     LEDVANCE’s LEDVANCE’s
      Designations                                             Objections to  Counter-
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                     PREJ
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    83:7 - 83:13     IR; PREJ
    83:18 - 83:25    LF; IR; PREJ; LPK
    84:2 - 84:25
    85:2 - 85:3      IR; PREJ
    85:10 - 85:12    LF; IR; PREJ; LPK
    85:16 - 85:25    LF; IR; PREJ; LPK
    86:2 - 86:3      LF; IR; PREJ; LPK
    86:5 - 86:8      LF; IR; PREJ; LPK


   EXHIBIT 7 – OSI-LEDVANCE’s Designations                                      McCarthy

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    87:5 - 87:8      LF; IR; PREJ
    87:10 - 87:25    LF; IR; PREJ; LPK;
                     LEAD
    88:2 - 88:2      IR; PREJ
    88:4 - 88:20     IR; PREJ; Non-
                     responsive
    88:25 - 88:25    IR; PREJ
    89:2 - 89:12     IR; PREJ
    89:18 - 89:25    IR; PREJ
    90:2 - 90:21     IR; PREJ; LEAD
    90:23 - 90:25    Includes improper
                     lawyer statement
    91:2 - 91:5
    91:7 - 91:8      LF; IR; PREJ
    91:10 - 91:25    IR; PREJ
    92:3 - 92:23     IR; PREJ; Non-
                     responsive
    93:3 - 93:18     IR; PREJ
    93:20 - 93:25    LEAD; IR: PREJ
    94:2 - 94:8      IR; PREJ
    94:10 - 94:17    Includes incomplete
                     question
    94:19 - 94:25
    95:2 - 95:2
    95:9 - 95:16
    96:5 - 96:25     96:5 – 96:13
                     IR; PREJ

                     96:14 – 96:25
                     IR; PREJ; Non-
                     responsive
    97:2 - 97:4      IR; PREJ; Non-
                     responsive
    97:6 - 97:15     LF; IR; PREJ; LPK
    97:17 - 97:25    LF; IR; PREJ; LPK
    98:2 - 98:3      LF; IR; PREJ; LPK
    98:18 - 98:25    LF; IR; PREJ; LPK
    99:2 - 99:3      LF; IR; PREJ; LPK
    99:11 - 99:13    LF; IR: PREJ; LPK




   EXHIBIT 7 – OSI-LEDVANCE’s Designations                              McCarthy

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    99:15 - 99:25     99:15 – 99:21
                      LF; IR; PREJ; LPK;
                      LEAD

                      99:21 – 99:25
                      IR; PREJ
    100:2 - 100:20    LF; IR; PREJ; LPK
    100:22 - 100:25   IR; PREJ; WF
    101:2 - 101:3
    101:9 - 101:14    IR; PREJ; WF
    101:16 - 101:25   IR; PREJ; WF
    102:12 - 102:14   IR; PREJ; WF
    102:16 - 102:19   IR; PREJ; WF
    103:5 - 103:11    IR; PREJ; WF
    104:21 - 104:25   IR; PREJ; WF
    105:2 - 105:2     IR; PREJ; WF
    105:13 - 105:17   IR; PREJ; WF
    105:20 - 105:20   LF; IR; PREJ; WF
    106:10 - 106:13   IR; PREJ; WF
    107:9 - 107:13    IR; PREJ; WF
    107:15 - 107:22   IR; PREJ; WF
    107:24 - 107:25   IR; PREJ; WF
    108:10 - 108:11   IR; PREJ; WF
    108:13 - 108:25   IR; PREJ; WF
    109:3 - 109:7     IR; PREJ; WF; HS
    109:15 - 109:21   109:15 – 109:16
                      IR; PREJ; WF
    109:23 - 109:25
    110:2 - 110:7
    110:10 - 110:11
    112:18 - 112:23
    113:25 - 113:25   IR; PREJ; LEAD
    114:2 - 114:7     IR; PREJ; LEAD

    114:9 - 114:25    114:9 – 114:16
                      Non-responsive; IR;
                      PREJ; LPK

                      114:17 – 114:25
                      IR; PREJ
    118:2 - 118:9     Improper lawyer
                      statement; IR; PREJ;
                      WF; HS



   EXHIBIT 7 – OSI-LEDVANCE’s Designations                              McCarthy

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    118:11 - 118:22   Improper lawyer
                      statement
    118:24 - 118:25   IR; PREJ; WF
    119:2 - 119:2
    119:3 - 119:9     IR; PREJ; WF
    119:11 - 119:25   119:11 – 119:15
                      Improper lawyer
                      staement; IR; PREJ; WF
                      119:16 – 119:25
                      IR; PREJ; WF
    120:5 - 120:7     IR; PREJ; WF
    120:20 - 120:24   IR; PREJ; WF
    121:2 - 121:23    IR; PREJ; WF
    121:25 - 121:25   IR; PREJ; WF            124:14 – 124:23   401/402, 403   124:9-13
    122:2 - 122:3                             126:15 – 126:25   401/402, 403   124:9-13
    122:14 - 122:20   IR; PREJ; WF                              401/402, 403   124:9-13
    123:10 - 123:21   IR: PREJ; WF                              401/402, 403   124:9-13
    123:23 - 123:24   IR: PREJ; WF                              401/402, 403   124:9-13
    124:6 - 124:8     IR; PREJ; WF                              401/402, 403   124:9-13
    124:24 - 124:25   LF; IR; PREJ; LPK;                        401/402, 403   124:9-13
                      WF; LEAD
    125:2 - 125:2     LF; IR; PREJ; LPK;                        401/402, 403   124:9-13
                      WF; LEAD
    125:5 - 125:8     Non-responsive; LF; IR;                   401/402, 403   124:9-13
                      PREJ; LPK; WF
    125:11 - 125:13   Improper lawyer                           401/402, 403   124:9-13
                      statement
    125:23 - 125:25   Non-responsive; IR;                       401/402, 403   124:9-13
                      PREJ; WF
    126:2 - 126:14    126:2 – 126:4                             401/402, 403   124:9-13
                      Non-responsive; IR;
                      PREJ; WF

                      126:5 – 126:10
                      LF; IR; PREJ; LPK; WF
    127:3 - 127:22    127:3 – 127:14                            401/402, 403   124:9-13
                      LF; IR; PREJ; LPK; WF

                      127:15 – 127:22
                      LF; IR; PREJ; LPK;
                      WF; HS
    127:24 - 127:25   IR; PREJ; LPK; WF
    128:2 - 128:5     IR; PREJ; LPK; WF
    128:7 - 128:14    IR; PREJ; LPK; WF
    128:19 - 128:22   LF; IR; PREJ; LPK; WF

   EXHIBIT 7 – OSI-LEDVANCE’s Designations                                       McCarthy

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    130:2 - 130:18    LF; IR; PREJ; LPK; WF
    131:2 - 131:3     IR; PREJ; LPK; WF
    133:3 - 133:25    IR; PREJ; LPK; WF; HS
    134:2 - 134:21    LF; IR; PREJ; LPK; WF
    135:8 - 135:11    LF; IR; PREJ; WF
    135:21 - 135:25   LF; IR; PREJ; WF;
                      LEAD
    136:2 - 136:5     LF; IR; PREJ; WF
    137:9 - 137:15    LF; IR; PREJ; WF;
                      LEAD
    138:6 - 138:9     IC, LF
    138:16 - 138:25   IC, LF
    139:2 - 139:9     IC, LF
    139:22 - 139:25   IC, LF, LPK
    140:2 - 140:6
    140:10 - 140:20
    141:3 - 141:5
    141:7 - 141:14
    141:16 - 141:19
    141:21 - 141:25   IC, LF, LPK
    142:2 - 142:8     IC, LF, LPK
    143:12 - 143:23   IC, LF, LPK
    143:25 - 143:25   IC, LF, LPK
    144:2 - 144:4     IC, LF, LPK
    144:9 - 144:18    IC, LF, LPK
    145:6 - 145:7
    145:11 - 145:13
    145:15 - 145:20
    145:22 - 145:25
    146:2 - 146:25    146:14 – 146:25
                      IR; WF
    147:2 - 147:23    IR; WF
    147:25 - 147:25   IR; WF
    148:2 - 148:19
    148:24 - 148:25
    149:2 - 149:2     IR; WF
    149:4 - 149:16
    149:22 - 149:25
    150:2 - 150:25    150:2 – 150:24
                      IR; WF
    151:2 - 151:16
    151:18 - 151:25
    152:2 - 152:6


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    152:8 - 152:25
    153:2 - 153:25
    154:2 - 154:11
    154:15 - 154:25
    155:2 - 155:12
    155:14 - 155:25
    156:2 - 156:2
    156:4 - 156:14
    156:18 - 156:20
    156:22 - 156:25
    157:2 - 157:14
    157:16 - 157:25
    158:2 - 158:2
    158:6 - 158:11    158:8 (“And, I’m sorry .
                      . . ) – 158:11
                      IR; WF
    159:2 - 159:25
    160:2 - 160:25
    161:2 - 161:9
    161:11 - 161:19
    161:23 - 161:25
    162:2 - 162:22
    162:24 - 162:25   LF; LPK; IR; PREJ
    163:2 - 163:3
    163:6 - 163:10
    164:14 - 164:21
    164:23 - 164:25
    165:2 - 165:5
    166:6 - 166:14
    166:18 - 166:21
    166:23 - 166:25
    167:2 - 167:9
    167:13 - 167:20
    168:10 - 168:11
    168:13 - 168:21
    169:11 - 169:25
    170:2 - 170:25    170:19 – 170:25
                      LF; LEAD
    171:2 - 171:18
    171:21 - 171:25
    172:2 - 172:25    172:24 – 172:25
                      LF; IR; PREJ; LEAD
    173:2 - 173:4     LF; IR; PREJ; LEAD


   EXHIBIT 7 – OSI-LEDVANCE’s Designations                              McCarthy

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    173:7 - 173:25
    174:2 - 174:25
    175:2 - 175:13
    175:21 - 175:25
    176:2 - 176:16
    176:20 - 176:25
    177:2 - 177:25
    178:2 - 178:2
    178:4 - 178:25
    179:2 - 179:5
    179:7 - 179:25
    180:2 - 180:14
    180:16 - 180:25
    181:2 - 181:12    181:5 – 181:12
                      LF; IR; PREJ; LPK;
                      Non-responsive
    181:17 - 181:25   IR; PREJ; LPK
    182:2 - 182:2
    182:13 - 182:22   182:16 – 182:22
    182:24 - 182:25   LF; Compound
    183:2 - 183:14
    183:16 - 183:23   183:20 – 183:23
                      LF; IR; PREJ; LEAD
    184:4 - 184:19    IR; PREJ; WF
    184:22 - 184:22   Statement by lawyer
    185:4 - 185:25    IR; PREJ; WF
    186:2 - 186:23
    187:3 - 187:25    187:4 – 187:25
                      IR; PREJ; WF
    188:2 - 188:11    IR; PREJ WF
    188:18 - 188:25   188:18 – 188:24
                      IR; PREJ; WF
    189:2 - 189:10
    189:12 - 189:19
    190:7 - 190:25
    191:2 - 191:7
    191:9 - 191:25
    192:4 - 192:25
    193:2 - 193:13    193:7 – 193:13         194:17 – 21 (“…to
                      IR; PREJ; WF; IOP      them.”)
    195:15 - 195:24   IR; PREJ; WF; IOP
    197:5 - 197:11
    197:14 - 197:21
    197:25 - 197:25

   EXHIBIT 7 – OSI-LEDVANCE’s Designations                              McCarthy

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    198:2 - 198:6
    198:15 - 198:18   IR; PREJ; WF; IOP
    199:5 - 199:25    199:5 – 22; 200:20 – 22
    200:2 - 200:22    Lawyer colloquy
    203:25 - 203:25   203:25 – 204:16
    204:2 - 204:25    IR; PRE; WF
    206:18 - 206:25
    207:2 - 207:25    207:22 – 207:25
                      LF; LPK
    208:4 - 208:14    208:4 – 208:6
                      LF; LPK
    208:16 - 208:25
    209:2 - 209:7                               209:8 – 209:12
    209:13 - 209:23
    209:25 - 209:25
    210:2 - 210:3
    210:5 - 210:25
    211:9 - 211:11
    211:13 - 211:22
    211:25 - 211:25
    212:2 - 212:24
    213:2 - 213:3
    213:23 - 213:25
    214:2 - 214:7
    214:15 - 214:20                             215:10 – 215:20
    215:21 - 215:25
    216:2 - 216:4
    216:6 - 216:12
    216:14 - 216:22
    218:14 - 218:21   IR; WF
    218:23 - 218:25   IR; WF
    219:2 - 219:25    IR; WF
    220:2 – 220:3
    230:16 - 230:25   IR; WF
    231:3 - 231:14    IR; WF
    232:17 - 232:22   IR; WF
    235:2 - 235:16    IR; WF
    235:19 - 235:25   IR; WF
    236:2 - 236:8     IR; PREJ; WF
    237:18 - 237:25   IR; PREJ; WF              238:11 – 238:22
    238:2 - 238:9
    238:24 - 238:25   IR; PREJ; WF
    239:2 - 239:9     IR; PREJ; WF


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    239:18 - 239:25   IR; PREJ; WF
    240:1 - 240:3     IR; PREJ WF
    243:15 - 243:25   IR, PREJ, WE, LF, LPK
    244:2 - 244:11    IR, PREJ, WE, LF, LPK
    244:19 - 244:19                           244:23 – 244:24   Scope, 701/702
                                              245:2 – 245:6
                                              245:9 – 245:14
    249:2 - 249:25
    250:2 - 250:11
    250:13 - 250:16
    250:18 - 250:25
    251:2 - 251:20
    251:22 - 251:25
    252:2 - 252:7                             252:8 – 252:15
    252:19 - 252:24
    253:2 - 253:13
    253:15 - 253:25
    254:2 - 254:3
    254:6 - 254:15
    254:18 - 254:25
    255:2 - 255:10
    255:12 - 255:17
    255:19 - 255:25
    256:2 - 256:8
    256:10 - 256:25
    257:2 - 257:2
    257:4 - 257:5




   EXHIBIT 7 – OSI-LEDVANCE’s Designations                                       McCarthy

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                       EXHIBIT 10
                     Case 1:20-cv-00690-GBW Document 404-1 Filed 06/14/23 Page 123 of 162 PageID #: 37837


       AO 187A (Rev. 7/87) Exhibit and Witness List
                                                      UNITED STATES DISTRICT COURT
                                                DISTRICT              OF             DELAWARE
CAO LIGHTING, INC.
v.                        PLAINTIFF'S BENCH TRIAL EXHIBIT LIST WITH DEFENDANTS' OBJECTIONS
GENERAL ELECTRIC CO., ET AL                                              Case Number: C.A. 1:20-cv-00681-GBW
OSRAM SYLVANIA, INC., ET AL.                                             Case Number: C.A. 1:20-cv-00690-GBW
PRESIDING JUDGE                PLAINTIFF'S ATTORNEY                      DEFENDANTS' ATTORNEY
Hon. Gregory B. Williams
TRIAL DATE(S):                 COURT REPORTER                            COURTROOM DEPUTY




PTX      IDENTIFIER                     DESCRIPTION OF EXHIBITS                                DEFENDANTS' OBJECTIONS
No.
6000     CAO000030-153                  U.S. Patent No. 6,465,961 File History

6001     CAO025498-25526                MA-tek Analysis Report [Case No. B211222052Q] re:      401, 402, 403
                                        Sample No. (76) #SYL-D34

6002     CAO_DE_003397–3446             Third Party Comments After Patent Owner Response for   401, 402, 403, Dup, 106
                                        Patent No. 6,465,961 dated April 1, 2014

6003     LEDVANCE-CAO-00115867- Schedule 8.1 to Local Asset Transfer Agreement between         401, 402, 403, Dup, 106
         115868                 OSRAM and LEDVANCE - Litigation/Arbitration


6004     LEDVANCE-CAO-00197153- U.S. Patent No. 6,719,446 File History
         197366

6005     LEDVANCE-CAO-00197240- Office Action for Application No. 09/938,777 mailed to D. 401, 402, 403, Dup, 106
         197258                 McCarthy dated August 29, 2002

6006     LEDVANCE-CAO-00197259- Statement of Co-Pending Cases regarding Application No. 401, 402, 403, Dup, 106
         197260                 09/938,777 dated February 19, 2003

6007     LEDVANCE-CAO-00197261- Response to Office Action for Application No. 09/938,777 401, 402, 403, Dup, 106
         197275                 dated February 28, 2003



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6008   LEDVANCE-CAO-00197367- U.S. Patent No. 6,634,771 File History
       197514

6009   LEDVANCE-CAO-00197426- Office Action for Application No. 09/939,488 mailed to D. 403, Dup, 106
       197437                 McCarthy dated August 28, 2002

6010   LEDVANCE-CAO-00197444- Statement of Co-Pending Cases regarding Application No. 403, Dup, 106
       197446                 09/939,488 dated February 19, 2003

6011   LEDVANCE-CAO-00197447- Response to Office Action for Application No. 09/939,488 403, Dup, 106
       197472                 dated February 28, 2003

6012                               Press release titled “LED 101” issued by GE Current on       401, 403, 801/802, 901, 26
                                   December 11, 2017

6013                               Press release titled “LEDVANCE Continues Its                 401, 402, 403, 901, 801/802, 26, 104/602
                                   Transformation” issued by LEDVANCE on November
                                   13, 2017

6014                               Civil Docket for Case No. 2:11-cv-00426-DB, Cao Group, 403, 106
                                   Inc. v. GE Lighting, Inc., et al. , United States
                                   District Court for the District of Utah, Central Division
6015                               Objections to Plaintiff’s 30(b)(6) Notice of Deposition of 401, 402, 403, 801/802
                                   Defendant General Electric Company dated October 11,
                                   2021

6016                               Objections to Plaintiff’s 30(b)(6) Notice of Deposition of   401, 402, 403, 801/802
                                   Defendant Consumer Lighting (U.S.), LLC d/b/a GE
                                   Lighting dated October 11, 2021

6017                               Correspondence sent between counsel, including an email      401, 402, 403, 801/802
                                   from Cat Garza to Todd Vare and others dated
                                   October 28, 2021, and multiple emails between Cat Garza
                                   and Todd Vare dated October 29, 2021

6018                               Defendant Current Lighting Solutions Objections to           401, 402, 403, 801/803
                                   Plaintiff’s Rule 30(b)(6) Deposition to Current Lighting
                                   Solutions dated November 8, 2021




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6019                           Defendant LEDVANCE, LLC's Objections and Responses 401, 402, 403, 801/802
                               to Plaintiff's Notice of Deposition Pursuant to Fed. R. Civ.
                               P. 30(b)(6) dated November 10, 2021

6020                           Defendant OSRAM SYLVANIA, Inc.'s, Objections and            401, 402, 403, 801/802
                               Responses to Plaintiff's Notice of Deposition Pursuant to
                               Fed. R. Civ. P. 30(b)(6) dated November 19, 2021

6021                           LEDVANCE LLC’s Rule 26(a)(1) Supplemental Initial           401, 402, 403, 801/802
                               Disclosures dated December 30, 2021

6022                           LEDVANCE LLC’s Supplemental Objections and                  401, 402, 403, 801/802
                               Responses to Plaintiff’s Common Interrogatories (Nos. 2,
                               4, 7, 8, 11, 12, 13) dated January 14, 2022

6023                           Current Lighting Solutions, LLC’s Supplemental Initial      401, 402, 403, 801/801
                               Disclosures Pursuant to Fed. R. Civ. P. 26(a)(1) dated
                               January 11, 2022

6024                           Defendants General Electric Company and Consumer            401, 402, 403, 801/802
                               Lighting (U.S.), LLC d/b/a GE Lighting’s Second
                               Amended Initial Disclosures dated January 14, 2022

6025   Assarat Ex. 1           Plaintiff's Notice of 30(b)(6) Deposition to Defendant      401, 402, 403, 801/802
                               Consumer Lighting (U.S.), LLC d/b/a GE Lighting dated
                               September 10, 2021

6026   Baroyan Ex. 17          U.S. Patent No. 6,465,961 Ex Parte Reexamination
       CAO_DE_008383-8388      Certificate issued on September 2, 2014


6027   Baroyan Ex. 33          Plaintiff's Notice of 30(b)(6) Deposition to Defendant      401, 402, 403, 801/802
                               Current Lighting Solutions, LLC dated October 6, 2021
6028   Baroyan Ex. 36          Defendant Current Lighting Solutions, Second
                               Supplemental and Amended Responses and Objections to
                               Plaintiff's First Set of Common Interrogatories [NOS. 1-13]
                               dated December 8, 2021




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6029   Baroyan Ex. 37             Section 3.12 [Intellectual Property] of Disclosure Letter to
       CUPO007287-7289            Stock and Asset Purchase Agreement Between General
                                  Electric Company and Espresso Holdco, Inc. dated
                                  November 5, 2018

6030   Cao Ex. 116                Weirer, Jonathan, et al. "High-power AIGalnN flip-chip
       DEFS00001709-1712          light-emitting diodes" [Applied Physics Letters, Vol. 78,
                                  Number 22] [May 28, 2001]

6031   Cao Ex. 117                U.S. Patent No. 6,220,722 B1 "LED Lamp," April 24,
       DEFS00001211-1218          2001

6032   Cao Ex. 118                Email to D. Terrell and others from J. Watson re: Draft 801/802
       CAO022099                  Motion and Proposed Order to Reopen Utah Lighting Case
                                  and Lift Stay dated March 14, 2018

6033   Duffy Ex. 1                Plaintiff's Notice of 30(b)(6) Deposition to Defendant         401, 402, 403, 801/802
                                  Consumer Lighting (U.S.), LLC d/b/a GE Lighting dated
                                  September 10, 2021

6034   Duffy Ex. 16               U.S. Patent No. 6,465,961 B1 "Semiconductor Light
                                  Source Using a Heat Sink with a Plurality of Panels,"
                                  October 15, 2002

6035   Gadd Ex. 5                 Detailed Action for Application No. 90/012,957 dated June
       CAO009472-9498             18, 2014

6036   Gadd Ex. 6                 Remarks Submitted by J. Gadd dated March 24, 2014,
       CAO009499-9507             Responsive to the Non-Final Office Action mailed on
                                  January 24, 2012 regarding Application No. 90/012,957

6037   Gadd Ex. 9                 Detailed Action Closing Prosecution mailed on May 13,
       CAO009516-9561             2015 regarding Application Nos. 95/000,680 and
                                  95/002,324

6038   Gadd Ex. 11                Third Party Comments After Patent Owner Response for
       CAO009562-9612             Patent No. 6,465,961 dated April 1, 2014




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6039   Gadd Ex. 12             Amendment B and Response to Final Office Action dated
       CAO009297-9332          July 10, 2014 regarding Ex Parte Reexamination of U.S.
                               Patent No. 6,465,961

6040   Marella Ex. 45          Plaintiff's Amended Notice of 30(b)(6) Deposition to    401, 402, 403, 801/802
                               Current Lighting Solutions, LLC dated December 30, 2021


6041   McCarthy Ex. 101        U.S. Patent No. 6,465,961 B1 "Semiconductor Light           Dup
       CAO001932-1954          Source Using a Heat Sink with a Plurality of Panels,"
                               October 15, 2002

6042   McCarthy Ex. 106        Office Action for Application No. 09/939,488 mailed to D.
       CAO000461-472           McCarthy dated August 28, 2002

6043   McCarthy Ex. 107        U.S. Patent No. 6,220,722 B1 "LED Lamp," April 24,
       DEFS00001211-1218       2001

6044   McKissack Ex. 1         Plaintiff's Notice of 30(b)(6) Deposition to Defendant      401, 402, 403, 801/802
                               Consumer Lighting (U.S.), LLC d/b/a GE Lighting dated
                               September 10, 2021

6045   Montana Ex. 1           Plaintiff's Notice of 30(b)(6) Deposition to Defendant
                               OSRAM Sylvania, Inc. dated October 22, 2021

6046   Montana Ex. 4           Deed Register No. 1809 P/2016 [recorded on July 25-26, 401, 402, 403, Dup, 106
       OSI009246-9364          2016 in Munich before Dr. Benedikt Pfisterer in the office
                               of Latham & Watkins, LLP]

                               Exhibit A - Agreement for the Sale and Purchase of 100%
                               of the Shares in LEDVANCE GmbH and 100% of the
                               Membership Interests in LEDVANCE LLC

                               Exhibit B - Equity Commitment Letter
6047   Montana Ex. 5           Schedule 17 - Disclosure Schedule regarding the OSRAM 401, 402, 403, Dup, 106
       OSI008493-8547          Sylvania and LEDVANCE deal

6048   Phenix Ex. 1            Plaintiff's Notice of 30(b)(6) Deposition to Defendant      401, 402, 403, 801/802
                               LEDVANCE LLC dated October 22, 2021




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6049   Silva Ex. 1                  Plaintiff's Notice of 30(b)(6) Deposition to Defendant    401, 402, 403, 801/802
                                    LEDVANCE LLC dated October 22, 2021

6050   Silva Ex. 2            Deed Register No. 1809 P/2016 [recorded on July 25-26, 401, 402, 403, Dup, 106
       LEDVANCE-CAO-00116011- 2016 in Munich before Dr. Benedikt Pfisterer in the office
       116129                 of Latham & Watkins, LLP]

                                    Exhibit A - Agreement for the Sale and Purchase of 100%
                                    of the Shares in LEDVANCE GmbH and 100% of the
                                    Membership Interests in LEDVANCE LLC

                                    Exhibit B - Equity Commitment Letter

6051   Silva Ex. 3            Reference Deed No. Urk.R.Nr.P 1807/2016 [recorded on            401, 402, 403, Dup, 106
       LEDVANCE-CAO-00116130- July 24-26, 2016 in Munich before Dr. Benedikt Pfisterer
       116397                 in the office of Latham & Watkins, LLP]




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                       EXHIBIT 11
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                                                                 CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                                                 CONFIDENTIAL
                                                                                C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                      OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE       DESCRIPTION                                                                              BEGINNING       ENDING                   Ex. No.                 Objections
Ex. No.                                                                                                         PRODUCTION      PRODUCTION
                                                                                                                BATES           BATES
 4000     10/15/02     U.S. Patent No. 6,465,961 (DTX-3000)                                                     CAO_DE_000001   CAO_DE_000029   Defts' SJ Ex. 1; Shealy Ex.
                                                                                                                                                20; Cao Ex. 1; McCarthy
                                                                                                                                                Ex. 101
 4001     09/02/14     U.S. Patent No. 6,465,961 - Inter Partes Reexamination Certificate (10279th)             CAO009466       CAO009471       Defts' SJ Ex. 24; Gadd Ex.
                                                                                                                                                4
 4002     05/11/17     U.S. Patent No. 6,465,961 - Inter Partes Reexamination Certificate (1421st)                                              Defts' SJ Ex. 15; Cao Ex.
                                                                                                                                                2
 4003     8/24/01 -    U.S. Patent No. 6,465,961 File History (DTX-3001)                                        CAO_DE_000065   CAO_DE_000191
          11/27/15
 4004                  USPTO Assignment for U.S. Patent No. 6,465,961                                           CAO-007462      CAO-007463      Defts' SJ Ex. 85
 4005                  Curriculum Vitae of Michael Krames, Ph.D., FIEEE, FIES (DTX-3175)                                                                                      HS
 4006                  Curriculum Vitae of Robert F. Karlicek, Ph.D.                                                                                                          HS
 4008     03/18/22     Opening Expert Report of Michael Krames, Appendix B: List of Materials Considered                                                                      HS

 4010     05/13/22     Reply Report of Michael Krames, Appendix A: List of Materials Considered                                                                               HS
 4011     03/18/22     Opening Equitable Estoppel Expert Report of Robert Karlicek, Ph.D., Exhibit A: List of                                                                 HS
                       Materials Considered
 4013     05/13/22     Reply Expert Report of Robert Karlicek, Ph.D., Exhibit D: List of Materials Considered                                                                 HS

 4025     06/00/01 -   Architectural Lighting, Vol. 16(5) (June/July 2001)                                      DEFS00002048    DEFS00002097                                  LF, SJ, IR, PREJ,
          07/00/01                                                                                                                                                            LPK, HS, LA

 4026     12/17/97     Bando et al., Development of High-Bright and Pure-White LED Lamps, J. Light & Vis. DEFS00000016          DEFS00000019                                  IR, PREJ
                       Env., 22(1):1-5 (Dec. 17, 1997)
 4027     04/00/99     Bogner et al., White LED , SPIE Vol. 3621 (April 1999)                             DEFS00000020          DEFS00000031                                  IR, PREJ
 4028                  Bragg Mirrors, in RP Photonics Encyclopedia (available online at http:// rp-       DEFS00000032          DEFS00000034                                  IR, PREJ, HS
                       photonics.com/bragg mirrors html)
 4029     07/30/99     Canadian Patent Application Publication No. CA 2,260,389 ("Waitl")                 DEFS00000057          DEFS00000077                                  IR, PREJ
 4030     07/30/99     Canadian Patent Application Publication No. CA 2,260,389 A1 ("Waitl") (DTX-3640) DEFS00000035            DEFS00000056                                  IR, PREJ

 4031                  Commercial, Industrial and Residential 110/230VAC Products,                              DEFS00002103    DEFS00002108                                  IR, PREJ, HS,
                       https://web.archive.org/web/20010622034756/http://www.theledlight.com/120-VAC-                                                                         LF, LA
                       LEDbulbs.html
 4032     07/00/01     Compound Semiconductor Magazine (July 2001) (DTX-3738)                                   DEFS00001983    DEFS00001987                                  IR, PREJ, HS, IL

 4033     12/00/00 -   Compound Semiconductor, Vol. 6(9) (Dec. 2000/Jan. 2001)                                  DEFS00001900    DEFS00001904                                  IR, PREJ, HS
          01/00/01
 4034     08/00/01     Compound Semiconductor, Vol. 7(7) (Aug. 2001) (DTX-3752)                                 DEFS00002028    DEFS00002039                                  IR, PREJ, HS, IL




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                                                                CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                                          CONFIDENTIAL
                                                                               C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                     OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE      DESCRIPTION                                                                              BEGINNING      ENDING                 Ex. No.             Objections
Ex. No.                                                                                                        PRODUCTION     PRODUCTION
                                                                                                               BATES          BATES
 4035     02/00/01    Craford et al., In Pursuit of the Ultimate Lamp , Scientific American 284(2):62-67 (Feb. DEFS00002135   DEFS00002141                            IR, PREJ
                      2001)
 4036     09/21/00    DE 199 10 550 Machine Translated Text                                                    DEFS00000078   DEFS00000083                            IR, PREJ, LF,
                                                                                                                                                                      LA, HS
 4037     09/21/00    DE 199 10 550 Original Document                                                      DEFS00000084       DEFS00000087                            IR, PREJ, LF,
                                                                                                                                                                      LA, HS
 4038     00/00/97    Down the Road: The Future of Lighting. Architectural Lighting (1997) (DTX-3752)      DEFS00002098       DEFS00002098                            LF, SJ, IR, PREJ,
                                                                                                                                                                      LPK, HS, LA

 4039     02/04/98    EP 0 822 371 A2                                                                      DEFS00000088       DEFS00000099                            IR, PREJ, WF
 4040     10/08/98    EP 0 971 465 B1                                                                      DEFS00000100       DEFS00000123                            IR, PREJ, WF
 4041     02/02/00    EP 0977278 ("Matsubara") (DTX-3641)                                                  DEFS00000124       DEFS00000156                            IR, PREJ
 4042     04/20/99    FR 277 7710 A1 English Text                                                          DEFS00000207       DEFS00000221                            IR, PREJ, WF,
                                                                                                                                                                      LF, LA, HS
 4043     04/20/99    FR 277 7710 A1 Original Document                                                     DEFS00000157       DEFS00000206                            IR, PREJ, WF,
                                                                                                                                                                      LF
 4044     08/19/99   GB 2 334 376 A                                                                        DEFS00000222       DEFS00000237                            IR, PREJ, WF
 4045      7/20/2001 Goetz et al., Power III-Nitride LEDs, Fourth International Conference on Nitride      DEFS00000340       DEFS00000369   CAO SJ Daubert Ex. 53;   LF, SJ, IR, PREJ,
                     Semiconductors, (July 20, 2001) ("ICSN Presentation") (DTX-3746)                                                        Benya Ex. 16             LPK, HS, LA

 4046     00/00/00    Guo et al., Photon Recycling Semiconductor Light Emitting Diode , Light Emitting     DEFS00000238       DEFS00000245                            IR, PREJ, HS
                      Diodes: Research, Manufacturing, and Applications IV, H. Walter Yao, Ian T.
                      Ferguson, E. Fred Schubert, Proceedings of SPIE Vol. 3938 (2000)
 4047     07/00/00    Haitz et al., The Case for a National Research Program on Semiconductor Lighting,    DEFS00000246       DEFS00000269                            IR, PREJ, HS
                      Sandia National Lab’ys (July 2000) (DTX-3688)
 4048     00/00/98    Höffler et al., High-flux high-efficiency transparent substrate AIGalnP/GaP light-   DEFS00001889       DEFS00001890                            IR, PREJ, HS
                      emitting diodes, 34 Elec. Letters 1781 (1998) (DTX-3691)
 4049     00/00/98    Höfler et al., High-flux, high-efficiency transparent-substrate AlGaInP-GaP light-   DEFS00000270       DEFS00000271                            IR, PREJ, HS
                      emitting diodes (1998)
 4050     04/00/01    Holt, Power LEDs to plug gap to adoption of white lighting , Optoelectronics 14(3)   DEFS00002099       DEFS00002102                            LF, SJ, IR, PREJ,
                      (April 2001)                                                                                                                                    LPK, HS, LA

 4051     03/15/99    HP 1999 Press Release: HP Introduces White LEDs with Color-Temperature Grading       DEFS00001891       DEFS00001893                            LF, SJ, IR, PREJ,
                      (DTX-3733)                                                                                                                                      LPK, HS, LA

 4052     00/00/97    Kozodoy et al., MOCVD Growth of High Output Power Ingan Multiple Quantum Well        DEFS00000272       DEFS00000277                            IR, PREJ, HS
                      Light Emitting Diode , Mat. Res. Soc. Symp. Proc., 468:481-486 (1997)

 4053     12/01/98    KR 0153189 B1 English Text                                                           DEFS00000282       DEFS00000284                            IR, PREJ, WF,
                                                                                                                                                                      LF, LA, HS



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                                                             CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                                  CONFIDENTIAL
                                                                            C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                  OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE     DESCRIPTION                                                                        BEGINNING         ENDING                 Ex. No.      Objections
Ex. No.                                                                                                 PRODUCTION        PRODUCTION
                                                                                                        BATES             BATES
 4054     12/01/98   KR 0153189 B1 Original Document                                                    DEFS00000278      DEFS00000281                     IR, PREJ, WF,
                                                                                                                                                           LF
 4055     06/22/05   Krames et al., High-brightness A1GaInN light-emitting diodes, Invited Paper in Light- DEFS00000285   DEFS00000295   Shealy Ex. 32     IR, PREJ, HS
                     Emitting Diodes: Research, Manufacturing and Applications IV, H. Walter Yao, Ian T.
                     Ferguson, E. Fred Schubert, Editors, Proceedings of SPIE Vol. 3938 (2000) (DTX-
                     3689)
 4056     07/00/77   Kurata, Near-Infrared High-Power LEDefts' with Ga1-xAlxAs Epitaxially Grown           DEFS00000296   DEFS00000302                     IR, PREJ, HS
                     Junctions , IEEE Journal of Quantum Electronics, QE-13(7):525-531 (July 1977)

 4057                LED Lamps, Lanterns and Fixtures,                                                  DEFS00002114      DEFS00002116                     IR, PREJ, HS,
                     https://web.archive.org/web/20010611063711/http://www.theledlight.com/led-                                                            LF, LA
                     fixtures html
 4058     00/00/00   LEDtronics, Inc. 2000 Brochure                                                     DEFS00002117      DEFS00002132                     IR, PREJ, LF,
                                                                                                                                                           HS
 4059     12/01/00   LEDtronics, Inc. A19 DecorLED Edison Based Lamps                                   DEFS00002134      DEFS00002134                     IR, PREJ, LF,
                                                                                                                                                           HS
 4060                LEDtronics, Inc. A19 DecorLED Solid State Lamps                                    DEFS00002133      DEFS00002133                     IR, PREJ, LF,
                                                                                                                                                           HS
 4061     00/00/01   Lightfair Report 2001, Architectural Lighting (2001) (DTX-3737)                    DEFS00001981      DEFS00001982                     LF, SJ, IR, PREJ,
                                                                                                                                                           LPK, HS, LA

 4062     09/00/99   Lu, A Study of Lubricants on Silver Flakes for Microelectronics Conductive Adhesives, DEFS00000303   DEFS00000309                     IR, PREJ, HS
                     IEEE Transactions on Components and Packaging Technology, 22(3):365-371 (Sept.
                     1999)
 4063     00/00/00   Lumileds Home , https://web.archive.org/web/20010224172200/http://www.lumileds.comDEFS00001906       DEFS00001906                     LF, SJ, IR, PREJ,
                                                                                                                                                           LPK, HS, LA

 4064     02/13/01   Lumileds Lighting Announces Breakthrough in LED Performance , EC Online (Feb. 13, DEFS00001905       DEFS00001905                     LF, SJ, IR, PREJ,
                     2001)                                                                                                                                 LPK, HS, LA

 4065     07/01/01   LumiLeds Lighting Launches Multi-format Luxeon Light Source , Compound            DEFS00000312       DEFS00000325                     LF, SJ, IR, PREJ,
                     Semiconductor (July 1, 2001),                                                                                                         LPK, HS, LA
                     https://compoundsemiconductor net/article/82406/LumiLeds_Lighting_launches_multi-
                     format_Luxeon_light_sources_(LED_News) (“Multi-format Luxeon”)
 4066                Luxeon - LXHLMW1C images                                                          DEFS00000370       DEFS00000373                     LF, SJ, IR, PREJ,
                                                                                                                                                           LPK, HS, LA

 4067     05/00/01   Luxeon Star Power Light Source Data Sheet (DTX-3743)                               DEFS00000374      DEFS00000382                     LF, SJ, IR, PREJ,
                                                                                                                                                           LPK, HS, LA




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                                                                CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                                     CONFIDENTIAL
                                                                               C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                     OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE       DESCRIPTION                                                                           BEGINNING          ENDING                 Ex. No.     Objections
Ex. No.                                                                                                      PRODUCTION         PRODUCTION
                                                                                                             BATES              BATES
 4068     00/00/00     Marinelli et al., Investigation on the Gain-Switching of GaInN MQW Laser Diodes,      DEFS00000383       DEFS00000390                     IR, PREJ, HS
                       Light Emitting Diodes: Research, Manufacturing, and Applications IV, H. Walter Yao,
                       Ian T. Ferguson, E. Fred Schubert, Proceedings of SPIE Vol. 3938 (2000)

 4069     00/00/00     Marinelli et al., Investigation on the Gain-Switching of GaInN MQW Laser Diodes,    DEFS00000400         DEFS00000408                     IR, PREJ, HS
                       Light Emitting Diodes: Research, Manufacturing, and Applications IV, H. Walter Yao,
                       Ian T. Ferguson, E. Fred Schubert, Proceedings of SPIE Vol. 3938 (2000)

 4070                  Martin, High Power White LED Technology for Solid State Lighting, Lumleds Lighting DEFS00001988          DEFS00002027                     IR, PREJ, HS
                       LLC Company (DTX-3753)
 4071     00/00/93     Melton, Alternatives of Lead Bearing Solder Alloys , IEEE 94-97 (1993)                    DEFS00000391   DEFS00000394                     IR, PREJ, HS
 4072     12/18/00     Morrison, Brighter LEDs Signal Longer Life and Lower Power for Lighting                   DEFS00001894   DEFS00001899                     IR, PREJ, HS
                       Applications, Electronic Design (Dec. 18, 2000) (DTX-3692)
 4073     5/5/01 -     Mundlein et al., Conductive Adhesive - An Alternative to Solder in SMT , 24th             DEFS00000395   DEFS00000399                     IR, PREJ, HS
          5/9/01       International Spring Seminar on Electronics Technology, Calimanesti-Caciulata,
                       Romania (May 5-9, 2001)
 4074     01/00/00     Narendran et al., Characterizing White LEDs for General Illumination Applications,        DEFS00000423   DEFS00000699                     IR, PREJ
                       Light- Emitting Diodes: Research, Manufacturing, and Applications IV (Proceedings of
                       SPIE), presented at SPIE’s Photonics West Conference, January 23-28, 2000, San Jose,
                       CA (DTX-3690)
 4075     00/00/85     Oplia and Sinclair, Electrical Reliability of Silver Filled Epoxies for Die Attach , AT&T DEFS00000409   DEFS00000417                     IR, PREJ, HS
                       Bell Laboratories (1985)
 4076     03/30/00     PCT Appl. Publication No. WO 00/17569 ("Begemann WO ’7569") (DTX-3792)                    DEFS00001734   DEFS00001749                     IR, PREJ
 4077     12/14/00     PCT Appl. Publication No. WO 00/74975 ("Pederson")                                        DEFS00001750   DEFS00001830                     IR, PREJ
 4078     04/05/01     PCT Appl. Publication No. WO 01/24583 A1 ("Choi")                                         DEFS00001831   DEFS00001851                     IR, PREJ, WF
 4079     06/07/01     PCT Appl. Publication No. WO 01/40702 A1 ("Tarsa")                                        DEFS00001852   DEFS00001888                     IR, PREJ, WF
 4080     06/28/01     PCT Appl. Publication No. WO 01/47036 A1 ("Krames")                                       DEFS00001931   DEFS00001980                     IR, PREJ, WF
 4081     11/11/99     PCT Appl. Publication No. WO 99/57945 ("Allen") (DTX-3629)                                DEFS00001713   DEFS00001733   Benya Ex. 8       IR, PREJ
 4082     00/00/96     Pitts, A View of Electronic Products Disposition, 1966 Electronics Industry               DEFS00000418   DEFS00000422                     IR, PREJ, WF,
                       Environmental Roadmap (1996)                                                                                                              HS
 4083     11/10/00     RU2158876C1 English Machine Translation                                                   DEFS00000700   DEFS00000722                     IR, PREJ, WF,
                                                                                                                                                                 LF, LA, HS
 4084     11/10/00     RU2158876C1 Original Document                                                         DEFS00000723       DEFS00000731                     IR, PREJ, WF,
                                                                                                                                                                 LF
 4085     05/00/95     Rusanen and Lenkkeri, Reliability Issues of Replacing Solder with Conductive          DEFS00000732       DEFS00000737                     IR, PREJ, HS
                       Adhesives in Power Modules, IEEE Transactions on Components, Packaging, and
                       Manufacturing Technology - Part B., Vol. 18(2): 320-325 (May 1995)
 4086     09/00/00 -   Savage et al., LEDs Light the Future , Techology Review (Sept./Oct. 2000)             DEFS00002158       DEFS00002163                     IR, PREJ, HS
          10/00/00




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                             Case 1:20-cv-00690-GBW Document 404-1 Filed 06/14/23 Page 134 of 162 PageID #: 37848
                                                               CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                               CONFIDENTIAL
                                                                              C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                    OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE      DESCRIPTION                                                                        BEGINNING      ENDING                 Ex. No.       Objections
Ex. No.                                                                                                  PRODUCTION     PRODUCTION
                                                                                                         BATES          BATES
 4087      8/2/2001   Schweber, LEDs move from indication to illumination, www.endmag.com, 75-82         DEFS00000738   DEFS00000742   McCarthy Ex. 108   IR, PREJ
                      (August 2, 2001) ("Schweber") (DTX-3793)
 4088     00/00/96    Segerberg and Hedemalm, Life Cycle Assessment of Tin-Lead Solder and Silver- Epoxy DEFS00000743   DEFS00000744                      IR, PREJ, HS
                      Conductive Adhesive , IEEE (1996)
 4089     00/00/01    Shimada et al ., Medical Lighting Composed of LEDs Arrays , Light-Emitting Diodes: DEFS00002142   DEFS00002150                      IR, PREJ, HS
                      Research, Manufacturing, and Applications, V.H. Walter Yao, E. Fred Schubert,
                      Editors, Proceedings of SPIE Vol. 4278 (2001)
 4090     02/09/01    Silkwood, LumiLeds Lighting Announces Another Breakthrough in LED Performance , DEFS00000310      DEFS00000311                      LF, SJ, IR, PREJ,
                      LumiLeds Lighting (Feb. 9, 2001)                                                                                                    LPK, HS, LA

 4091     02/26/01    Silkwood, LumiLeds Lighting Produces 17 Lumen White LED , Compound                 DEFS00000326   DEFS00000339                      LF, SJ, IR, PREJ,
                      Semiconductor (Feb. 26, 2001)                                                                                                       LPK, HS, LA

 4092     00/00/01    Taguchi et al., Application of White LED Lighting to Energy-Saving Type Street     DEFS00002151   DEFS00002157                      IR, PREJ, HS
                      Lamps , Light-Emitting Diodes: Research, Manufacturing, and Applications, V.H.
                      Walter Yao, E. Fred Schubert, Editors, Proceedings of SPIE Vol. 4278 (2001)
 4093     00/00/99    Takezawa et al., Development of Solderless Joining Technologies Using Conductive   DEFS00000745   DEFS00000749                      IR, PREJ, HS
                      Adhesives, 1999 International Symposium on Advanced Packaging Materials (1999)

 4094     12/00/85    Tanabe et al., High-Accuracy Die-Bonding Technology for LED Array, IEEE            DEFS00000750   DEFS00000754                      IR, PREJ, HS
                      Transactions on Components, Hybrids, and Manufacturing Technology, Vol.
                      CHMT08(4):500-754 (Dec. 1985)
 4095     11/29/01    U.S. Patent Application Publication No. 2001/0045573 ("Waitl 573")                 DEFS00001607   DEFS00001614                      IR, PREJ, WF,
                                                                                                                                                          LF
 4096     06/13/02    U.S. Patent Application Publication No. 2002/0070681A1 ("Shimizu 681")             DEFS00001615   DEFS00001648                      IR, PREJ, WF,
                                                                                                                                                          LF
 4097     06/27/02    U.S. Patent Application Publication No. 2002/0079505A1 ("Becker")                  DEFS00001649   DEFS00001653                      IR, PREJ, WF,
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 4098     10/17/02    U.S. Patent Application Publication No. 2002/0149312A1 ("Roberts")                 DEFS00001654   DEFS00001680                      IR, PREJ, WF,
                                                                                                                                                          LF
 4099     10/31/02    U.S. Patent Application Publication No. 2002/0159490A1 ("Karwacki")                DEFS00001681   DEFS00001687                      IR, PREJ, WF,
                                                                                                                                                          LF
 4100     12/12/02    U.S. Patent Application Publication No. 2002/0187571 A1 ("Collins")                DEFS00001913   DEFS00001930                      IR, PREJ, WF,
                                                                                                                                                          LF
 4101     02/13/03    U.S. Patent Application Publication No. 2003/0031028A1 ("Murray")                  DEFS00001688   DEFS00001706                      IR, PREJ, WF,
                                                                                                                                                          LF
 4102     05/25/71    U.S. Patent No. 3,581,162 ("Wheatley")                                             DEFS00000755   DEFS00000758                      IR, PREJ, WF,
                                                                                                                                                          LF
 4103     08/22/72    U.S. Patent No. 3,686,543("Nyul")                                                  DEFS00000759   DEFS00000766                      IR, PREJ, WF,
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                                                                               C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                     OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE     DESCRIPTION                                                                     BEGINNING          ENDING          Ex. No.     Objections
Ex. No.                                                                                              PRODUCTION         PRODUCTION
                                                                                                     BATES              BATES
 4104     03/05/74   U.S. Patent No. 3,795,830 ("Richardson")                                        DEFS00000767       DEFS00000770              IR, PREJ, WF,
                                                                                                                                                  LF
 4105     07/08/80   U.S. Patent No. 4,211,955 ("Ray")                                               DEFS00000771        DEFS00000775             IR, PREJ, WF,
                                                                                                                                                  LF
 4106     09/15/81   U.S. Patent No. 4,290,095 ("Schmidt")                                           DEFS00000776        DEFS00000782             IR, PREJ, WF,
                                                                                                                                                  LF
 4107     12/16/86   U.S. Patent No. 4,630,183 ("Fujita")                                            DEFS00000783        DEFS00000789             IR, PREJ, WF,
                                                                                                                                                  LF
 4108     02/23/88   U.S. Patent No. 4,727,289 ("Uchida")                                            DEFS00000790        DEFS00000794             IR, PREJ, WF,
                                                                                                                                                  LF
 4109     08/23/88   U.S. Patent No. 4,766,470 ("Scholl") (DTX-3633)                                 DEFS00000795        DEFS00000805             IR, PREJ, WF,
                                                                                                                                                  LF
 4110     11/08/88   U.S. Patent No. 4,783,726 ("Wang")                                              DEFS00000806        DEFS00000814             IR, PREJ, WF,
                                                                                                                                                  LF
 4111     01/05/93   U.S. Patent No. 5,177,407 ("Godyak")                                            DEFS00000815        DEFS00000820             IR, PREJ, WF,
                                                                                                                                                  LF
 4112     01/11/94   U.S. Patent No. 5,278,432 ("Ignatius et al.")                                   DEFS00000821        DEFS00000832             IR, PREJ, WF,
                                                                                                                                                  LF
 4113     09/20/94   U.S. Patent No. 5,349,599 ("Larkins")                                           DEFS00000833        DEFS00000882             IR, PREJ, WF,
                                                                                                                                                  LF
 4114     05/09/95   U.S. Patent No. 5,414,281 ("Watabe")                                            DEFS00000883        DEFS00000894             IR, PREJ, WF,
                                                                                                                                                  LF
 4115     10/31/95   U.S. Patent No. 5,463,280 ("Johnson")                                           DEFS00000895        DEFS00000904             IR, PREJ, WF,
                                                                                                                                                  LF
 4116     07/09/96   U.S. Patent No. 5,535,230 ("Abe") (DTX-3638)                                    DEFS00000905        DEFS00000917             IR, PREJ, IOP,
                                                                                                                                                  NP
 4117     10/01/96   U.S. Patent No. 5,561,346 ("Byrne")                                             DEFS00000918        DEFS00000924             IR, PREJ, WF,
                                                                                                                                                  LF
 4118     11/18/97   U.S. Patent No. 5,688,042 ("Madadi")                                            DEFS00000925        DEFS00000933             IR, PREJ, WF,
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 4119     03/10/98   U.S. Patent No. 5,726,535 ("Yan")                                               DEFS00000934        DEFS00000942             IR, PREJ, WF,
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 4120     03/17/98   U.S. Patent No. 5,728,090 ("Martin")                                            DEFS00000943        DEFS00000952             IR, PREJ, WF,
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 4121     07/07/98   U.S. Patent No. 5,777,350 ("Nakamura 350") (DTX-3634)                           DEFS00000953        DEFS00000984             IR, PREJ
 4122     08/25/98   U.S. Patent No. 5,798,537 ("Nitta")                                             DEFS00000985        DEFS00000995             IR, PREJ, WF,
                                                                                                                                                  LF
 4123     09/15/98   U.S. Patent No. 5,806,965 ("Deese")                                             DEFS00000996        DEFS00001007             IR, PREJ, WF,
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                                                              CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                                    CONFIDENTIAL
                                                                             C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                   OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE     DESCRIPTION                                                                   BEGINNING          ENDING                  Ex. No.           Objections
Ex. No.                                                                                            PRODUCTION         PRODUCTION
                                                                                                   BATES              BATES
 4124     11/17/98   U.S. Patent No. 5,838,707 ("Ramdani")                                         DEFS00001008       DEFS00001015                            IR, PREJ, WF,
                                                                                                                                                              LF
 4125     12/15/98   U.S. Patent No. 5,850,126 ("Kanbar")                                          DEFS00001016        DEFS00001023                           IR, PREJ, WF,
                                                                                                                                                              LF
 4126     01/12/99   U.S. Patent No. 5,857,767 ("Hochstein 767")                                   DEFS00001024        DEFS00001031                           IR, PREJ, WF,
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 4127     08/03/99   U.S. Patent No. 5,931,570 ("Yamuro")                                          DEFS00001032        DEFS00001049                           IR, PREJ, WF,
                                                                                                                                                              LF
 4128     09/07/99   U.S. Patent No. 5,949,347 ("Wu")                                              DEFS00001050        DEFS00001066                           IR, PREJ, WF,
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 4129     09/28/99   U.S. Patent No. 5,959,316 ("Lowery 316")                                      DEFS00001067        DEFS00001071                           IR, PREJ, WF,
                                                                                                                                                              LF
 4130     11/16/99   U.S. Patent No. 5,984,494A ("Chapman")                                        DEFS00001072        DEFS00001088                           IR, PREJ, WF,
                                                                                                                                                              LF
 4131     12/07/99   U.S. Patent No. 5,998,925 ("Shimizu") (DTX-3645)                              DEFS00001089        DEFS00001130                           IR, PREJ
 4132     01/18/00   U.S. Patent No. 6,015,979 ("Sugiura")                                         DEFS00001131        DEFS00001160   Shealy Ex. 33           IR, PREJ, DB,
                                                                                                                                                              IOP
 4133     04/04/00   U.S. Patent No. 6,045,240 ("Hochstein 240")                                   DEFS00001161        DEFS00001171                           IR, PREJ, WF,
                                                                                                                                                              LF
 4134     11/14/00   U.S. Patent No. 6,147,367A ("Yang")                                           DEFS00001172        DEFS00001191                           IR, PREJ, WF,
                                                                                                                                                              LF
 4135     12/12/00   U.S. Patent No. 6,160,833 ("Floyd") (DTX-3632)                                DEFS00001192        DEFS00001199                           IR, PREJ
 4136     03/13/01   U.S. Patent No. 6,200,134 ("Kovac")                                           DEFS00001200        DEFS00001210                           IR, PREJ, WF,
                                                                                                                                                              LF
 4137     03/20/01   U.S. Patent No. 6,204,523 ("Carey") (DTX-3687)                                DEFS00001907        DEFS00001912                           IR, PREJ, WF,
                                                                                                                                                              LF
 4138     04/24/01   U.S. Patent No. 6,220,722 (“Begemann 722”) (DTX-3126)                         DEFS00001211        DEFS00001218   Cao Ex. 117; McCarthy   SJ, NRJ, IR,
                                                                                                                                      Ex. 107                 PREJ
 4139     05/08/01   U.S. Patent No. 6,227,679 ("Zhang")                                           DEFS00001219        DEFS00001224                           IR, PREJ, WF,
                                                                                                                                                              LF
 4140     06/26/01   U.S. Patent No. 6,252,350 ("Alvarez")                                         DEFS00001225        DEFS00001243                           IR, PREJ, WF,
                                                                                                                                                              LF
 4141     08/14/01   U.S. Patent No. 6,274,924 ("Carey")                                           DEFS00002040        DEFS00002047                           IR, PREJ, WF,
                                                                                                                                                              LF
 4142     09/11/01   U.S. Patent No. 6,287,947 ("Ludowise")                                        DEFS00001244        DEFS00001263                           IR, PREJ, WF,
                                                                                                                                                              LF
 4143     02/12/02   U.S. Patent No. 6,346,771 ("Salam")                                           DEFS00001264        DEFS00001276                           IR, PREJ, WF,
                                                                                                                                                              LF
 4144     02/26/02   U.S. Patent No. 6,350,041 ("Tarsa")                                           DEFS00001277        DEFS00001290                           IR, PREJ, WF,
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                                                                CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                                 CONFIDENTIAL
                                                                               C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                     OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE     DESCRIPTION                                                                     BEGINNING          ENDING                  Ex. No.        Objections
Ex. No.                                                                                              PRODUCTION         PRODUCTION
                                                                                                     BATES              BATES
 4145     08/06/02   U.S. Patent No. 6,428,189 ("Hochstein 189")                                     DEFS00001291       DEFS00001297                         IR, PREJ, WF,
                                                                                                                                                             LF
 4146     08/20/02   U.S. Patent No. 6,436,771 ("Jang")                                              DEFS00001298       DEFS00001306                         IR, PREJ, WF,
                                                                                                                                                             LF
 4147     08/27/02   U.S. Patent No. 6,439,888 ("Boutoussov")                                        DEFS00001307        DEFS00001320                        IR, PREJ, WF,
                                                                                                                                                             LF
 4148     09/17/02   U.S. Patent No. 6,452,217 ("Wojnarowski ’217") (DTX-3636)                       DEFS00001321        DEFS00001337                        IR, PREJ
 4149     10/08/02   U.S. Patent No. 6,461,029 ("Gronemeier")                                        DEFS00001338        DEFS00001346                        IR, PREJ, WF,
                                                                                                                                                             LF
 4150     01/07/03   U.S. Patent No. 6,504,301 ("Lowery 301")                                        DEFS00001347        DEFS00001357                        IR, PREJ, WF,
                                                                                                                                                             LF
 4151     01/21/03   U.S. Patent No. 6,509,651 ("Matsubara ’651") (DTX-3642)                         DEFS00001358        DEFS00001384                        IR, PREJ, WF,
                                                                                                                                                             LF
 4152     02/11/03   U.S. Patent No. 6,517,218B2 ("Hochstein 218")                                   DEFS00001385        DEFS00001391                        IR, PREJ, WF,
                                                                                                                                                             LF
 4153     02/25/03   U.S. Patent No. 6,523,978 ("Huang")                                             DEFS00001392        DEFS00001400                        IR, PREJ, WF,
                                                                                                                                                             LF
 4154     04/01/03   U.S. Patent No. 6,542,532 ("Nakamura ’532") (DTX-3635)                          DEFS00001401        DEFS00001421                        IR, PREJ
 4155     06/17/03   U.S. Patent No. 6,580,228 ("Chen")                                              DEFS00001422        DEFS00001434                        IR, PREJ, WF,
                                                                                                                                                             LF
 4156     07/22/03   U.S. Patent No. 6,597,716 ("Takatani")                                          DEFS00001435        DEFS00001452                        IR, PREJ, WF,
                                                                                                                                                             LF
 4157     08/12/03   U.S. Patent No. 6,606,333 ("Kadota")                                            DEFS00001453        DEFS00001460                        IR, PREJ, WF,
                                                                                                                                                             LF
 4158     08/19/03   U.S. Patent No. 6,608,332 ("Shimizu 332")                                       DEFS00001461        DEFS00001499                        IR, PREJ, WF,
                                                                                                                                                             LF
 4159     10/14/03   U.S. Patent No. 6,633,120 ("Salam")                                             DEFS00001500        DEFS00001531                        IR, PREJ, WF,
                                                                                                                                                             LF
 4160     10/21/03   U.S. Patent No. 6,635,987 ("Wojnarowski 987")                                   DEFS00001532        DEFS00001545                        IR, PREJ, WF,
                                                                                                                                                             LF
 4161     04/13/04   U.S. Patent No. 6,719,446 ("Cao") (DTX-3178)                                    DEFS00002575        DEFS00002596   Defts' SJ Ex. 103;   SJ, NRJ, IR,
                                                                                                                                        McCarthy Ex. 102     PREJ
 4162     10/05/04   U.S. Patent No. 6,799,864B2 ("Bohler")                                          DEFS00001546        DEFS00001554                        IR, PREJ, WF,
                                                                                                                                                             LF
 4163     10/19/04   U.S. Patent No. 6,806,583 ("Koay")                                              DEFS00001555        DEFS00001572                        IR, PREJ, WF,
                                                                                                                                                             LF
 4164     01/22/08   U.S. Patent No. 7,320,593 ("Ostler") (DTX-3643)                                 DEFS00001573        DEFS00001606                        IR, PREJ
 4165     01/11/00   U.S. Patent No. Des. 418,928 ("Zhang")                                          DEFS00001707        DEFS00001708                        IR, PREJ, WF,
                                                                                                                                                             LF
 4166                Intentionally Omitted - Duplicate



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                                                                CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                                              CONFIDENTIAL
                                                                               C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                     OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE      DESCRIPTION                                                                             BEGINNING       ENDING                   Ex. No.                 Objections
Ex. No.                                                                                                       PRODUCTION      PRODUCTION
                                                                                                              BATES           BATES
 4167                 White LED Clusters or Arrays, 12 VDC Dimmers and 5 mm LED Reflectors ,                  DEFS00002109    DEFS00002113                               IR, PREJ, HS,
                      https://web.archive.org/web/20010808155935/http://www.theledlight.com:80/led-                                                                      LF, LA
                      assemblies html
 4168     05/28/01    Wierer, High-Power AlGaInN Flip-Chip Light-Emitting Diodes, Applied Physics         DEFS00001709        DEFS00001712    Cao Ex. 116                NRJ, IR, PREJ,
                      Letters, 78(22):3379-81 (May 28, 2001) ("Wierer II") (DTX-3125)                                                                                    SJ, HS
 4169                 U.S. Patent Application No. 09/938,777 File History (DTX-3180)                      DEFS00002164        DEFS00002377    McCarthy Ex. 105           IC
 4170  8/26/13 -      95/000,680 Reexamination of U.S. Patent No. 6,465,961 File History ("’680 Reexam") CAO_DE_000378        CAO_DE_001873                              IC
       10/22/14       (DTX-3004)
4170-A 09/13/12       ’680 Reexam Excerpt: Corrected Request for Inter Parte Reexamination of U.S. Patent CAO_DE_000432       CAO_DE_000575                              IC
                      No. 6,465,961
4170-B 12/07/12       ’680 Reexam Excerpt: Order Granting/Denying Request for Inter Partes Reexamination CAO_DE_000621        CAO_DE_000658   Defts' SJ Ex. 42 (Excerpts) IC

4170-C 01/02/14       ’680 Reexam Excerpt: Reexam Non-Final Office Action                                     CAO_DE_000755   CAO_DE_000846   Defts' SJ Ex. 88           IC
4170-D 03/03/14       ’680 Reexam Excerpt: Amendment A and Response to Non-Final Office Action                CAO_DE_000888   CAO_DE_000895   Defts' SJ Ex. 89           IC
4170-E 04/01/14       ’680 Reexam Excerpt: Information Disclosure Statement                                   CAO_DE_001190   CAO_DE_001195   Defts' SJ Ex. 110          IC

4170-F 06/03/14       ’680 Reexam Excerpt: Third Party Comments After Patent Owner Response                   CAO_DE_001318   CAO_DE_001368   Defts' SJ Ex. 111          IC
4170-G 03/22/17       ’680 Reexam Excerpt: Notice of Intent to Issue Inter Partes Reexamination Certificate   CAO_DE_001858   CAO_DE_001864                              IC

 4171     9/14/12 -   95/002,324 Reexamination of U.S. Patent No. 6,465,961 File History ("’324 Reexam") CAO_DE_002444        CAO_DE_004317                              IC
          5/11/17     (DTX-3003)

4171-A 04/01/14       ’324 Reexam Excerpt: Information Disclosure Statement                                   CAO_DE_003367   CAO_DE_003367   Gadd Ex. 8                 IC
4171-B 06/03/14       ’324 Reexam Excerpt: Third Party Comments After Patent Owner Response                   CAO_DE_003668   CAO_DE_003718   Gadd Ex. 11                IC
4171-C 05/13/15       ’324 Reexam Excerpt: Action Closing Prosecution (Excerpt)                               CAO DE 003834   CAO DE 003839   Gadd Ex. 3                 IC
4171-D 05/13/15       ’324 Reexam Excerpt: Action Closing Prosecution                                         CAO_DE_003834   CAO_DE_003871   Gadd Ex. 9                 IC
4171-E 10/28/15       ’324 Reexam Excerpt: Right of Appeal Notice                                             CAO_DE_004033   CAO_DE_004033   Gadd Ex. 10                IC
4171-F 04/01/14       ’324 Reexam Excerpt: Third Party Comments After Patent Owner Response                   CAO_DE_003397   CAO_DE_003446                              IC
4171-G 03/22/17       ’324 Reexam Excerpt: Notice of Intent to Issue Inter Partes Reexamination Certificate   CAO_DE_004302   CAO_DE_004308                              IC

 4172     8/26/13 -   90/012,957 Reexamination of U.S. Patent No. 6,465,961 File History ("’957 Reexam") CAO_DE_004318        CAO_DE_008396                              IC
          10/22/14    (DTX-3002)

4172-A 01/23/14       ’957 Reexam Excerpt: Non-Final Office Action                                            CAO_DE_004843   CAO_DE_004870   Defts' SJ Ex. 86           IC
4172-B 03/24/14       ’957 Reexam Excerpt: Remarks                                                            CAO DE 004995   CAO DE 005003   Gadd Ex. 6                 IC
4172-C 03/24/14       ’957 Reexam Excerpt: Amendment A and Response to Non-Final Office Action mailed         CAO_DE_005015   CAO_DE_005032   Defts' SJ Ex. 87           IC
                      January 23, 2014
4172-D 03/25/14       ’957 Reexam Excerpt: Information Disclosure Statement (IDS)                             CAO_DE_005035   CAO_DE_005055   Defts' SJ Ex. 106          IC
4172-E 06/18/14       ’957 Reexam Excerpt: Reexam Final Rejection                                             CAO_DE_008211   CAO_DE_008235   Gadd Ex. 5                 IC
4172-F 07/10/14       ’957 Reexam Excerpt: Amendment B and Response to Final Office Action                    CAO_DE_008332   CAO_DE_008367   Gadd Ex. 12                IC



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                                                               CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                                              CONFIDENTIAL
                                                                              C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                    OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE     DESCRIPTION                                                                                BEGINNING       ENDING                   Ex. No.              Objections
Ex. No.                                                                                                         PRODUCTION      PRODUCTION
                                                                                                                BATES           BATES
4172-G 07/23/14      ’957 Reexam Excerpt: Notice of Intent to Issue Ex Parte Reexamination Certificate          CAO_DE_008370   CAO_DE_008375   Defts' SJ Ex. 112        IC

4172-H 03/24/14      ’957 Reexam Excerpt: Status of Claims and Support for Claim Amendments              CAO_DE_004982          CAO_DE_004994                            IC
 4173 00/00/62       N. Holonyak, Jr. and S.F. Bevacqua, Applied Physics Letters 1, 82 (1962) (DTX-3617)                                        Krames Op. Rep. Ex. 1    IR, PREJ, HS,
                                                                                                                                                                         IL, IC
 4174                Edison Tech Center - Nick Holonyak Jr. - Engineering Hall of Fame                                                          Krames Op. Rep. Ex. 2    IR, PREJ, HS
                     https://edisontechcenter.org/holonyak html (DTX-3618)
 4175                Nick Holonyak, Jr. -- Britannica Online Encyclopedia                                                                       Krames Op. Rep. Ex. 3    IR, PREJ, HS
                     https://www.britannica.com/biography/Nick-Holonyak-Jr (DTX-3619)
 4176     02/00/01   Scientific American, Vol. 284, No. 2 (Feb. 2001) (DTX-3620)                                                                Krames Op. Rep. Ex. 4    IR, PREJ
 4177                Shuji Nakamura -- Britannica Online Encyclopedia                                                                           Krames Op. Rep. Ex. 5    IR, PREJ, HS
                     https://www.britannica.com/biography/Shuji-Nakamura (DTX-3621)
 4178                Luminous efficiency function – Wikipedia                                                                                   Krames Op. Rep. Ex. 6    IR, PREJ, HS
                     https://en.wikipedia.org/wiki/Luminous_efficiency_function (DTX-3622)
 4179                LED Basics _ Department of Energy https://www.energy.gov/eere/ssl/led-basics (DTX-                                         Krames Op. Rep. Ex. 7    IR, PREJ, HS
                     3623)

 4180                P. Schlotter, R. Schmidt, and J. Schneider, “Luminescence conversion of blue light                                         Krames Op. Rep. Ex. 8    IR, PREJ, HS
                     emitting diodes,” Applied Physics A, Vol. 64 (1997) (DTX-3624)
 4181                J. J. Wierer et al., “High-power AllnGaN light-emitting diodes,” Proc. SPIE 4278, Light-                                   Krames Op. Rep. Ex. 9    IR, PREJ
                     Emitting Diodes: Research, Manufacturing, and Applications V, (14 May 2001). (DTX-
                     3625)
 4182     11/14/03   Ledtronics.com-Media-PressRelease: 3200K Warm Incandescent-White LEDs and                                                  Krames Op. Rep. Ex. 10   IR, PREJ, HS
                     LED Lamps Bring Warmth to Solid-State Lighting,
                     https://www.ledtronics.com/Media/PressReleases.aspx?pressID=77 (DTX-3626)
 4183     05/00/01   Technical Data Luxeon Power Light Source, LUMILEDS LIGHTING (May 2001),                                                    Krames Op. Rep. Ex. 11   LF, SJ, PREJ,
                     http://www resurgentsoftware.com/LuxeonStarDataSheet.pdf (DTX-3627)                                                                                 LPK, HS, LA

 4184                G. Bogner et al., “White LED,” Proc. SPIE 3621, Light-Emitting Diodes: Research,                                           Krames Op. Rep. Ex. 12   IR, PREJ, HS
                     Manufacturing, and Applications III, (14 April 1999) ("Bogner") (DTX-3693)
 4185     00/00/97   RE Denton et al., “The determination of the optical constants of thin films from                                           Krames Op. Rep. Ex. 13   IR, PREJ, HS
                     measurements of reflectance and transmittance at normal incidence,” Journal of Applied
                     Physics D: Applied Physics, (1972) ("RE Denton") (DTX-3628)
 4186                Kitai, “Materials for Solid State Lighting and Displays,” Wiley Series in Materials for                                    Krames Op. Rep. Ex. 16   IR, PREJ, HS, IC
                     Electronic and Optoelectronic Applications, www.wiley.com/go/meoa (2017).
 4187                Krames, Chapter 7 “Light Emitting Diode Materials and Devices,”                                                            Krames Op. Rep. Ex. 17   IR, PREJ, HS, IC
                     Wiley Series in Materials for Electronic and Optoelectronic
                     Applications, www.wiley.com/go/meoa (2017).




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                                                               CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                                        CONFIDENTIAL
                                                                              C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                    OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE       DESCRIPTION                                                                          BEGINNING     ENDING                Ex. No.               Objections
Ex. No.                                                                                                     PRODUCTION    PRODUCTION
                                                                                                            BATES         BATES
 4192     02/26/13     Distributorship Agreement between CAO Group, Inc. and Brilliance LED, LLC            BLED-0138     BLED-0148    Gold Ex. 3                  LF, IR, LPK, SJ



 4194     Various      U.S. Patent Application No. 09/939,340 File History Excerpts (DTX-3124)              CAO-000030    CAO-000153   Cao Ex. 115; McCarthy       IC, LF
                                                                                                                                       Ex. 104

 4195     08/28/02     U.S. Patent Application No. 09/939,488 File History Excerpt: Office Action responsive CAO-000461   CAO-000472   McCarthy Ex. 106            IC, LF
                       to communication filed on August 24, 2001 (DTX-3181)
 4196     01/01/14     Data Sheet - Dynasty G4 Bi-Pin LED Lamp                                               CAO-007497   CAO-007498   Cao Ex. 96                  SJ, IR, PREJ


 4198                  Dynasty® LED Omni Light, 801 Series                                                  CAO007468     CAO007469                                SJ, IOP, IR,
                                                                                                                                                                   PREJ

 4200     12/31/11     Nonexclusive Patent License and Settlement Agreement (DTX-3024)                      CAO007625     CAO007639    Cao Ex. 11                  LF, HS, IR,
                                                                                                                                                                   PREJ
 4201     10/12/15     Nonexclusive Patent License between CAO Group, Inc. and Epistar Corporation (DTX- CAO007641        CAO007652    Cao Ex. 18                  LF, HS, IR,
                       3030)                                                                                                                                       PREJ
 4202     01/12/11     Patent License Agreement between CAO and Invenlux Group Ltd.                      CAO007653        CAO007663    Cao Ex. 9; Kindler Ex. 6    LF, HS, IR,
                                                                                                                                                                   PREJ
 4204                  CAO Solid State Lighting Catalog                                                     CAO007712     CAO007743    Cao Ex. 83; Defts' SJ Ex.   SJ, IR, PREJ
                                                                                                                                       4
 4205     01/01/14     Data Sheet - Dynasty G4 Bi-Pin LED Lamp                                          CAO007749         CAO007750    Cao Ex. 84                  SJ,, IR, PREJ
 4206     12/31/14 -   CAO Lighting Balance Sheet, Periods Ending Dec. 31, 2014 - Dec. 31, 2018 (DTX-   CAO007765         CAO007765    Cao Ex. 107.xls             LF, IR, NRJ ,
          12/31/18     3117)                                                                                                                                       PREJ
 4207     07/12/15     Patent Purchase Agreement between CAO Group, Inc. and Epistar Corporation (DTX- CAO007932          CAO007943    Cao Ex. 12; Defts' SJ Ex.   LF, IR, NRJ ,
                       3025)                                                                                                           69                          PREJ
 4208     07/12/15     Patent Purchase Agreement between CAO Group, Inc. and Epistar Corporation (DTX- CAO007944          CAO007955    Cao Ex. 13; Kindler Ex.     LF, HS, IR,
                       3026)                                                                                                           10                          PREJ
 4209     10/08/15     LED Corn Light Distribution and Manufacturing Agreement between CAO Lighting     CAO008917         CAO008923    Cao Ex. 17                  LF, HS, IR,
                       Inc. and Shenzhen IDO Lighting Co., Ltd                                                                                                     PREJ
 4210     10/14/16     Second Amendment to Patent Purchase Agreement between CAO Group, Inc. and        CAO008924         CAO008925    Cao Ex. 15                  LF, IR, NRJ,
                       Epistar Corporation (DTX-3028)                                                                                                              PREJ
 4211     06/15/16     First Amendment to Patent Purchase Agreement between CAO Group, Inc. and Epistar CAO008926         CAO008931    Cao Ex. 14; Kindler Ex.     LF, HS, IR,
                       Corporation (DTX-3027)                                                                                          11                          PREJ
 4212     08/26/19     Third Amendment to Patent Purchase Agreement between CAO Group, Inc. and Epistar CAO008932         CAO008934    Cao Ex. 16                  LF, HS, IR,
                       Corporation (DTX-3029)                                                                                                                      PREJ
 4213                  Photo - Components                                                               CAO008935         CAO008935    Cao Ex. 108                 IR, PREJ
 4214     05/30/19     Deposition Transcript of John Gadd (CAO Lighting v. TADD LLC , Case No. N.D.Ill. CAO009115         CAO009216                                NRJ, IR, PREJ,
                       1:17-cv-07359)                                                                                                                              SJ, MIL, ID, HS


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                                                            CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                                      CONFIDENTIAL
                                                                           C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                 OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE     DESCRIPTION                                                                        BEGINNING      ENDING               Ex. No.             Objections
Ex. No.                                                                                                 PRODUCTION     PRODUCTION
                                                                                                        BATES          BATES
 4215     10/15/02   U.S. Patent No. 6,465,961                                                          CAO009217      CAO009245    Gadd Ex. 1
 4216     11/01/16   Report on the Filing Or Determination of an Action Regarding a Patent or Trademark CAO009333      CAO009459    Gadd Ex. 2               IR, IC
                     (Case No. 1:17-cv-07359) attaching '961 prosecution history
 4217     05/28/01   Wierer et al., “High-power AlGaInN flip-chip light-emitting diodes,” 78 APPL. PHYS. CAO009508     CAO009510    Gadd Ex. 7               LF, LA
                     LETT. 22, (May 28, 2001) ("Wierer II")
 4218     07/22/20   Settlement and Cross License Agreement between CAO Lighting, Inc. and TADD, LLC CAO009791         CAO009798    Cao Ex. 19                 LF, HS, IR,
                     d/b/a Light Efficient Design (DTX-3031)                                                                                                   PREJ
 4219                CAO Lighting, Inc. v. Light Efficient Design , D. Idaho Case No. 1:16-CV-482, D.I. 1: CAO014458   CAO014468                               LF, HS, IR,
                     Complaint and Demand for Jury Trial                                                                                                       PREJ, IOP, NRJ
 4227                CAO Sales Spreadsheet                                                                 CAO016889   CAO016889    Cao Ex. 82 xlsx; Defts' SJ LF, IR, PREJ,
                                                                                                                                    Ex. 4; Defts' SJ Ex. 127   IOP

 4228                Packaging Template - Dynasty G4 BiPin, Part #30002                                   CAO016908    CAO016908    Cao Ex. 100              SJ, IR, PREJ
 4231     05/22/00   Notebook of Densen Cao (DTX-3119)                                                    CAO017676    CAO017676    Cao Ex. 109              IR, PREJ
 4232     05/26/00   Notebook of Densen Cao (DTX-3120)                                                    CAO017677    CAO017677    Cao Ex. 110              IR, PREJ
 4233     05/28/00   Notebook of Densen Cao (DTX-3121)                                                    CAO017678    CAO017678    Cao Ex. 111              IR, PREJ
 4234     10/26/00   Notebook of Densen Cao (DTX-3122)                                                    CAO017679    CAO017679    Cao Ex. 112              IR, PREJ
 4235                Description of LED Illumination Light                                                CAO017681    CAO017682    Cao Ex. 113              IR, PREJ
 4236                CAO Product Marketing Checklist                                                      CAO018238    CAO018241    Cao Ex. 90               SJ, IR, PREJ
 4239     06/15/15   Letter from Cataxinos to Noggle Law, Registered Agent for Brite Light LLC, RE:       CAO020978    CAO020978    Cao Ex. 80               NRJ, LF, IR,
                     Infringement of U.S. Patent for Semiconductor Light Source Using A Heat Sink With A                                                     PREJ, LPK, SJ
                     Plurality Of Panels (DTX-3090)
 4240     04/29/15   Letter from Cataxinos to Humpreys (Electro Elf), RE: Infringement of U.S. Patent for CAO020979    CAO020980    Cao Ex. 25               NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels                                                                 PREJ, LPK, SJ
 4241     04/29/15   Letter from Cataxinos to Lodhie (LEDTronics, Inc.), RE: Infringement of U.S. Patent  CAO020981    CAO020982    Cao Ex. 27               NRJ, LF, IR,
                     for Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                       PREJ, LPK, SJ
                     3037)
 4242     04/29/15   Letter from Cataxinos to ARVA, LLC, RE: Infringement of U.S. Patent for              CAO020983    CAO020984    Cao Ex. 29               NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                           PREJ, LPK, SJ
                     3039)
 4243     04/29/15   Letter from Cataxinos to Withers (EiKO Global, LLC), RE: Infringement of U.S. Patent CAO020985    CAO020986    Cao Ex. 31               NRJ, LF, IR,
                     for Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                       PREJ, LPK, SJ
                     3041)
 4244     04/29/15   Letter from Cataxinos to Spotskey (Spot Lighting Supplies), RE: Infringement of U.S. CAO020987    CAO020988    Cao Ex. 33               NRJ, LF, IR,
                     Patent for Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels                                                      PREJ, LPK, SJ
                     (DTX-3043)
 4245     04/29/15   Letter from Cataxinos to McCormick (Olympia Lighting Products, Inc.), RE:            CAO020989    CAO020990    Cao Ex. 35               NRJ, LF, IR,
                     Infringement of U.S. Patent for Semiconductor Light Source Using A Heat Sink With A                                                     PREJ, LPK, SJ
                     Plurality Of Panels (DTX-3045)




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                                                            CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                              CONFIDENTIAL
                                                                           C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                 OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE     DESCRIPTION                                                                        BEGINNING      ENDING               Ex. No.     Objections
Ex. No.                                                                                                 PRODUCTION     PRODUCTION
                                                                                                        BATES          BATES
 4246     04/29/15   Letter from Cataxinos to Beyond LED Technology, Inc., DBA Beyond LED Lighting,     CAO020991      CAO020992    Cao Ex. 37        NRJ, LF, IR,
                     RE: Infringement of U.S. Patent for Semiconductor Light Source Using A Heat Sink                                                 PREJ, LPK, SJ
                     With A Plurality Of Panels (DTX-3047)
 4247     04/29/15   Letter from Cataxinos to Vielhaber (EYE Lighting International), RE: Infringement of CAO020993    CAO020994    Cao Ex. 39        NRJ, LF, IR,
                     U.S. Patent for Semiconductor Light Source Using A Heat Sink With A Plurality Of                                                 PREJ, LPK, SJ
                     Panels (DTX-3049)
 4248     05/21/15   Letter from Cataxinos to CT Corporation System for ReneSola America Inc., RE:         CAO020996   CAO020997    Cao Ex. 78        NRJ, LF, IR,
                     Infringement of U.S. Patent for Semiconductor Light Source Using A Heat Sink With A                                              PREJ, LPK, SJ
                     Plurality Of Panels (DTX-3088)
 4249     05/11/15   Letter from Cataxinos to 1 Source LED, RE: Infringement of U.S. Patent for            CAO020998   CAO020999    Cao Ex. 77        NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                    PREJ, LPK, SJ
                     3087)
 4250     04/29/15   Letter from Cataxinos to Rosenzweig (Aamsco Lighting, Inc.), RE: Infringement of      CAO021000   CAO021001    Cao Ex. 41        NRJ, LF, IR,
                     U.S. Patent for Semiconductor Light Source Using A Heat Sink With A Plurality Of                                                 PREJ, LPK, SJ
                     Panels (DTX-3051)
 4251     04/29/15   Letter from Cataxinos to Flaherty (Differential Energy Global Ltd.), RE: Infringement CAO021002   CAO021003    Cao Ex. 43        NRJ, LF, IR,
                     of U.S. Patent for Semiconductor Light Source Using A Heat Sink With A Plurality Of                                              PREJ, LPK, SJ
                     Panels (DTX-3053)
 4252     04/29/15   Letter from Cataxinos to Haak (Signcomplex USA Ltd.), RE: Infringement of U.S.        CAO021004   CAO021004    Cao Ex. 45        NRJ, LF, IR,
                     Patent for Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels                                               PREJ, LPK, SJ
                     (DTX-3055)
 4253     04/29/15   Letter from Cataxinos to LoMonaco (Light Efficient Design LLC), RE: Infringement of CAO021005     CAO021006    Cao Ex. 47        NRJ, LF, IR,
                     U.S. Patent for Semiconductor Light Source Using A Heat Sink With A Plurality Of                                                 PREJ, LPK, SJ
                     Panels (DTX-3057)
 4254     04/30/15   Letter from Cataxinos to Deng (Shenzhen Bestwon Technology Co., Ltd.), RE:            CAO021009   CAO021010    Cao Ex. 48        NRJ, LF, IR,
                     Infringement of U.S. Patent for Semiconductor Light Source Using A Heat Sink With A                                              PREJ, LPK, SJ
                     Plurality Of Panels (DTX-3058)
 4255     04/30/15   Letter from Cataxinos to LED Orientalight Co., Limited, RE: Infringement of U.S.      CAO021011   CAO021012    Cao Ex. 50        NRJ, LF, IR,
                     Patent for Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels                                               PREJ, LPK, SJ
                     (DTX-3060)
 4256     04/30/15   Letter from Cataxinos to Lee (King Ray Lighting Co., Ltd.), RE: Infringement of U.S. CAO021013    CAO021014    Cao Ex. 52        NRJ, LF, IR,
                     Patent for Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels                                               PREJ, LPK, SJ
                     (DTX-3062)
 4257     04/30/15   Letter from Cataxinos to Chan (Shenzhen Romanso Electronic Co., Ltd.), RE:            CAO021017   CAO021017    Cao Ex. 54        NRJ, LF, IR,
                     Infringement of U.S. Patent for Semiconductor Light Source Using A Heat Sink With A                                              PREJ, LPK, SJ
                     Plurality Of Panels (DTX-3064)
 4258     04/30/15   Letter from Cataxinos to Ma (Shenzhen Like Lighting Technology Co., Ltd.), RE:        CAO021018   CAO021018    Cao Ex. 56        NRJ, LF, IR,
                     Infringement of U.S. Patent for Semiconductor Light Source Using A Heat Sink With A                                              PREJ, LPK, SJ
                     Plurality Of Panels (DTX-3066)




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                                                                   OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE     DESCRIPTION                                                                             BEGINNING    ENDING               Ex. No.     Objections
Ex. No.                                                                                                      PRODUCTION   PRODUCTION
                                                                                                             BATES        BATES
 4259     04/30/15   Letter from Cataxinos to Lee (ShenZhen IDO Lighting Co., Ltd.), RE: Infringement of     CAO021019    CAO021020    Cao Ex. 58        NRJ, LF, IR,
                     U.S. Patent for Semiconductor Light Source Using A Heat Sink With A Plurality Of                                                    PREJ, LPK, SJ
                     Panels (DTX-3068)
 4260     05/06/15   Letter from Cataxinos to IGLO LLC, RE: Infringement of U.S. Patent for                  CAO021021    CAO021021    Cao Ex. 59        NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                       PREJ, LPK, SJ
                     3069)
 4261     05/06/15   Letter from Cataxinos to HISUN LED, RE: Infringement of U.S. Patent for                 CAO021022    CAO021022    Cao Ex. 60        NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                       PREJ, LPK, SJ
                     3070)
 4262     05/06/15   Letter from Cataxinos to EELP, RE: Infringement of U.S. Patent for Semiconductor        CAO021023    CAO021023    Cao Ex. 61        NRJ, LF, IR,
                     Light Source Using A Heat Sink With A Plurality Of Panels (DTX-3071)                                                                PREJ, LPK, SJ
 4263     05/06/15   Letter from Cataxinos to Dabmar Lighting, Inc., RE: Infringement of U.S. Patent for     CAO021024    CAO021024    Cao Ex. 63        NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                       PREJ, LPK, SJ
                     3073)
 4264     05/06/15   Letter from Cataxinos to CBRIGHT Lighting, RE: Infringement of U.S. Patent for          CAO021025    CAO021025    Cao Ex. 62        NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                       PREJ, LPK, SJ
                     3072)
 4265     05/06/15   Letter from Cataxinos to Cascade Luce / Spot Light, RE: Infringement of U.S. Patent     CAO021026    CAO021026    Cao Ex. 64        NRJ, LF, IR,
                     for Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                   PREJ, LPK, SJ
                     3074)
 4266     05/06/15   Letter from Cataxinos to VLUX, Inc., RE: Infringement of U.S. Patent for                CAO021027    CAO021027    Cao Ex. 65        NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                       PREJ, LPK, SJ
                     3075)
 4267     05/06/15   Letter from Cataxinos to VAOpto, LLC, RE: Infringement of U.S. Patent for               CAO021028    CAO021028    Cao Ex. 66        NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                       PREJ, LPK, SJ
                     3076)
 4268     05/06/15   Letter from Cataxinos to Topaz Lighting, RE: Infringement of U.S. Patent for            CAO021029    CAO021029    Cao Ex. 67        NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                       PREJ, LPK, SJ
                     3077)
 4269     05/06/15   Letter from Cataxinos to Sunlight LED Nicaragua SA, RE: Infringement of U.S. Patent     CAO021030    CAO021030    Cao Ex. 68        NRJ, LF, IR,
                     for Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                   PREJ, LPK, SJ
                     3078)
 4270     05/06/15   Letter from Cataxinos to Smart Energy Solutions, RE: Infringement of U.S. Patent for    CAO021031    CAO021031    Cao Ex. 69        NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                       PREJ, LPK, SJ
                     3079)
 4271     05/06/15   Letter from Cataxinos to Shenzhen Lighting, Inc., RE: Infringement of U.S. Patent for   CAO021032    CAO021032    Cao Ex. 70        NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                       PREJ, LPK, SJ
                     3080)




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                                                                    OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE     DESCRIPTION                                                                             BEGINNING    ENDING               Ex. No.              Objections
Ex. No.                                                                                                      PRODUCTION   PRODUCTION
                                                                                                             BATES        BATES
 4272     05/06/15   Letter from Cataxinos to SATCO Products, Inc., RE: Infringement of U.S. Patent for      CAO021033    CAO021033    Cao Ex. 71                 NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                                PREJ, LPK, SJ
                     3081)
 4273     05/06/15   Letter from Cataxinos to Pozeen LED Ltd.., RE: Infringement of U.S. Patent for      CAO021034        CAO021034    Cao Ex. 72                 NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                                PREJ, LPK, SJ
                     3082)
 4274     05/06/15   Letter from Cataxinos to Neptun Light, Inc., RE: Infringement of U.S. Patent for    CAO021035        CAO021035    Cao Ex. 73                 NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                                PREJ, LPK, SJ
                     3083)
 4275     05/06/15   Letter from Cataxinos to MAXLite, RE: Infringement of U.S. Patent for Semiconductor CAO021036        CAO021036    Cao Ex. 74                 NRJ, LF, IR,
                     Light Source Using A Heat Sink With A Plurality Of Panels (DTX-3084)                                                                         PREJ, LPK, SJ

 4276     05/06/15   Letter from Cataxinos to Light Emission Technology, Inc., RE: Infringement of U.S.      CAO021037    CAO021037    Cao Ex. 75                 NRJ, LF, IR,
                     Patent for Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels                                                           PREJ, LPK, SJ
                     (DTX-3085)
 4277     05/06/15   Letter from Cataxinos to LED Waves, RE: Infringement of U.S. Patent for                 CAO021038    CAO021038    Cao Ex. 76                 NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                                PREJ, LPK, SJ
                     3086)
 4278     01/20/11   Email from Cao to Beloborodov RE: Lighting Patent Portfolio of CAO Group                CAO021054    CAO021058    Cao Ex. 8; Kindler Ex. 9   HS, LF, IR,
                                                                                                                                                                  PREJ
 4279     01/06/11   Email from Cao to Beloborodov RE: CAO Lighting Patents                                  CAO021063    CAO021097    Cao Ex. 7                  HS, LF, IR,
                                                                                                                                                                  PREJ
 4280                CAO Intellecutal Properties in Solid State Lighting                                     CAO021098    CAO021118    Cao Ex. 6                  LF, HS, IOP, LA

 4281                CAO Patent Valuation Report for Solid State Lighting Intellectual Property Portfolio    CAO021119    CAO021178    Cao Ex. 5; Kindler Ex. 8   LF, HS, IOP, LA

 4283     01/04/17   Letter from Cataxinos to ARVA, LLC, RE: Infringement of U.S. Patent for                 CAO021590    CAO021590    Cao Ex. 30                 NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                                PREJ, LPK, SJ
                     3040)
 4284     01/04/17   Letter from Cataxinos to Rosenzweig (Aamsco Lighting, Inc.), RE: Infringement of        CAO021591    CAO021591    Cao Ex. 42                 NRJ, LF, IR,
                     U.S. Patent for Semiconductor Light Source Using A Heat Sink With A Plurality Of                                                             PREJ, LPK, SJ
                     Panels (DTX-3052)
 4285     01/04/17   Letter from Cataxinos to Beyond LED Lighting, RE: Infringement of U.S. Patent for       CAO021592    CAO021592    Cao Ex. 38                 NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                                PREJ, LPK, SJ
                     3048)
 4286     01/04/17   Letter from Cataxinos to Babel (Differential Energy Global Ltd.), RE: Infringement of   CAO021594    CAO021594    Cao Ex. 44                 NRJ, LF, IR,
                     U.S. Patent for Semiconductor Light Source Using A Heat Sink With A Plurality Of                                                             PREJ, LPK, SJ
                     Panels (DTX-3054)




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                                                            CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                              CONFIDENTIAL
                                                                           C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                 OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE     DESCRIPTION                                                                        BEGINNING      ENDING               Ex. No.     Objections
Ex. No.                                                                                                 PRODUCTION     PRODUCTION
                                                                                                        BATES          BATES
 4287     01/04/17                                                                                      CAO021595
                     Letter from Cataxinos to Humpreys (Electro Elf), RE: Infringement of U.S. Patent for              CAO021595    Cao Ex. 26        NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                    PREJ, LPK, SJ
                     3036)
 4288     01/04/17   Letter from Cataxinos to Mansfield (EYE Lighting International), RE: Infringement of CAO021596    CAO021596    Cao Ex. 40        NRJ, LF, IR,
                     U.S. Patent for Semiconductor Light Source Using A Heat Sink With A Plurality Of                                                 PREJ, LPK, SJ
                     Panels (DTX-3050)
 4289     01/04/17   Letter from Cataxinos to Cho (EiKO Global, LLC), RE: Infringement of U.S. Patent for CAO021597    CAO021597    Cao Ex. 32        NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                    PREJ, LPK, SJ
                     3042)
 4290     01/04/17   Letter from Cataxinos to King Ray Lighting Co., Ltd., RE: Infringement of U.S. Patent CAO021598   CAO021598    Cao Ex. 53        NRJ, LF, IR,
                     for Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                PREJ, LPK, SJ
                     3063)
 4291     01/04/17   Letter from Cataxinos to LED Orientalight Co., Limited, RE: Infringement of U.S.      CAO021599   CAO021599    Cao Ex. 51        NRJ, LF, IR,
                     Patent for Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels                                               PREJ, LPK, SJ

 4292     01/04/17   Letter from Cataxinos to Ramlogan (LEDTronics, Inc.), RE: Infringement of U.S.       CAO021600    CAO021600    Cao Ex. 28        NRJ, LF, IR,
                     Patent for Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels                                               PREJ, LPK, SJ
                     (DTX-3038)
 4293     01/04/17   Letter from Cataxinos to Lighting-spot.com, RE: Infringement of U.S. Patent for      CAO021601    CAO021601    Cao Ex. 34        NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                    PREJ, LPK, SJ
                     3044)
 4294     01/04/17   Letter from Cataxinos to Olympia Lighting, Inc., RE: Infringement of U.S. Patent for CAO021602    CAO021602    Cao Ex. 36        NRJ, LF, IR,
                     Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                    PREJ, LPK, SJ
                     3046)
 4295     01/04/17   Letter from Cataxinos to Hansan (ReneSola America Inc.), RE: Infringement of U.S.    CAO021603    CAO021603    Cao Ex. 79        NRJ, LF, IR,
                     Patent for Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels                                               PREJ, LPK, SJ
                     (DTX-3089)
 4296     01/04/17   Letter from Cataxinos to Chen (Shenzhen Romanso Electronic Co., Ltd.), RE:           CAO021604    CAO021604    Cao Ex. 55        NRJ, LF, IR,
                     Infringement of U.S. Patent for Semiconductor Light Source Using A Heat Sink With A                                              PREJ, LPK, SJ
                     Plurality Of Panels (DTX-3065)
 4297     01/04/17   Letter from Cataxinos to Deng (Shenzhen Bestwon Technology Co., Ltd.), RE:           CAO021605    CAO021605    Cao Ex. 49        NRJ, LF, IR,
                     Infringement of U.S. Patent for Semiconductor Light Source Using A Heat Sink With A                                              PREJ, LPK, SJ
                     Plurality Of Panels (DTX-3059)
 4298     01/04/17   Letter from Cataxinos to Ma (Shenzhen Like Lighting Technology Co., Ltd.), RE:       CAO021606    CAO021606    Cao Ex. 57        NRJ, LF, IR,
                     Infringement of U.S. Patent for Semiconductor Light Source Using A Heat Sink With A                                              PREJ, LPK, SJ
                     Plurality Of Panels (DTX-3067)
 4299     01/04/17   Letter from Cataxinos to Zhou (Signcomplex Limited), RE: Infringement of U.S. Patent CAO021607    CAO021607    Cao Ex. 46        NRJ, LF, IR,
                     for Semiconductor Light Source Using A Heat Sink With A Plurality Of Panels (DTX-                                                PREJ, LPK, SJ
                     3056)




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                                                                              C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                    OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE     DESCRIPTION                                                                             BEGINNING    ENDING                Ex. No.            Objections
Ex. No.                                                                                                      PRODUCTION   PRODUCTION
                                                                                                             BATES        BATES
 4300     08/28/17   Letter from Jones to Provolt (ESL Vision LLC) RE: U.S. Patent for Semiconductor         CAO021609    CAO021609    Cao Ex. 81               NRJ, LF, IR,
                     Light Source Using a Heat Sink with a Plurality of Panels (DTX-3091)                                                                       PREJ, LPK, SJ
 4301     04/14/17   CAO Lighting Inc.'s Objections and Responses to Defendants' Initial Request for         CAO021697    CAO021745    Cao Ex. 99               HS, IR, PREJ
                     Production to the Plaintiff, CAO Lighting Inc. v. Light Efficient Design and Electric
                     Wholesale Supply Company, Inc., Case No. 4:16-CV-482BLW (DTX-3109)
 4302     12/20/19   Report of James Richard Shealy, Ph.D. (CAO Lighting, Inc. v. Light Efficient Design ,   CAO021954    CAO022076    Shealy Ex. 19            HS, IR, PREJ
                     N.D.Ill. Case No. 1:17-cv-07359)
 4303     05/14/18   CAO Email to GE Lighting                                                                CAO022085    CAO22085     Defts' SJ Ex. 73          NRJ, LF, IR,
                                                                                                                                                                 PREJ, LPK, HIS,
                                                                                                                                                                 SJ
 4304     03/14/18   Email from Watson to B. Polich, et al., RE: Draft Motion and Proposed Order to          CAO022092    CAO022092    Cao Ex. 22; Defts' SJ Ex. NRJ, LF, IR,
                     Reopen Utah Lighting Case and Lift Stay (3590-005) (DTX-3033)                                                     28                        PREJ, LPK, HS,
                                                                                                                                                                 SJ
 4305     03/14/18   Email from Watson to D. Terrell, et al., RE: Draft Motion and Proposed Order to         CAO022099    CAO022099    Cao Ex. 118               NRJ, LF, IR,
                     Reopen Utah Lighting Case and Lift Stay (3590-005) (DTX-3127)                                                                               PREJ, LPK, HS,
                                                                                                                                                                 SJ
 4307                Spreadsheet identifying vendor order information                                        CAO022131    CAO022131    Cao Ex. 93.csv            LF, HS, SJ, IR,
                                                                                                                                                                 PREJ
 4308                CAO Lighting Royalty Income                                                             CAO022132    CAO022132    Cao Ex. 10; Kindler Ex. 7 LF, HS, IR,
                                                                                                                                                                 PREJ
 4309     11/05/14   6,465,961 Patent Claim Analysis vs Cree A19 LED bulb                                    CAO022192    CAO022201    Cao Ex. 24                LF, LPK, HS, IR,
                                                                                                                                                                 PREJ, SJ
 4310     10/25/20   Email from Cao to Cao RE: Fwd: e-intro to Dr. George Brandes (DTX-3034)                 CAO022233    CAO022234    Cao Ex. 23                LF, LPK, HS, IR,
                                                                                                                                                                 PREJ, SJ
 4325     12/31/21   MA-Tek Analysis Report, Sample: No54 SYL.15                                             CAO025862    CAO025885    Shealy Ex. 10             IR, PREJ
 4326     12/31/21   MA-Tek Analysis Report, Sample: No56 SYL.17                                             CAO025886    CAO025905    Shealy Ex. 16             IR, PREJ
 4332     12/31/21   MA-Tek Analysis Report, Sample No65 SYN-D09                                             CAO026105    CAO026130    Defts' SJ Ex. 45          IR, PREJ
                                                                                                                                       (Excerpts); Defts' SJ Ex.
                                                                                                                                       114 (Excerpts)
 4333     12/31/21   MA-Tek Analysis Report, Sample: No67 SYL-D11                                            CAO026151    CAO026172    Shealy Ex. 18             IR, PREJ
 4334     12/31/21   MA-Tek Analysis Report, Sample: No68 SYL-D12                                            CAO026173    CAO026193                              IR, PREJ
 4335     12/31/21   MA-Tek Analysis Report, Sample: No69 SYL-D13                                            CAO026194    CAO026214                              IR, PREJ
 4338     12/31/21   MA-Tek Analysis Report, Sample: No73 SYL-D18                                            CAO026283    CAO026308                              IR, PREJ
 4341     Various    CAO Lighting Inc. Invoice to Golden Valley Optoelectronics                              CAO026936    CA0027311    Cao Ex. 106               LF
 4349     00/00/18   Spreadsheet: CAO Lighting (Assets, Inventories, Liabilities & Equity, Sales, Costs,     CAO032521    CAO032521                              LF, HS, IR,
          00/00/21   Profits, Income & Expenses)) (DTX-3762)                                                                                                     PREJ
 4350     07/22/20   Settlement and Cross License Agreement between CAO and LED                              CAO09791     CAO09798     Campbell (Tadd) Ex. 3;    LF, HS, IR,
                                                                                                                                       Defts' SJ Ex. 75          PREJ
 4353                Photo - Luxembright Star LED Kit, Model Number 670-W0025                                CUPO048198   CUPO048198   Cao Ex. 101               LF, IR, SJ, PREJ




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                                                               CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                                               CONFIDENTIAL
                                                                              C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                    OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE      DESCRIPTION                                                                          BEGINNING           ENDING                     Ex. No.           Objections
Ex. No.                                                                                                    PRODUCTION          PRODUCTION
                                                                                                           BATES               BATES
 4354                 Photo - 3M LEDs                                                                      CUPO048204          CUPO048204         Cao Ex. 102            LF, IR, SJ, PREJ

 4371                 SYLVANIA LED Lamp Catalog (2021)                                                         LEDVANCE-CAO-   LEDVANCE-CAO-                             IR, PREJ
                                                                                                               00113778        00113813
 4372                 ULTRA LED High Lumen Lamp, www.sylvania.com                                              LEDVANCE-CAO-   LEDVANCE-CAO-                             LF, LPK, IR,
                                                                                                               00114155        00114156                                  PREJ, IOP
 4373     7/24/16-    Reference Deed to LEDVANCE Purchase and Sale Agreement                                   LEDVANCE-CAO-   LEDVANCE-CAO- Defts' SJ Ex. 33; Silva Ex. NRJ, IR, PREJ,
          7/26/16                                                                                              00116130        00116397       3                          SJ
 4376     07/20/16    License Agreement between Cree and LEDVANCE (DTX-3709)                                   LEDVANCE-CAO-   LEDVANCE-CAO-                             LF, DB, IR,
                                                                                                               00126508        00126571                                  PREJ
 4388     9/00/14 -   Spreadsheet: Net sales Cost and Margin by month 9.14-8.21 xlsx                           LEDVANCE-CAO-   LEDVANCE-CAO-                             LF, IR, PREJ
          08/00/21                                                                                             00193586        00193586
 4389     9/00/14 -   Spreadsheet: Sales and Units by month 9.2014-8.2021 xlsx                                 LEDVANCE-CAO-   LEDVANCE-CAO-                             LF, IR, PREJ,
          08/00/21                                                                                             00193587        00193587                                  IOP
 4394     10/01/19                                                                                             LEDVANCE-CAO-    LEDVANCE-CAO- CAO SJ Daubert Ex. 56      LF, DB, IR,
                                                                                                               00193968        00194013                                  PREJ
 4432     00/00/03    Miskkys, et. al, Freestanding GaN-substrates and devices , Psys. Stat. Sol. No. 6, 1627- LEDVANCE-CAO-   LEDVANCE-CAO-                             LA, LF, IR,
                      1650 (2003)                                                                              00196914        00196937                                  PREJ, HS, IOP,
                                                                                                                                                                         NP
 4433     09/08/15    OSLON Square Datasheet (available at: https://docs rs-                               LEDVANCE-CAO-       LEDVANCE-CAO-                             LA, LF, IR,
                      online.com/d855/0900766b8146c2cb.pdf)                                                00196938            00196964                                  PREJ, HS, IOP,
                                                                                                                                                                         NP
 4434                 Why do people alwants want the office by the window? (available at:               LEDVANCE-CAO-          LEDVANCE-CAO-                             LA, LF, IR,
                      https://www.telelumen.com/technology html?msclkid=d5b262f0cfde11eca33fd4dc373c 00196965                  00196965                                  PREJ, HS, IOP,
                      6001)                                                                                                                                              NP
 4435     5/20/15-    Illumination content for color tunable luminaires, Smart Lighting 2015, Connected LEDVANCE-CAO-          LEDVANCE-CAO-                             LA, LF, IR,
          5/21/15     Lighting May 20 & 21, 2015 - Berlin, Germany                                      00196966               00197018                                  PREJ, HS, IOP,
                                                                                                                                                                         NP
 4436     06/03/20    Crist, The complete guide to Philips Hue: LED bulbs, smart features and lots of colors, LEDVANCE-CAO-    LEDVANCE-CAO-                             LA, LF, IR,
                      CNET (June 3, 2020)                                                                     00197019         00197039                                  PREJ, HS, IOP,
                                                                                                                                                                         NP
 4437                 Introduction to Quantum Dots, interview with QD Vision's CTO (available at:          LEDVANCE-CAO-       LEDVANCE-CAO-                             LA, LF, IR,
                      https://www.oled-info.com/introduction-quantum-dots-interview-qd-visions-cto)        00197040            00197043                                  PREJ, HS, IOP,
                                                                                                                                                                         NP
 4438     05/20/19    Aurea Lighting Debuts Healthy LED Lighting (available at:                            LEDVANCE-CAO-       LEDVANCE-CAO-                             LA, LF, IR,
                      https://www.ledsmagazine.com/company-newsfeed/article/14033571/aurea-lighting-       00197044            00197049                                  PREJ, HS, IOP,
                      debuts-gamechanging-healthy-led-lighting-that-improves-alertness-and-productivity-                                                                 NP
                      without-sacrificing-energy-efficiency)
 4439                 Dynasty OMNI Bulb - 120W                                                             LEDVANCE-CAO-       LEDVANCE-CAO-                             LF, SJ, IR, PREJ
                                                                                                           00197050            00197052



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                                                             CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                           CONFIDENTIAL
                                                                            C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                  OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE     DESCRIPTION                                                                BEGINNING                 ENDING          Ex. No.     Objections
Ex. No.                                                                                         PRODUCTION                PRODUCTION
                                                                                                BATES                     BATES
 4440                Sylvania 40723 LED120HIDR850 Ultra LED HIDr Lamp, 120W, Mogul Base, 5000K, LEDVANCE-CAO-             LEDVANCE-CAO-             LF, IC, LPK, LA,
                     17,400 Lumens                                                              00197053                  00197053                  PREJ, IOP, IR

 4441                Sylvania LED120HIDR840 Ultra LED Corn Cob 120W 120-277V 50000 Hours 4000K LEDVANCE-CAO-              LEDVANCE-CAO-             LF, IC, LPK, LA,
                     17400Lm 80 CRI (40722)                                                    00197054                   00197055                  PREJ, IOP, IR

 4442     00/00/14   Leung, White LED and Remote Phosphor Comparison , Cree Lighting (2014) (available LEDVANCE-CAO-      LEDVANCE-CAO-             LA, LF, IR,
                     at https://cree-led.com/media/documents/Remote-Phosphor.pdf)                      00197056           00197065                  PREJ, HS, IOP,
                                                                                                                                                    NP, IR
 4443                Intematix Remote Phosphor Takes Lead in LED High Bay Lighting Performance      LEDVANCE-CAO-         LEDVANCE-CAO-             LA, LF, IR,
                                                                                                    00197066              00197068                  PREJ, HS, IOP,
                                                                                                                                                    NP
 4444     06/18/12   Large Manufacturers to Benefit Most from Chinese Subsidy Program for LED Lighting LEDVANCE-CAO-      LEDVANCE-CAO-             LA, LF, IR,
                     (available at: https://www.ledinside.com/print/15507)                             00197069           00197069                  PREJ, HS, IOP,
                                                                                                                                                    NP
 4445     04/08/20   China Government Issues Subsidies To LED Companies, Industry News, Shenzhen    LEDVANCE-CAO-         LEDVANCE-CAO-             LA, LF, IR,
                     Toppo Lighting Company Limited                                                 00197070              00197072                  PREJ, HS, IOP,
                                                                                                                                                    NP
 4446                Aurea Lighting LED Light Panels Product Specifications                         LEDVANCE-CAO-         LEDVANCE-CAO-             LA, LF, IR,
                                                                                                    00197073              00197074                  PREJ, HS, IOP,
                                                                                                                                                    NP
 4447                About Us - DesignLights                                                        LEDVANCE-CAO-         LEDVANCE-CAO-             LA, LF, IR, LPK,
                                                                                                    00197075              00197079                  IOP, PREJ

 4448                DLC Qualified Products Lists - DesignLights                                    LEDVANCE-CAO-         LEDVANCE-CAO-             LA, LF, IR,
                                                                                                    00197080              00197082                  PREJ, HS, IOP,
                                                                                                                                                    NP
 4449                Philips LED Modules Fortimo DLM                                                LEDVANCE-CAO-         LEDVANCE-CAO-             LA, LF, IR,
                                                                                                    00197083              00197086                  PREJ, HS, IOP,
                                                                                                                                                    NP
 4450     08/10/15   Siffalovic et al., Evaluation of low-cadmium ZnCdSeS alloyed quantum dots for remote LEDVANCE-CAO-   LEDVANCE-CAO-             LF, IR, PREJ,
                     phosphor solid-state lighting technology, Applied Optics, 54(23):7094-7098 (Aug. 10, 00197087        00197092                  HS, IOP
                     2015)
 4451     07/11/17   Lumileds introduces thin film flip chips to boost LED brightness, LEDs Magazine      LEDVANCE-CAO-   LEDVANCE-CAO-             LF, IR, PREJ,
                                                                                                          00197093        00197095                  HS, IOP
 4452                SemiLEDs MvpLED Technology, Industrial Electronics (available at:                    LEDVANCE-CAO-   LEDVANCE-CAO-             LF, IR, PREJ,
                     https://www.indel.com/news/74-semileds-mvpled-technology html)                       00197096        00197098                  HS, IOP
 4453                LED chip, SemiLEDs, Taiwan (available at: https://www.semileds.com)                  LEDVANCE-CAO-   LEDVANCE-CAO-             LF, IR, PREJ,
                                                                                                          00197099        00197100                  HS, IOP




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                                                                 CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                                      CONFIDENTIAL
                                                                                C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                      OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE      DESCRIPTION                                                                                BEGINNING       ENDING                  Ex. No.      Objections
Ex. No.                                                                                                          PRODUCTION      PRODUCTION
                                                                                                                 BATES           BATES
 4454                 Nanosys Explores Stable Cadmium-Free Quantum Dot Optical Down-Converters,                  LEDVANCE-CAO-   LEDVANCE-CAO-                     LF, IR, PREJ,
                      Office of Energy Efficiency & Renewable Energy (available at:                              00197101        00197104                          HS, IOP
                      https://www.energy.gov/eere/ssl/nanosys-explores-stable-cadmium-free-quantum-dot-
                      optical-down-converters)
 4455                 Smart diffuser, Nano-Lit (available at: https://www nano-lit.com/smart-diffuser/)          LEDVANCE-CAO-   LEDVANCE-CAO-                     LF, IR, PREJ,
                                                                                                                 00197105        00197113                          HS, IOP
 4456     05/20/19    Quantum Dots from Osram make LEDs even more efficient, OSRAM Group Website                 LEDVANCE-CAO-   LEDVANCE-CAO-                     LF, IR, PREJ,
                      (available at: https://www.osram-group.com/en/media/press-releases/pr-2019/20-05-          00197114        00197116                          HS, IOP
                      2019)
 4457     00/00/17    Cho et al., White light-emitting diodes: History, progress, and future , Laser Photonics   LEDVANCE-CAO-   LEDVANCE-CAO-                     IR, PREJ, HS
                      Rev., 1600147 (2017)                                                                       00197117        00197133
 4458     08/11/98    U.S. Patent No. 5,793,062                                                                  LEDVANCE-CAO-                                     IR, PREJ
                                                                                                                 00197134        LEDVANCE-CAO-00197152
 4459     8/24/01 -   U.S. Patent No. 6,719,446 File History                                                     LEDVANCE-CAO-   LEDVANCE-CAO-                     NRJ, IR, PREJ,
          8/7/13                                                                                                 00197153        00197366                          SJ
 4460     08/24/01    U.S. Patent No. 6,634,771 File History (Application No. 09/939,488)                        LEDVANCE-CAO-   LEDVANCE-CAO- Defts' SJ Ex. 101   NRJ, IR, PREJ,
                                                                                                                 00197367        00197425                          SJ
 4461     11/00/01    Luxeon Emitter data sheet (DTX-3731)                                                       LUMILEDS00130   LUMILEDS00139                     LF, SJ, IR, PREJ,
                                                                                                                                                                   LPK, HS, LA

 4462     09/00/01    Luxeon Flood Power Light Source (DTX-3735)                                                 LUMILEDS00140   LUMILEDS00148                     LF, SJ, IR, PREJ,
                                                                                                                                                                   LPK, HS, LA

 4463     04/14/02    Lumileds Press Release: 12 Lighting Vendors Unveil Products Using Lumileds’ Luxeon LUMILEDS00192           LUMILEDS00193                     LF, SJ, IR, PREJ,
                      LED Light Engines at Light & Building International Trade Fair in Germany – Market’s                                                         LPK, HS, LA
                      First LED-Based Luminaries Showcase High Light Output, Flexible Design (DTX-
                      3741)
 4464                 Photo of Lumileds Booth                                                              LUMILEDS00397         LUMILEDS00397                     LF, SJ, IR, PREJ,
                                                                                                                                                                   LPK, HS, LA

 4465                 Photo of Lumileds Booth (DTX-3742)                                                         LUMILEDS00398   LUMILEDS00398                     LF, SJ, IR, PREJ,
                                                                                                                                                                   LPK, HS, LA

 4466     00/00/99    HP SunPower Series (DTX-3730)                                                              LUMILEDS01097   LUMILEDS01102                     LF, SJ, IR, PREJ,
                                                                                                                                                                   LPK, HS, LA

 4467     08/00/01    LUXEON Power Light Sources OEM Guide (DTX-3729)                                            LUMILEDS01131   LUMILEDS01166                     LF, SJ, IR, PREJ,
                                                                                                                                                                   LPK, HS, LA




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                                                             CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                                           CONFIDENTIAL
                                                                            C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                  OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE     DESCRIPTION                                                                        BEGINNING       ENDING                   Ex. No.               Objections
Ex. No.                                                                                                 PRODUCTION      PRODUCTION
                                                                                                        BATES           BATES
 4468                Lumileds’ Luxeon Power LEDs (“Lumileds”) System                                    LUMILEDS01172   LUMILEDS01208   CAO SJ Daubert Ex. 51;      LF, SJ, IR, PREJ,
                                                                                                                                        Benya Ex. 17                LPK, HS, LA

 4469     03/02/21   Green Electrical Supply Packing Slip, Packaging, and Dynasty LED products          OSI000031       OSI000087       Hill (Green Electrical      LF, SJ, IR, PREJ
                                                                                                                                        Supply) Ex. 22; Defts' SJ
                                                                                                                                        Ex. 9; Defts' SJ Ex. 138
 4470                Photo - Dynasty 18W LED Omni Bulb                                                  OSI000035       OSI000045       Cao Ex. 87                  SJ, IR, PREJ
 4471                Photo - Dynasty 22W LED Omni Bulb                                                  OSI000046       OSI000055       Cao Ex. 88                  SJ, IR, PREJ
 4472                Photo - Dynasty 54W LED Omni Bulb                                                  OSI000056       OSI000066       Cao Ex. 89                  SJ, IR, PREJ
 4473                Photo of box containing Brilliance LED products                                    OSI000068       OSI000071       Gold Ex. 6; Defts' SJ Ex.   LF, SJ, IR, PREJ
                                                                                                                                        14; Defts' SJ Ex. 130
 4474     05/10/21   Dynasty Packing Slip - Dynasty G4 and SCB                                          OSI000072       OSI000072       Gold Ex. 5; Defts' SJ Ex.   LF, SJ, IR, PREJ
                                                                                                                                        13; Defts' SJ Ex. 129
 4475                Photo - Dynasty Lighting Part #30014                                               OSI000075       OSI000083       Cao Ex. 85                  LF, SJ, IR, PREJ

 4476                Photo - Dynasty LED Part #30014                                                    OSI000076       OSI000083       Gold Ex. 8; Defts' SJ Ex.   LF, SJ, IR, PREJ
                                                                                                                                        11; Defts' SJ Ex. 131
 4477                Photo - Dynasty Lighting Part #30003                                               OSI000084       OSI000093       Cao Ex. 86; Gold Ex. 10;    LF, SJ, IR, PREJ
                                                                                                                                        Defts' SJ Ex. 12
 4478     08/08/12   Settlement Agreement between OSRAM AG and Samsung Electronics Co., Ltd             OSI008200       OSI008205                                   LF, IR, PREJ
 4479     03/15/11   Patent Cross License Agreement between OSRAM GmbH and Cree, Inc.                   OSI008206       OSI008220                                   LF, IR, PREJ


 4480     02/23/17   Second Amendment to Agreement for the Sale and Purchase of 100% of the Shares in   OSI008221       OSI008260                                   NRJ, IR, PREJ,
                     LEDVANCE GmbH and 100% of the Membership Interests in LEDVANCE LLC                                                                             SJ

 4481     09/30/16   Amendment to Agreement for the Sale and Purchase of 100% of the Shares in       OSI008261          OSI008278                                   NRJ, IR, PREJ,
                     LEDVANCE GmbH and 100% of the Membership Interests in LEDVANCE LLC                                                                             SJ
 4482     05/01/17   Third Amendment to Agreement for the Sale and Purchase of 100% of the Shares in OSI008279          OSI008283                                   NRJ, IR, PREJ,
                     LEDVANCE GmbH and 100% of the Membership Interests in LEDVANCE LLC                                                                             SJ
 4483     05/01/17   Schedules to Agreement for the Sale and Purchase of 100% of the Shares in       OSI008284          OSI009245                                   NRJ, IR, PREJ,
                     LEDVANCE GmbH and 100% of the Membership Interests in LEDVANCE LLC                                                                             SJ
 4484     07/25/16   Agreement for the Sale and Purchase of 100% of the Shares in LEDVANCE GmbH and OSI009246           OSI009364                                   NRJ, IR, PREJ,
                     100% of the Membership Interests in LEDVANCE LLC and Equity Commitment Letter                                                                  SJ

 4485     11/21/16   LEDVANCE Holding LLC - Certificate of Formation                                    OSI009365       OSI009366                                   NRJ, IR, PREJ,
                                                                                                                                                                    SJ
 4486     09/20/17   Transfer Agreement Concerning LEDVANCE LLC                                         OSI009367       OSI009426                                   NRJ, IR, PREJ,
                                                                                                                                                                    SJ




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                                                               CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                                          CONFIDENTIAL
                                                                              C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                    OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE     DESCRIPTION                                                                            BEGINNING      ENDING                  Ex. No.             Objections
Ex. No.                                                                                                     PRODUCTION     PRODUCTION
                                                                                                            BATES          BATES
 4487     02/28/14   Settlement Agreement, License And Release Between OSRAM Opto Semiconductors            OSI009427      OSI009434                                 LF, IR, IOP,
                     GmbH and Lexington Luminance LLC                                                                                                                PREJ
 4488     06/30/10   Settlement And Patent License Agreement between Light Transformation Technologies OSI009435           OSI009442                                 LF, IR, IOP,
                     LLC and OSRAM Sylvania Inc.                                                                                                                     PREJ
 4489     11/29/05   iLED Patent Cross License Agreement between Koninklijke Philips Electronics N.C.  OSI009443           OSI009452                                 LF, IR, IOP,
                     and OSRAM GmbH                                                                                                                                  PREJ
 4490     09/22/08   Agreement for Extension of The iLED Cross License Agreement between Koninklijke OSI009453             OSI009460                                 LF, IR, IOP,
                     Philips Electronics N.C. and OSRAM GmbH                                                                                                         PREJ
 4491     06/29/11   Amendment Agreement No. 2 of the iLED Cross License Agreement between             OSI009461           OSI009471                                 LF, IR, IOP,
                     Koninklijke Philips Electronics N.C. and OSRAM GmbH                                                                                             PREJ
 4492     07/23/13   Settlement Agreement between Sharp Corporation and OSRAM GmbH                     OSI009472           OSI009488                                 LF, IR, PREJ
 4493     10/30/12   Settlement Agreement between LG Electronics Inc., LG Innotek Co. Ltd, and OSRAM OSI009489             OSI009525                                 LF, IR, PREJ
                     GmbH
 4494     08/27/21   Accused OSI Products - Net sales, Cost and Margin by month 9.14-7.21              OSI-LV-000001                                                 LF
 4495     08/27/21   Accused OSI Products - Sales & Units by month 9.14-7.21                           OSI-LV-000002                                                 LF
 4496                SYL_05_1_spectrum_03-10-2022_11-46-52.csv                                         SHEALY-             SHEALY-        Shealy Ex. 14              IR, PREJ
                                                                                                       DEL_00000083        DEL_00000083
 4497                SYL_06_1_data_03-10-2022_11-04-39.csv                                             SHEALY-             SHEALY-        Shealy Ex. 15              IR, PREJ
                                                                                                       DEL_00000084        DEL_00000084
 4498                Natively produced spreadsheet: SYL_09_1_data_03-10-2022_12-11-25.csv              SHEALY-             SHEALY-        Defts' SJ Ex. 76           IR, PREJ
                                                                                                       DEL_00000086        DEL_00000086
 4499                Excel spreadsheet                                                                 SHEALY-             SHEALY-                                   IR, PREJ
                                                                                                       DEL_00000123        DEL_00000123
 4500                Excel spreadsheet                                                                 SHEALY-             SHEALY-                                   IR, PREJ
                                                                                                       DEL_00000124        DEL_00000124
 4501                Excel spreadsheet                                                                 SHEALY-             SHEALY-                                   IR, PREJ
                                                                                                       DEL_00000125        DEL_00000125
 4502                Natively produced spreadsheet: 1st-set-sample-test-report-20220217-f xlsx         SHEALY-             SHEALY-        Shealy Ex. 11; Defts' SJ   IR, PREJ
                                                                                                       DEL_00000126        DEL_00000126   Ex. 77
 4503                Natively produced spreadsheet: 2nd-set-sample test report-20220214-f.xlsx         SHEALY-             SHEALY-        Shealy Ex. 12; Defts' SJ   IR, PREJ
                                                                                                       DEL_00000127        DEL_00000127   Ex. 128

 4504                Natively produced spreadsheet: 3rd-set-sample test report-20220214-f xlsx              SHEALY-        SHEALY-        Shealy Ex. 13; Defts' SJ   IR, PREJ
                                                                                                            DEL_00000128   DEL_00000128   Ex. 78

 4505     09/18/20   Spreadsheet - Invoices and Part Numbers                                                TADD000001     TADD000031     Campbell (Tadd) Ex. 4      LF, IR, PREJ,
                                                                                                                                                                     IOP, SJ
 4506     09/14/16   CAO Customer Order Acknowledgment to Yard Illumination                                 YARD000033     YARD000033     Cao Ex. 94; Silver Ex. 3   LF, PREJ, HS,
                                                                                                                                                                     SJ, IR
 4507     12/15/21   Email from Silver to Cunningham RE: Fwd: Price list for clearance parts (DTX-3107)     YARD000052     YARD000053     Cao Ex. 97; Silver Ex. 9   LF, PREJ, HS,
                                                                                                                                                                     SJ, IR


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                                                                             C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                   OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE     DESCRIPTION                                                                           BEGINNING    ENDING                Ex. No.            Objections
Ex. No.                                                                                                    PRODUCTION   PRODUCTION
                                                                                                           BATES        BATES
 4508     12/15/21   Email from Silver to Cunningham RE: Fwd: Discontinued item                            YARD000049   YARD000050   Silver Ex. 7             LF, PREJ, HS,
                                                                                                                                                              SJ, IR
 4509                Dynasty Discontinued Products List                                                    YARD000051   YARD000051   Silver Ex. 8             LF, PREJ, HS,
                                                                                                                                                              SJ, IR
 4510                Price List (DTX-3200)                                                                 YARD000054   YARD000054   Silver Ex. 10            LF, PREJ, HS,
                                                                                                                                                              SJ, IR
 4511     12/28/21   Subpoena to Tadd LLC to Testify at a Deposition in a Civil Action                                               Campbell (Tadd) Ex. 1    IR, PREJ, IOP,
                                                                                                                                                              NRJ, LPK, SJ
 4512     03/01/18   CAO Lighting Inc. v. Light Efficient Design , N.D.Ill. Case No. 1:17-CV-07359, D.I. 1: CAO015011   CAO015089    Campbell (Tadd) Ex. 2;   IR, PREJ, IOP,
                     First Amended Complaint (DTX-3014)                                                                              Cao Ex. 92               NRJ, LPK, SJ
 4513     01/18/22   Notice of Deposition of Densen Cao                                                                              Cao Ex. 3                IR, PREJ
 4514     10/29/21   Defendants' First Notice of 30(b)(6) Deposition                                                                 Cao Ex. 4                IR, PREJ
 4515     04/09/12   Federal Rule of Civil Procedure 12(e) More Definite Statement as to Claims Against                              Cao Ex. 20               NRJ, IR, PREJ
                     Sylvania, Case No. 2:11-cv-00426-DB-DBP
 4516     03/25/13   Order Granting Joint Motion and Stipulation to Stay Action Pending Reexamination,                               Cao Ex. 21               IR, PREJ, IOP,
                     Case No. 2:11-cv-00426-DB-DBP, D.I. 183 ("Stay Order") (DTX-3032)                                                                        NRJ, LPK, SJ
 4517                Spreadsheet identifying Part IDs, Descriptions, On Hand and Price (DTX-3108)                                    Cao Ex. 98 xlsx          LF, IR, PREJ, SJ

 4518                Photo - Disassembled LED Package                                                                                Cao Ex. 104              LF, IR, PREJ, SJ

 4519     01/14/22   Plaintiff CAO Lighting, Inc.'s Third Supplemental and Amended Answers to                                        Cao Ex. 114              IR, PREJ, HS,
                     Defendants' First Set of Common Interrogatories (Nos. 1-12) (DTX-3823)                                                                   Includes
                                                                                                                                                              Objections, SJ
 4522                Photograph of Physical Exhibit: Dynasty LED Part #30014                                                         Gold Ex. 7               LF, SJ, IR, PREJ

4522-A               Physical Exhibit: Dynasty LED Part #30014                                                                       Gold Ex. 7               IR, PREJ
 4523                Photograph of Physical Exhibit: Dynasty LED Part #30003                                                         Gold Ex. 9               LF, SJ, IR, PREJ

4523-A               Physical Exhibit: Dynasty LED Part #30003                                                                       Gold Ex. 9               IR, PREJ
 4534 01/07/22       Subpoena to Daniel P. McCarthy Testify at a Deposition in a Civil Action                                        McCarthy Ex. 100
 4535 12/23/21       Subpoena to Daniel P. McCarthy to Produce Documents                                                             McCarthy Ex. 109
 4551 04/12/21       CAO's Responses and Objections to Osram's First Set of Requests for Admission (Nos.                             Defts' SJ Ex. 6          IR, PREJ, HS,
                     1-6)                                                                                                                                     Includes
                                                                                                                                                              Objections, SJ
 4552     05/10/11   CAO Group v. GE Lighting, C.A. No. 2:11-426-DB (D. Utah) ("Utah Action"), D.I. 1                                Defts' SJ Ex. 17
                     (Complaint) (DTX-3770)
 4553     09/02/11   Utah Action, D.I. 48 (GE Answer and Counterclaims) (DTX-3771)                                                   Defts' SJ Ex. 18         NRJ, LF, IR,
                                                                                                                                                              PREJ, SJ, MIL
 4554     05/11/12   Utah Action, D.I. 147 (OSRAM Answer and Counterclaims)                                                          Defts' SJ Ex. 19         NRJ, LF, IR,
                                                                                                                                                              PREJ, SJ, MIL



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                                                                CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                                        CONFIDENTIAL
                                                                               C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                     OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE      DESCRIPTION                                                                            BEGINNING    ENDING                Ex. No.               Objections
Ex. No.                                                                                                      PRODUCTION   PRODUCTION
                                                                                                             BATES        BATES
 4555     03/25/13    Utah Action, D.I. 182 (Stipulation and Joint Motion to Stay Action Pending                                       Defts' SJ Ex. 20             NRJ, LF, IR,
                      Reexamination)                                                                                                                                PREJ, SJ, MIL
 4556     01/14/22    LEDVANCE's Supplemental Objections and Responses to Plaintiff's Common                                           Defts' SJ Ex. 21; Lettieri   NRJ, IR, PREJ,
                      Interrogatories (Nos. 2, 4, 7, 8, 11, 12 and 13)                                                                 Rebuttal Rep.                HS, Includes
                                                                                                                                                                    Objections, SJ
 4557     03/25/13    Utah Action, D.I. 183 (Order Granting Stay) (DTX-3772)                                                           Defts' SJ Ex. 22             LF
 4558     10/01/13    Utah Action, D.I. 185 (Closure Order)                                                                            Defts' SJ Ex. 23             LF
 4559     01/14/20    Utah Action, D.I. 210 (Motion to Reopen) (DTX-3773)                                                              Defts' SJ Ex. 25             LF
 4560     05/12/20    Utah Action, D.I. 248 (Order Denying Motion to Reopen) (DTX-3774)                                                Defts' SJ Ex. 26             LF
 4562     07/26/21    CAO's Supplemental Response and Answer to Defendants' Second Set of Common                                       Defts' SJ Ex. 35             LF, IR, PREJ,
                      Interrogatories (No. 13)                                                                                                                      HS, Includes
                                                                                                                                                                    Objections, SJ
 4574                 Assarat 30(b)(6) Deposition Testimony (D. Ind.)                                                                  Defts' SJ Ex. 84             IR, PREJ, HS,
                                                                                                                                                                    Includes
                                                                                                                                                                    Objections, ID
 4576     00/00/14-   2014-2016 short form catalog (available at https://issuu.com/casaluminii/docs/short-                                                          LA, LF, IR,
          00/00/15    form_catalog_20142015_chapter)                                                                                                                PREJ, HS, IOP,
                                                                                                                                                                    NP
 4578                 CAO Group v. GE Lighting, et al., Case No. 2:11-cv-426, Dkt. 185                                                                              IR, PREJ, HS,
                                                                                                                                                                    LPK, SJ, MIL
 4579                 CAO Group v. GE Lighting, et al., Case No. 2:11-cv-426, Dkt. 2.                                                                               IR, PREJ, HS,
                                                                                                                                                                    LPK, SJ, MIL
 4580     02/01/22    CPR3CD Datasheet (available at https://cree-led.com/led-                                                                                      LA, LF, IR,
                      chips/media/documents/CPR3CD.pdf)                                                                                                             PREJ, HS, IOP,
                                                                                                                                                                    NP
 4584     09/22/11    L Prize Winner Announced: Phillips Lighting North America wins the 60W                                                                        LA, LF, IR,
                      replacement lamp category , Architect Magazine (Sept. 22, 2011) (available at                                                                 PREJ, HS, IOP,
                      https://www.architectmagazine.com/awards/al-design-awards/l-prize-winner-                                                                     NP
                      announced_o)
 4587                 Liu, et al., Chip on Board Packaging and Thermal Solutions for a 100 W Large                                                                  LA, LF, IR,
                      Monolithic LED , Journal of Microelectronics and Electronic Packaging, 6:143-148                                                              PREJ, HS, IOP,
                      (2009)                                                                                                                                        NP
 4588     00/00/22    Muthu, Red, green, and blue LEDs for white light illumination , IEEE Journal on                                                               LA, LF, IR,
                      Selected Topics in Quantum Electronics, 8(2):333-338 (March/April 2022)                                                                       PREJ, HS, IOP,
                                                                                                                                                                    NP
 4589                 OSLON SSL 80 Datasheet (available at: https://docs rs-                                                                                        LA, LF, IR,
                      online.com/f9ce/0900766b815fe2fd.pdf)                                                                                                         PREJ, HS, IOP,
                                                                                                                                                                    NP




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                                                               CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                                                   CONFIDENTIAL
                                                                              C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                    OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE      DESCRIPTION                                                                             BEGINNING         ENDING                     Ex. No.                 Objections
Ex. No.                                                                                                       PRODUCTION        PRODUCTION
                                                                                                              BATES             BATES
 4591                 SYLVANIA LED Lamp Catalog (2017-2018)                                                                                                                   LA, LF, IR,
                                                                                                                                                                              PREJ, HS, IOP,
                                                                                                                                                                              NP
 4592     00/00/17    SYLVANIA LED Luminaires Catalog (2017)                                                                                      Sega Ex. 2                  LA, LF, IR,
                                                                                                                                                                              PREJ, HS, IOP,
                                                                                                                                                                              NP
 4594                 Video of an automated, pick-and-place machine used to manufacture LED PCB's                                                                             LA, LF, IR, HS,
                      (available online at: https://www.youtube.com/watch?v=Y45COU2LdXg)                                                                                      NP, IOP
 4682     8/24/01 -   U.S. Patent No. 6,465,961 File History                                                                                                                  IR, PREJ, NRJ,
          7/30/22                                                                                                                                                             MIL
 4683     08/24/01    U.S. Patent Application No. 09/938,777                                                                                      Defts' SJ Ex. 98            LF
 4684     08/24/01    U.S. Patent Application No. 09/938,875                                                                                      Defts' SJ Ex. 99            LF
 4685     08/24/01    U.S. Patent Application No. 09/939,340                                                                                      Defts' SJ Ex. 100           LF
 4702     10/21/03    U.S. Patent No. 6,634,771 (DTX-3179)                                                                                        Defts' SJ Ex. 102;          LF
                                                                                                                                                  McCarthy Ex. 103
 4705     06/08/04    U.S. Patent No. 6,746,885                                                                                                   Defts' SJ Ex. 104           LF
 4720     06/07/11    U.S. Patent No. 7,955,879                                                                                                                               IR, PREJ, WF
 4726     11/12/13    U.S. Patent No. 8,579,451                                                                                                                               IR, PREJ, WF
 4733     00/00/13    Dynasty LED Lighting Brochure [2013]                                                 CAO015763            CAO015764                                     IR, PREJ
 4734     07/00/15    Solid State Lighting Catalog [July 2015]                                             CAO015765            CAO015779                                     IR, PREJ
 4735                 Assignment abstract of title for Application 09939340, USPTO                         CAO017713            CAO017736
 4736     12/18/01    U.S. Patent No. 6,331,111 B1 "Curing Light System Useful for Curing Light Activated CAO017683             CAO017712                                     IR, PREJ
                      Composite Materials"
 4737     09/16/20    Email from K. Salour to D. Cao attaching the executed Master Services Agreement      CAO018247            CAO018268                                     IR, PREJ
                      between Arete Advisors, LLC and Lewis Brisbois Bisgaard & Smith LLP as counsel for
                      and on behalf of CAO Group, Inc. effective September 16, 2020
 4738     4/29/15 -   Letters from Edgar Cataxinos re: Infringement of U.S. Patent for Semiconductor Light CAO020979            CAO021309         Defts' SJ Ex. 27; Cao Ex.   IR, PREJ
          8/28/17     Source Using a Heat Sink with a Plurality of Panels (DTX-3035)                                                              25-81
 4739     6/25/18-    Email chain re: Settlement Proposal                                                  CAO022230            CAO022232         Kindler Ex. 12              IR, PREJ
          10/25/20
 4740     04/12/22    Settlement Agreement between CAO and Topaz Lighting LLC effective April 12, 2022 CAO033936                CAO033942                                     IR, PREJ

 4741     08/29/02    U.S. Patent Application No. 09/939,488 File History Excerpt: Office Action responsive   CAO-000473        CAO-000489                                    IC
                      to communication filed on August 24, 2001
 4742     01/02/14    ’680 Reexam Office Action                                                               CAO_DE_002952    CAO_DE_003094    Kindler Ex. 5                 IC
 4743     11/06/00    Lumileds Press Release, LumiLeds Lighting Announces Breakthrough in High-Flux           CAO_FEIT00473083 CAO_FEIT00473099                               IR, PREJ
                      AlInGaN LEDs (Nov. 6, 2000)
 4744     02/26/01    Lumileds Press Release, LumiLeds Lighting Produces 17 Lumen White LED (Feb. 26,         CAO_FEIT00473100 CAO_FEIT00473114                               IR, PREJ
                      2001)




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                                                            CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                                         CONFIDENTIAL
                                                                           C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                 OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE      DESCRIPTION                                                                          BEGINNING       ENDING                   Ex. No.           Objections
Ex. No.                                                                                                    PRODUCTION      PRODUCTION
                                                                                                           BATES           BATES
 4745     11/05/18    Stock and Asset Purchase Agreement between General Electric Company and Espresso CUPO006476          CUPO007069      Baroyan Decl. Ex. 1   LF, HS
                      Holdco, Inc. (DTX-3749)
 4746     11/05/18    Disclosure Letter to the Stock and Asset Purchase Agreement between General Electric CUPO047781      CUPO048157      Baroyan Decl. Ex. 2   LF, HS
                      Company and Espresso Holdco, Inc. (DTX-3750)
 4747     09/00/01    Technical Data - Luxeon Star Power Light Source (DTX-3755)                           LUMILEDS00184   LUMILEDS00191   Krames Decl. Ex. I    IR, PREJ
 4748     05/00/01    Technical Data - Luxeon Star Power Light Source (DTX-3754)                           LUMILEDS01077   LUMILEDS01085   Krames Decl. Ex. H    IR, PREJ
 4749     00/00/01    Technical Data - Luxeon Star Power Light Source                                      LUMILEDS01109   LUMlLEDS01117   Benya Ex. 15          IR, PREJ


 4750                 Infringement Contentions Chart regarding OSI and LEDVANCE, Exhibit 1: A-Line                                         Benya Ex. 23          IR, PREJ
                      Infringement Chart

 4751     04/01/01    Holcomb, et al., AlGaInP LEDs Break Performance Barriers (Compound                                                                         IR, PREJ
                      Semiconductor) (April 1, 2001)
 4752     01/29/20    Utah Action, D.I. 228 (Order Granting Stipulation for Extension of Time to File                                                            IR
                      Response Memorandum to Plaintiff CAO Group Inc.'s Motion to Reopen the Case and
                      Lift Stay)
 4753     03/03/17    LEDVANCE Press Release, Chinese Consortium Completes Acquisition of                                                                        HS
                      LEDVANCE (Mar. 3, 2017)
 4754     7/25/16 -   Agreement for the sale and purchase of 100% of the shares in LEDVANCE GmbH and LEDVANCE-CAO-         LEDVANCE-CAO-   Silva Ex. 2
          7/26/16     100% of the membership interests in LEDVANCE LLC and Equity Commitment Letter 00116011               00116129

 4755     7/25/16 -   Agreement for the sale and purchase of 100% of the shares in LEDVANCE GmbH and LEDVANCE-CAO-         LEDVANCE-CAO-                         IR, PREJ
          7/26/16     100% of the membership interests in LEDVANCE LLC and Equity Commitment Letter, 00116398              00116714
                      Schedule 21: Trademark License Agreements
 4756     7/25/16 -   Agreement for the sale and purchase of 100% of the shares in LEDVANCE GmbH and LEDVANCE-CAO-         LEDVANCE-CAO-                         LF, HS
          7/26/16     100% of the membership interests in LEDVANCE LLC and Equity Commitment Letter, 00116715              00116898
                      Schedule 22: Necessary Information
 4757     7/25/16 -   Agreement for the sale and purchase of 100% of the shares in LEDVANCE GmbH and LEDVANCE-CAO-         LEDVANCE-CAO-                         LF, HS
          7/26/16     100% of the membership interests in LEDVANCE LLC and Equity Commitment Letter, 00116961              00117091
                      Schedule 38: Remaining OSRAM Business Litigation
 4758     07/01/16    Project Enterprise Local Asset Transfer Agreement by and between OSRAM         LEDVANCE-CAO-         LEDVANCE-CAO-   Silva Ex. 17
                      SYLVANIA and LEDVANCE LLC                                                      00115882              00115921
 4759                 LEDVANCE LLC USA 525L, Balance Sheet – Unaudited (IFRS), Sept. 30, 2018 with LEDVANCE-CAO-           LEDVANCE-CAO-   Silva Ex. 18          IR, PREJ
                      comparative figures for Sept. 30, 2017                                         00193962              00193963
 4760                 LEDVANCE LLC USA 525L, Balance Sheet – Unaudited (IFRS), Sept. 30, 2019 with LEDVANCE-CAO-           LEDVANCE-CAO-   Silva Ex. 19          IR, PREJ
                      comparative figures for Sept. 30, 2018                                         00193964              00193965
 4761                 LEDVANCE LLC USA 525L, Balance Sheet – Unaudited (IFRS), Sept. 30, 2021 with LEDVANCE-CAO-           LEDVANCE-CAO-   Silva Ex. 20          IR, PREJ
                      comparative figures for Sept. 30, 2020                                         00193966              00193967
 4762     08/24/21    Spreadsheet: 2021-08-24 Accused Products - Net sales, Cost and Margin by month LEDVANCE-CAO-         LEDVANCE-CAO-   Silva Ex. 22          IR, PREJ
                      9.2014-7.2021 xlsx                                                             00117885              00117885


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                                                             CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                                  CONFIDENTIAL
                                                                            C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                  OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX        DATE     DESCRIPTION                                                                          BEGINNING       ENDING                 Ex. No.      Objections
Ex. No.                                                                                                   PRODUCTION      PRODUCTION
                                                                                                          BATES           BATES
 4763     08/24/21   Spreadsheet:                                                                         LEDVANCE-CAO-   LEDVANCE-CAO- Silva Ex. 23       IR, PREJ
                     2021-08-24 Accused Products - Sales and Units by month 9.2014-7.2021 xlsx            00117886        00117886
 4764                LATA Schedule, 8.1 Litigation/Arbitration                                            LEDVANCE-CAO-    LEDVANCE-CAO-
                                                                                                          00114283,       00115868
                                                                                                          LEDVANCE-CAO-
                                                                                                          00115867
 4765                Picture of LED using Microscope (DTX 3842)                                                                                            IR, PREJ
 4766                Physical Exhibit and Photograph - CAO Prototype of Dental curing light (PTX 26A)                                                      IR, PREJ
 4767                Physical Exhibit and Photograph - CAO Prototype of LED light sources in which the                                                     IR, PREJ
                     LEDs are mounted on panels on a heat sink (PTX 26B)
 4768                Physical Exhibit and Photograph - CAO Prototype of LED light sources mounted on                                                       IR, PREJ
                     one panel of heat sink (PTX 26C)
 4769     00/00/15   OSRAM Light and Ballast Catalog (2014-2015)                                                                                           IR, PREJ
                                                                                                                                                           LF, IR, PREJ,
   4770 7/1/2020     Press release, "GE Completes Sale of GE Lighting" - DTX-3005                         GE00101428      GE00101430       Assarat_Ex 31   HS
                                                                                                                                                           LF, IR, PREJ,
   4771 3/1/2018     First Amended Complaint, CAO Lighting v. Light Efficient Design - DTX-3014           CAO015011       CAO015089        Campbell_Ex 2   HS
                     Letter from Magleby Cataxinos Greenwood to LED Orientalight Co., Ltd re
                     Infingement of U.S. Patent for Semiconductor Light Source Using A Heat Sink with a
   4772 1/4/2017     Plurality of Panels - DTX-3061                                                       CAO012599       CAO012599        Cao_Ex 51       LF, IR, PREJ
   4773 9/2/2014     Ex Parte Reexamination Certificate US Patent 6,465,961 (Cao) - DTX-3145              CAO_DE_008383   CAO_DE_008388    Duffy_Ex 17
   4774 5/11/2017    Inter Partes Reexamination Certificate for US Patent 6,465,961 (Cao) - DTX-3146      CAO_DE_001872   CAO_DE_001873    Duffy_Ex 18
                                                                                                                                                           LF, HS, IOP, IR,
   4775              Excel Spreadsheet - Sales Figures (various) - DTX-3428                               GE00112740                                       PREJ
                                                                                                                                                           LF, HS, IR,
   4776              Excel Spreadsheet - Sales Figures (various) - DTX-3429                               GE00113382                                       PREJ
                                                                                                                                                           LF, HS, IOP, IR,
   4777              Current Sales Spreadsheet 3 - DTX-3430                                               CUPO7299                         Marella_Ex 48   PREJ
                     https://www.gelighting.com/pressroom/savant-systems-inc-completesacquisition-ge-                                                      LF, HS, IR,
   4778              lighting - DTX-3438                                                                                                                   PREJ, LA, NP
                     General Electric Company Form 10-K for the fiscal year                                                                                LF, HS, IR,
   4779              ended December 31, 2014 - DTX-3441                                                                                                    PREJ, LA, NP
                     General Electric Company form 10-K for the fiscal year ended December 31, 2018 -                                                      LF, HS, IR,
   4780              DTX-3442                                                                                                                              PREJ, LA, NP
                     https://www.ledsmagazine.com/architectural-lighting/retail-
                     hospitality/article/16696747/ge-announces-current-asnew-                                                                              LF, HS, IR,
   4781              home-of-commercial-led-lighting - DTX-3443                                                                                            PREJ, LA, NP
                     https://www.ge.com/news/press-releases/american-industrial-partners-completes-                                                        LF, HS, IR,
   4782              acquisition-current-powered-ge - DTX-3444                                                                                             PREJ, LA, NP




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                                                            CAO Lighting, Inc. v. OSRAM Sylvania, Inc. and LEDVANCE LLC,                     CONFIDENTIAL
                                                                           C.A. No. 1:20-cv-00690-MN (D.Del.)
                                                                 OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX      DATE      DESCRIPTION                                                                          BEGINNING    ENDING       Ex. No.     Objections
Ex. No.                                                                                                  PRODUCTION   PRODUCTION
                                                                                                         BATES        BATES
                    Complaint for Patent Infringement, Case No. 2:11-cv-00426 (D. Utah), dated May 10,                                       LF, IR, PREJ,
   4783             2011 - DTX-3491                                                                                                          HS
                                                                                                                                             IR, PREJ, HS,
   4784             Appendix A-08 to Defendants Final Invalidity Contentions - DTX-3613                                                      IOP
                                                                                                                                             IR, PREJ, HS,
   4785             Appendix A-11 to Defendants Final Invalidity Contentions - DTX-3614                                                      IOP
                                                                                                                                             IR, PREJ, HS,
   4786             Appendix A-12 to Defendants Final Invalidity Contentions - DTX-3615                                                      IOP
                                                                                                                                             IR, PREJ, HS,
   4787             Appendix A-13 to Defendants Final Invalidity Contentions - DTX-3616                                                      IOP
   4788 5/14/1998   U.S. Provisional Application No. 60/084,172, filed on May 4, 1998 - DTX-3630                                             IR, PREJ
   4789 7/24/1998   U.S. Patent Application No. 09/122,311, filed July 24, 1998 - DTX-3631                                                   IR, PREJ
   4790             U.S. Patent No. 6,483,196 (Wojnarowski ’196) - DTX-3637                                                                  IR, PREJ
   4791 4/24/1998   U.S. Patent No. 6,015,719 (Kish) - DTX-3639                                                                              IR, PREJ
   4792 3/8/2000    U.S. Provisional Application No. 60/187,899 (Ostler Provisional) - DTX-3644                                              IR, PREJ
   4793             U.S. Patent No. 8,628,214 (Negley) - DTX-3646                                                                            IR, PREJ, WF
   4794             U.S. Patent No. 9,217,553 (Medendorp) - DTX-3647                                                                         IR, PREJ, WF
   4795             U.S. Patent No. 6,640,517 (Mitchell) - DTX-3648                                                                          IR, PREJ, WF
   4796             U.S. Patent No. 7,703,939 (Wilcox) - DTX-3649                                                                            IR, PREJ, WF
   4797             U.S. Patent No. 8,092,042 (Wilcox II) - DTX-3650                                                                         IR, PREJ, WF
   4798             U.S. Patent No. 7,798,670 (Kinnune) - DTX-3651                                                                           IR, PREJ, WF
   4799             U.S. Patent No. 6,384,545 (Lau) - DTX-3652                                                                               IR, PREJ, WF
   4800             U.S. Patent No. 7,038,399 (Lys) - DTX-3653                                                                               IR, PREJ, WF
   4801             U.S. Patent No. 6,094,014 (Bucks) - DTX-3654                                                                             IR, PREJ, WF
   4802             U.S. Patent No. 6,577,512 (Tripathi) - DTX-3655                                                                          IR, PREJ, WF
   4803             U.S. Patent No. 6,234,645 (Borner) - DTX-3656                                                                            IR, PREJ, WF
   4804             U.S. Patent No. 6,513,949 (Marshall) - DTX-3657                                                                          IR, PREJ, WF
   4805             U.S. Patent No. 6,016,038 (Mueller) - DTX-3658                                                                           IR, PREJ, WF
   4806             U.S. Patent No. 7,064,498 (Dowling) - DTX-3659                                                                           IR, PREJ, WF
   4807             U.S. Patent No. 6,676,284 (Wilson) - DTX-3660                                                                            IR, PREJ, WF
   4808             U.S. Patent No. 7,161,311 (Mueller II) - DTX-3661                                                                        IR, PREJ, WF
   4809             U.S. Patent No. 7,288,902 (Melanson) - DTX-3662                                                                          IR, PREJ, WF
   4810             U.S. Patent No. 7,719,209 (Hayes) - DTX-3663                                                                             IR, PREJ, WF
   4811             U.S. Patent No. 6,304,464 (Jacobs) - DTX-3664                                                                            IR, PREJ, WF
   4812             U.S. Patent No. 6,617,795 (Bruning) - DTX-3665                                                                           IR, PREJ, WF
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   4814             U.S. Patent No. 6,561,690 (Balestriero) - DTX-3667                                                                       IR, PREJ, WF
   4815             U.S. Patent No. 6,554,451 (Keuper) - DTX-3668                                                                            IR, PREJ, WF
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                                                                  OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX      DATE      DESCRIPTION                                                                               BEGINNING    ENDING       Ex. No.     Objections
Ex. No.                                                                                                       PRODUCTION   PRODUCTION
                                                                                                              BATES        BATES
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   4819             U.S. Patent No. 6,200,002 (Marshall II) - DTX-3672                                                                            IR, PREJ, WF
   4820             U.S. Patent No. 7,566,155 (Schug) - DTX-3673                                                                                  IR, PREJ, WF
   4821             U.S. Patent No. 7,866,845 (Man) - DTX-3674                                                                                    IR, PREJ, WF
   4822             U.S. Patent No. 6,150,774 (Mueller III) - DTX-3675                                                                            IR, PREJ, WF
   4823             U.S. Patent No. 6,969,954 (Lys II) - DTX-3676                                                                                 IR, PREJ, WF
   4824             U.S. Patent No. 8,314,537 (Gielen) - DTX-3677                                                                                 IR, PREJ, WF
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                                                                   OSRAM's and LEDVANCE's Bench Trial Exhibit List
 DTX      DATE      DESCRIPTION                                                                              BEGINNING       ENDING          Ex. No.     Objections
Ex. No.                                                                                                      PRODUCTION      PRODUCTION
                                                                                                             BATES           BATES
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 DTX      DATE      DESCRIPTION                                                                            BEGINNING       ENDING         Ex. No.     Objections
Ex. No.                                                                                                    PRODUCTION      PRODUCTION
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Ex. No.                                                                                                 PRODUCTION      PRODUCTION
                                                                                                        BATES           BATES
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   CAO LIGHTING OBJECTION KEY

    LF           Lack of Foundation
    IC           Incomplete (FRE 106)
    IR           Irrelevant (FRE 401/402)
    PREJ         Prejudicial/Misleading/Confusing (FRE 403)
    NRJ          Not Relevant to Jury Issue
    LPK          Lack of Personal Knowledge; Calls for Speculation (FRE 602)
    SCOPE        Beyond the Scope (FRE 611)
    LEAD         Leading (FRE 611)
    WF           Wasteful/Harassing (FRE 611)
    IOP          Improper Opinion Testimony (FRE 701/702)
    HS           Inadmissible Hearsay (FRE 802); Inadmissible Hearsay within Hearsay
                 (FRE 805)
    ID           Improper Use of Deposition (FRE 801/802; FRCP 32)
    LA           Lack of Authentication (FRE 901)
    NP           Not Produced in Discovery
    IL           Illegible
    DES          Improper Description
    MIL          Subject to Motion in Limine
    DB           Subject to Pending Daubert Motion
    SJ           Subject to Pending Summary Judgment Motion
